       EXHIBIT B




Case 2:20-cv-00051 Document 86-2 Filed 09/24/21 Page 1 of 53 PageID #: 501
                             In the Matter Of:

                         JOHN SCOTT MAAS vs
                     BP EXPLORATION & PRODUCTION




                          VEENA ANTHONY
                          VEENA ANTHONY

                               June 30, 2021
                                    30, 2021




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                                                Veena Anthony - June 30,
                                                                     30, 2021
                                                                         2021
                                                                11                                                                   3
·1
 1    · · · · · · UNITED
                  UNITED STATES DISTRICT COURT                       ·1
                                                                      1   · · · · · · · · APPEARANCES
                                                                                          A P P E A R A N C E S

·2
 2    · · · · FOR
              FOR THE
                  THE MIDDLE
                      MIDDLE DISTRICT OF
                                      OF TENNESSEE                   ·2
                                                                      2

·3
 3    · · · · · · · · NORTHEASTERN
                      NORTHEASTERN DIVISION                          ·3
                                                                      3           PLAINTIFF:
                                                                          FOR THE PLAINTIFF:

·4
 4                                                                   ·4
                                                                      4   · · · · · WILLIAM
                                                                                    WILLIAM KENNERLY
                                                                                            KENNERLY BURGER
                                                                                                     BURGER

·5
 5    JOHN SCOTT MAAS,
      JOHN       MAAS,·   · ·))                                      ·5
                                                                      5   · · · · · Attorney
                                                                                    Attorney at
                                                                                             at Law
                                                                                                Law

·6
 6    · · · ·Plaintiff,·
             Plaintiff,  · ))                                        ·6
                                                                      6   · · · · · Burger,
                                                                                    Burger, Scott
                                                                                            Scott && McFarlin
                                                                                                     McFarlin

·7
 7    · · · · · · · · · · ·))                                        ·7
                                                                      7   · · · · · 12 Public Square North

·8
 8    VS.·
      VS.    · · · · · · · · )·
                             )  CAUSE NO:
                                CAUSE                                 8
                                                                     ·8   · · · · · Murfreesboro,
                                                                                    Murfreesboro, Tennessee
                                                                                                  Tennessee· 37130
                                                                                                             37130

·9
 9    BP EXPLORATION
      BP EXPLORATION &·
                     &    · ·)) 2:20-CV-00051                        ·9
                                                                      9   · · · · · 615-893-8933

10    PRODUCTION, INC.,
      PRODUCTION,       &· )) DEPOSITION OF:
                  INC., &                OF:                         10
                                                                     10   · · · · · kenburger@comcast.net
                                                                                    kenburger@comcast.net

11    BP AMERICA
      BP AMERICA·   · · · · ·)DR. VEENA ANTHONY
                             )DR. VEENA ANTHONY                      11
                                                                     11

12    PRODUCTION CO.·
      PRODUCTION CO.    · · ·))                                      12
                                                                     12           DEFENDANTS:
                                                                          FOR THE DEFENDANTS:

13    · · · ·Defendants.·
             Defendants.  ·))                                        13   · · · · · CHAN E.
                                                                                         E. MCLEOD

14                                                                   14
                                                                     14   · · · · · HOWARD
                                                                                    HOWARD E. JARVIS
                                                                                              JARVIS

15    · · · · · · · ·S T I P U L A T I O N S
                     STIPULATIONS                                    15
                                                                     15   · · · · · Attorneys
                                                                                    Attorneys at
                                                                                              at Law
                                                                                                 Law

16                                                                   16
                                                                     16   · · · · · Maron,
                                                                                    Maron, Marvel,
                                                                                           Marvel, Bradley, Anderson && Tardy,
                                                                                                   Bradley, Anderson    Tardy, LLC

17    · · · · · · · ·IT IS STIPULATED
                     IT IS STIPULATED AND
                                      AND AGREED,
                                          AGREED, by
                                                  by and             17
                                                                     17   · · · · · City
                                                                                    City Centre
                                                                                         Centre

18    between the
      between the parties
                  parties through
                          through their
                                  their respective
                                        respective counsel,
                                                   counsel,          18
                                                                     18   · · · · · 200
                                                                                    200 South       Street
                                                                                        South Lamar Street

19    that the deposition
               deposition of:
                          of:                                        19   · · · · · Jackson,
                                                                                    Jackson, Mississippi
                                                                                             Mississippi· 39201
                                                                                                          39201

20
20    · · · · · · · · ·DR. VEENA ANTHONY,
                       DR. VEENA ANTHONY,                            20
                                                                     20   · · · · · 601-812-6630
                                                                                    601-812-6630

21    may be
      may be taken before Merit
                          Merit Gilley,
                                Gilley, Commissioner and             21
                                                                     21   · · · · · cmcleod@maronmarvel.com
                                                                                    cmcleod@maronmarvel.com

22    Notary Public,
      Notary Public, State at
                           at Large,
                              Large, at the Tinsley Harrison         22
                                                                     22   · · · · · hjarvis@maronmarvel.com
                                                                                    hjarvis@maronmarvel.com

23    Towers, 1900 University
      Towers,      University Boulevard,
                              Boulevard, THT 513D,
                                             513D,                   23
                                                                     23

24    Birmingham, Alabama
      Birmingham, Alabama 35233,
                          35233, on the 30th day of June,
                                                    June,            24
                                                                     24   ALSO PRESENT:
                                                                               PRESENT:

25    2021, commencing at
      2021,            at approximately 1:02
                                        1:02 p.m.
                                             p.m.                    25   · · · · · Judy Burger



                                                                2                                                                    4
·1
 1    · · · · · · · ·IT IS FURTHER
                     IT IS FURTHER STIPULATED
                                   STIPULATED AND
                                              AND AGREED
                                                  AGREED that        ·1
                                                                      1

·2
 2    the signature to
      the           to and reading
                           reading of
                                   of the
                                      the deposition
                                          deposition by
                                                     by the          ·2
                                                                      2   · · · · · · · · · EXAMINATION
                                                                                            EXAMINATION INDEX
                                                                                                        INDEX

                                                                     ·3
                                                                      3
·3
 3    witness is
      witness is waived,
                 waived, the deposition to have the same
                                                                     ·4
                                                                      4   Dr. Veena
                                                                          Dr. Veena Anthony
                                                                                    Anthony
·4
 4    force and
            and effect
                effect as
                       as if full
                             full compliance had been had
                                                      had            ·5   BY MR.
                                                                             MR. MCLEOD
                                                                                 MCLEOD   . . . . . . . . . . . . . . . .   7
                                                                      5   BY                                                7
·5
 5    with all
      with all laws
               laws and
                    and rules
                        rules of
                              of Court relating to
                                                to the
                                                   the               ·6
                                                                      6   BY MR.
                                                                          BY MR. BURGER
                                                                                 BURGER   . . . . . . . . . . . . . . . .124
                                                                                                                         124

·6
 6    taking of depositions.
      taking    depositions.                                         ·7
                                                                      7

                                                                      8
                                                                     ·8
·7
 7
                                                                     ·9
                                                                      9
 8
·8    · · · · · · · ·IT IS FURTHER
                     IT IS FURTHER STIPULATED
                                   STIPULATED AND
                                              AND AGREED
                                                  AGREED that
                                                                     10
                                                                     10   · · · · · · · · · · EXHIBIT INDEX
·9
 9    it shall not be
      it           be necessary for any
                                    any objections to
                                                   to be
                                                      be             11
                                                                     11

10    made by
      made by counsel
              counsel to
                      to any questions, except as
                             questions, except as to
                                                  to form or
                                                          or         12
                                                                     12           Number·
                                                                          Exhibit Number    · · · · · · · · · · · · · · · · ·MAR
                                                                                                                             MAR

                                                                     13
                                                                     13   1·
                                                                          1    · Notice of Video Deposition·
                                                                                 Notice of       Deposition  · · · · · · · · · ·9
                                                                                                                                9
11    leading questions,
      leading questions, and that counsel for the
                                              the parties
                                                  parties
                                                                     14   2·
                                                                          2    · Plaintiff's
                                                                                 Plaintiff’s Rule 26 Expert Disclosure of
                                                                                                                       of· · · 17
                                                                                                                               17
12    may make
      may make objections
               objections and
                          and assign
                              assign grounds at the time of
                                                                     · · · · ·Veena B. Anthony,
                                                                              Veena B. Anthony, M.D.
                                                                                                M.D.
13    the trial,
      the trial, or at
                    at the
                       the time
                           time said
                                said deposition is
                                                is offered
                                                   offered           15
                                                                     15

14    in evidence,
      in           or prior
         evidence, or prior thereto.
                            thereto.                                 16
                                                                     16   3·
                                                                          3    · Study:·
                                                                                 Study:  Heme Oxygenase-1
                                                                                              Oxygenase-1 Protects Corexit
                                                                                                                   Corexit· · ·91
                                                                                                                               91

                                  ***                                · · · · ·9500A-Induced             Epithelial
                                                                              9500A-Induced Respiratory Epithelial
15    · · · · · · · · · · · ·     ***
                                                                     17
                                                                     17   · · ·Injury across Species
                                                                               Injury across Species
16
                                                                     18
                                                                     18   4·
                                                                          4    · Study:·
                                                                                 Study:  Comparative Toxicity of
                                                                                                              of Two Oil·
                                                                                                                     Oil  · · ·97
                                                                                                                               97
17                                                                   · · · · ·Dispersants, Superdispersant-25 and
                                                                              Dispersants, Superdispersant-25

18                                                                   19
                                                                     19   · · ·Corexit
                                                                               Corexit 9527, to a
                                                                                       9527, to a Range of
                                                                                                        of Coastal

19                                                                   · · · · ·Species
                                                                              Species

                                                                     20
                                                                     20
20
20
                                                                     21
                                                                     21   5·
                                                                          5    · Study:·
                                                                                 Study:  Evaluation of
                                                                                                    of Pulmonary
                                                                                                       Pulmonary and·
                                                                                                                 and  · · · · 101
211                                                                  · · · · ·Systemic Toxicity of
                                                                              Systemic Toxicity of Oil
                                                                                                   Oil Dispersant
22
 2                                                                   22
                                                                     22   · · ·(Corexit EC9500A) Following Acute
                                                                               (Corexit EC9500A)           Acute
23                                                                   · · · · ·Repeated
                                                                              Repeated Inhalation
                                                                                       Inhalation Exposure
                                                                                                  Exposure
                                                                     23
                                                                     23
24
                                                                     24
25
                                                                     25
                                                                     25




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                                                                    888-267-1200
                                                                     #: 503       ··
                                                                                                                                         YVer1f
                                                Veena Anthony - June 30,
                                                                     30, 2021
                                                                         2021
                                                                     5                                                                                7
·1
 1    6·
      6  · Article:
           Article:· Oil dispersant used in Gulf Oil·
                                                 Oil  · ·103
                                                         103
                                                                           1 · · · · · · · MR.
                                                                          ·1               MR. BURGER:·
                                                                                                  BURGER: Ken Burger For Mr. Mr. Maas,
· · · · ·Spill
         Spill caauses
               caauses lung and
                            and gill
                                gill injuries
                                     injuries to
                                              to
·2
 2  · · ·humans
         humans and aquatic
                    aquatic animals,
                            animals, also                                 ·2
                                                                           2 the plaintiff.
                                                                                   plaintiff.
· · · · ·identifies protective enzyme
         identifies protective                                            ·3
                                                                           3 · · · · · · · MR.
                                                                                           MR. MCLEOD:·
                                                                                                  MCLEOD: Chan McLeod for  for the BP
·3
 3
                                                                           4 parties.
                                                                          ·4
·4
 4  7·
    7  · Article:
         Article:· Persistent respiratory symptoms
                                          symptoms· · ·105
                                                       105
· · · · ·in
         in clean-up workers 5
                             5 years after the                             5 · · · · · · · MR.
                                                                          ·5               MR. JARVIS:
                                                                                                  JARVIS:· Howard Jarvis for the BP
·5
 5    · · ·Prestige      spill.
           Prestige oil spill.                                            ·6
                                                                           6 parties.
·66   8·
      8  · Study:
           Study:· Respiratory,
                    Respiratory, Dermal,
                                 Dermal, and Eye
                                             Eye· 111
                                                  111
                                                                          ·7
                                                                           7 · · · · · · · THE VIDEOGRAPHER:
                                                                                                  VIDEOGRAPHER:· Court
                                                                                                                     Court Reporter,
                                                                                                                            Reporter, will
· · · · ·Irritation
         Irritation Symptoms Associated with
·7
 7  · · ·Corexit EC9527A/EC9500A following
         Corexit EC9527A/EC9500A following the                             8 you please swear in the witness.
                                                                          ·8                                witness.
· · · · ·Deepwater
         Deepwater Horizon Oil Spill:·
                               Spill:  Findings
                                       Findings                           ·9
                                                                           9 · · · · · · · · · DR.
                                                                                               DR. VEENA ANTHONY
·88   · · ·from
           from the GuLF STUDY
·99   9·
      9  · Paper:
           Paper:· The
                   The Development
                       Development of
                                   of Long-Term
                                      Long-Term· 117
                                                 117
                                                                          10 being first duly sworn,sworn, was examined and testified as
· · · · ·Adverse Health Effects
         Adverse Health Effects in Oil Spill                              11 follows:
                                                                          11
10 · · ·Cleanup
         Cleanup Workers of
                         of the
                            the Deepwater Horizon                         12 · · · · · · · THE
                                                                                            THE COURT REPORTER:
                                                                                                           REPORTER:· Usual stipulations?
· · · · ·Offshore
         Offshore Drilling Rig Disaster
11
                                                                          13 · · · · · · · MR. MCLEOD:
                                                                                                   MCLEOD:· Yes.
12 10·
    10  ·Study:·
         Study:  The impact
                     impact of
                            of oil spill to
                                         to lung· 121
                                            lung 121                      14 · · · · · · · · · · EXAMINATION
· · · · ·health
         health - Insights
                  Insights from an RNA-seq study                          15 BY MR. MCLEOD:MCLEOD:
13    · · ·of human airway
           of human  airway epithelial
                            epithelial cells
14    11·
      11  ·Study:·
           Study:   The impact
                        impact of
                               of the Deepwater 122
                                                122
                                                                          16 Q·
                                                                              Q · · · · · ·Dr.Dr. Anthony, my name is Chan McLeod.·
                                                                                                                                McLeod. We
· · · · ·Horizon Oil Spill
         Horizon Oil Spill upon LUng Health
                           upon LUng Health -
                                            -                             17 met earlier as --
15    · · ·Mouse
           Mouse Model-Based
                 Model-Based RNA-seq Analyses
                                     Analyses
                                                                          18 AA· · · · · · ·Yes.
                                                                                             Yes.
16
17
17
                                                                          19 Q·
                                                                              Q · · · · · ·-- -- as we moved rooms from -- from
                                                                                                                              from one
18                                                                        20 room to the next.·   next. I'm
                                                                                                        I’m going to be asking
                                                                                                                        asking most of the
19
                                                                          21
                                                                          21 questions today.
20
21                                                                        22 · · · · · · · Let me ask you you this:·
                                                                                                              this: Have you ever been
22                                                                        23 deposed before?  before?
23
                                                                          24 · · · · · · · Have you ever given a deposition
                                                                                                                     deposition like
24
25                                                                            this before?
                                                                          25 this

                                                                     6                                                                                8
·11 · · · · · · · ·I,
                   I, Merit Gilley,
                            Gilley, a Court Reporter of                    1 A
                                                                          ·1 A· · · · · · ·II have.
·2
 2 Birmingham, Alabama, Alabama, and a Notary Public for the State        ·2 Q· · · · · · ·Okay.·
                                                                           2 Q                     Okay. Do you remember how many times
·3
 3 of Alabama at Large, acting as        as Commissioner, certify
                                                              certify      3 you’ve
                                                                          ·3 you've -- you’ve     you've been deposed?
·4
 4  that   on   this  date, as  provided  by  the Federal  Rules   of      4 A
                                                                          ·4 A· · · · · · ·Maybe  Maybe two in  in my life.
·5
 5 Civil Procedure and     and the foregoing stipulation of               ·5 Q·
                                                                           5 Q    ·  ·  ·  ·  ·  ·Was
                                                                                                  Was    that in  the context of being
                                                                                                              in the               being an
                                                                                                                                         an
·6  counsel, there came before me on the 30th day of June
 6 counsel,                                                                6 expert witness, or was that in another context?
                                                                          ·6
·7
 7 2021, at Tinsley Harrison Towers, 1900 University                       7 A
                                                                          ·7 A· · · · · · ·II was -- I don’t don't recall.
 8 Boulevard, THT 513D, Birmingham,
·8                                  Birmingham, Alabama 35233,
                                                             35233,       ·8 Q· · · · · · ·Okay.·
                                                                           8 Q                     Okay. I just -- the way this thing
·9
 9 commencing at approximately 1:02         1:02 p.m., DR. VEENA
                                                            VEENA          9 goes, I'm
                                                                          ·9               I’m going to ask questions.
                                                                                                                    questions.· I'm
                                                                                                                                 I’m going to try to
10 ANTHONY,
     ANTHONY, witness  witness inin the above cause, for oral             10 ask a question that everybody understands.·
                                                                          10                                                  understands. If you
11 examination,
11   examination, whereupon
                        whereupon the following
                                          following proceedings were      11 don't
                                                                          11  don’t understand my question, please let me know, and                  and
12 had:                                                                   12 I'll
                                                                          12  I’ll try to   to rephrase it so    so that you can understand
13 · · · · · · · · ·DR.              ANTHONY,
                      DR. VEENA ANTHONY,                                  13 what I'm
                                                                          13              I’m saying.
                                                                                                   saying.
14 being first first duly sworn,
                          sworn, was examined
                                        examined and testified
                                                         testified as     14 · · · · · · · If you answer it I'm
                                                                          14                                          I’m going to
                                                                                                                                 to assume
15 follows:
     follows:                                                             15 that you understood
                                                                          15                       understood the question that I asked;
                                                                                                                                       asked; okay?
                                                                                                                                               okay?
16 · · · · · · · THE
                   THE VIDEOGRAPHER:
                         VIDEOGRAPHER:· This marks beginning              16
                                                                          16 AA·   ·  ·  ·  ·  ·  ·Uh-huh.·
                                                                                                   Uh-huh.    Sure.
17 of the deposition
               deposition of Dr.Dr. Veena Anthony in the matter           17 Q·
                                                                          17  Q · · · · · ·And     And I will
                                                                                                           will try to finish my question
                                                                                                                                   question and
18 of John
         John Scott Maas versus BP Exploration & Production,Production,   18 let you answer before I ask another question.
                                                                          18
19 Incorporated
     Incorporated & BP America Production Company.    Company.· Cause     19 A
                                                                          19  A· · · · · · ·Okay.  Okay.
20 Number 2:20-CV-00051
                   2:20-CV-00051 filed in the United States               20 Q·
                                                                              Q · · · · · ·And     And sometimes it gets conversational,
21 District Court
21               Court for the Middle
                                  Middle District of Tennessee,           21 and that’s
                                                                          21           that's okay. okay.· But she’s
                                                                                                                   she's -- she’s
                                                                                                                            she's writing down --
22 Northeastern
     Northeastern        Division.                                        22 our court reporter is writing        writing down everything we say.
23 · · · · · · · The
                   The date is June 30th,
                                       30th, 2021.
                                              2021.· Time is              23 And well   we'll -- we’llwe'll try to -- I won't
                                                                                                                        won’t try to step on
24 now 1:02 p.m.·    p.m. All             present, will you please
                           All attorneys present,                         24 your toes,  toes, and you -- you      you try not to step on
                                                                                                                                        on mine.
25 state your names and whom       whom you represent.                    25 AA· · · · · · ·Fine.  Fine.


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                                                                    888-267-1200
                                                                     #: 504       ··
                                                                                                                                                           YVer1f
                                              Veena Anthony - June 30,
                                                                   30, 2021
                                                                       2021
                                                                     9                                                                    11
                                                                                                                                          11
·11 · · · · · · · MR.
                  MR. MCLEOD:·
                        MCLEOD: Madame Court Reporter, I'm       I’m       IA
                                                                          ·1               No
                                                                             A· · · · · · ·No.
·2
 2 going to have this marked as the first exhibit.·
                                                  exhibit. It's
                                                           It’s           ·2 Q· · · · · · ·And
                                                                           2 Q                     you've never been trained in the
                                                                                            And you’ve
·3
 3 the notice
          notice of deposition.                                           ·3
                                                                           3 field  of   industrial hygiene; is that correct?
                                                                                         industrial
·4
 4 · · · · · · · · · ·(Exhibit
                      (Exhibit Number 1 1 was                             ·4 A· · · · · · ·True.
                                                                           4 A             True
 5 · · · · · · · · · ·marked
·5                    marked for identification.)                          5 Q
                                                                          ·5               You’re not going to offer any opinions
                                                                             Q· · · · · · ·You're                              opinions
·6
 6Q Q· · · · · · ·Dr.              this is your
                   Dr. Anthony, this       your notice of                 ·6 in this case in
                                                                           6 in                  in the field of industrial hygiene; is
·7
 7 deposition.·
    deposition. Have you seen that before?                                 7 that correct?
                                                                          ·7
·8
 8 · · · · · · · That's
                  That’s the thing
                               thing that told you that we                 8 A
                                                                          ·8               Right
                                                                             A· · · · · · ·Right.
·9
 9 were going to do this here today and all of that.       that.          ·9 Q· · · · · · ·Is
                                                                           9 Q                  it also fair to say that you're
                                                                                            Is it                         you’re not
10 That’s
     That's something that you’ve   you've seen?                          10 an epidemiologist?
11 A
11                  Uh-huh.
     A· · · · · · ·Uh-huh.                                                11 A
                                                                          11  A· · · · · · ·II am -- I'm
                                                                                                      I’m trained
                                                                                                          trained in the -- in
12 Q Q· · · · · · ·Okay.·
                    Okay. Am I correct in   in saying that you
                                                             you          12 environmental medicine.·                 does require a knowledge
                                                                                                    medicine. That does
13 are a pulmonologist?                                                   13 of epidemiology.
14 A A· · · · · · ·II am.
                      am.· Yes.                                           14 Q·
                                                                              Q · · · · · ·ButBut you’re
                                                                                                   you're not certified as an
15 Q Q· · · · · · ·And
                    And are youyou board certified in pulmonary               epidemiologist?
                                                                          15 epidemiologist?
16 medicine?                                                              16 · · · · · · · You didn't
                                                                                                   didn’t go to school to become an
17 A A· · · · · · ·Yes,
                   Yes, II am.                                                epidemiologist?
                                                                          17 epidemiologist?
18 Q Q· · · · · · ·And
                    And what does a pulmonologist do?                     18
                                                                          18A A· · · · · · ·No.
                                                                                             No.
19 A A· · · · · · ·A
                   A pulmonologist works in diseases                      19 Q·
                                                                              Q · · · · · ·Fair     to say you’re
                                                                                              Fair to       you're not an expert inin
20 related to the lungs and respiratory -- respiratory
20                                                                            epidemiology.
                                                                          20 epidemiology.
21
21 illness.
     illness.· And they might also do    do some critical care            21 · · · · · · · I understand that you use it, but you’re
                                                                          21                                                      you're
22 work.
22                                                                        22 not an expert in it; is that correct?
23 Q
23   Q· · · · · · ·Okay.·
                    Okay. And specifically to what you    you do          23 AA· · · · · · ·That
                                                                                            That is correct.
                                                                                                       correct.
24
24 as a pulmonologist here at UAB,       UAB, what -- what is   is your   24 Q·              You mentioned that you
                                                                              Q · · · · · ·You                         you do environmental
25 role here as a pulmonologist at UAB?
25                                                                        25 medicine.

                                                                   10                                                                     12
·11 A
    A· · · · · · ·II patient -- II see patients
                                       patients with lung                 ·11 · · · · · · · Is that any different than what
·2
 2 disease of all kinds as well as patients who have had                  ·2  occupational medicine would be?
                                                                           2 occupational
·3
 3 environmental exposures, and        and II run an
                                                  an environmental        ·3
                                                                           3 AA· · · · · · ·ItIt would be part -- occupational
                                                                                                                   occupational
 4 medicine program.
·4                program.· II also am am the director of the              4 medicine would be a part of environmental medicine.
                                                                          ·4
·5
 5 superfund program.                                                     ·5
                                                                           5 QQ· · · · · · ·DoDo you consider yourself to be an
·6
 6 Q·
    Q · · · · · ·II have your CV.·      And there was an
                                    CV. And                                6 occupation -- occupational medicine specialist?
                                                                          ·6
 7 extensive list of publications on that CV.
·7                                                    CV.                  7A
                                                                          ·7                 No.
                                                                              A· · · · · · ·No.
 8 · · · · · · · Do you have any other publications that
·8                                                                         8 Q
                                                                          ·8  Q· · · · · · ·DoDo you plan on offering any opinions
·9  you've authored
 9 you’ve      authored that might not be on that CV?                     ·9
                                                                           9  that    are   in the field of occupational medicine --
                                                                                            in
10 A                There maybe one or two that just
    A· · · · · · ·There                               just came           10 A                 No.
                                                                               A· · · · · · ·No.
11 out recently --
11                                                                        11 Q·
                                                                          11   Q · · · · · ·-- -- in this case?
12
120 Q· · · · · · ·AndAnd --                                               12 · · · · · · · Am I right in saying that you’re you're also
13 AA· · · · · · ·---- since the   time. There’s
                             the time.·  There's one in                   13 not a toxicologist?
14 "Science Translational Medicine."                                      14 A                 I’m not a toxicologist, but II do deal
                                                                               A· · · · · · ·I'm                                 deal
15 QQ· · · · · · ·AndAnd can you tell what the subject of    of --        15 with patients who have been      been   exposed    to  toxic
16 of that one may be.       be.                                               whatevers, and
                                                                          16 whatevers,          and so II am
                                                                                                           am familiar with the field
                                                                                                                                   field of
17 A                The subject of that one
    A· · · · · · ·The                      one was lung                   17 toxicology.
18 fibrosis and and the disease called idiopathic pulmonary               18 Q·Q · · · · · ·You      aren't certified
                                                                                               You aren’t   certified in --
19 fibrosis.                                                              19 A A· · · · · · ·No.
                                                                                               No.
20 QQ· · · · · · ·AndAnd you said there may be another one                20 Q· · · · · · ·--
                                                                          200                  -- toxicology?
                                                                                                  toxicology?
21
21  that    came      out since that CV?                                  21 A
                                                                          21   A· · · · · · ·No.
                                                                                               No.
22 AA· · · · · · ·No.·
                    No. II think that might be the last one
                                                          one             22 Q· · · · · · ·You
                                                                          220                        didn't go to school --
                                                                                               You didn’t
23 that just came out.                                                    23 A A· · · · · · ·No.
                                                                                               No.
24 Q                 Okay. Make sure I understand:·
    Q· · · · · · ·Okay.·                    understand: You’re
                                                            You're        240
                                                                          24 Q· · · · · · ·--  -- to
                                                                                                  to be a toxicologist?
25 not an  an industrial hygienist; correct?                              25 A A· · · · · · ·No.
                                                                                               No.


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                                              Veena Anthony - June 30,
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                                                                       2021
                                                                    13                                                                     15
·11 Q·            Do you plan
    Q · · · · · ·Do          plan on offering
                                        offering any opinions inin         ·11 Q·
                                                                               Q · · · · · ·And
                                                                                              And diddid you
                                                                                                         you testify on behalf of the
·2  this case that are in the field of toxicology?
 2 this                                                                    ·2
                                                                            2  plaintiff    in   that case,  or were you
                                                                                                                      you testifying onon
·3
 3A A· · · · · · ·No.
                  No.                                                       3 behalf of the defendants?
                                                                           ·3
 4 Q·
·4                What is your current fee schedule for
    Q · · · · · ·What                                                       4 A
                                                                           ·4  A· · · · · · ·II think they just asked me what asbestos
 5 doing expert work?
·5                                                                          5 does and things like that about asbestos.
                                                                           ·5                                         asbestos.
·6
 6 AA· · · · · · ·What?
                  What?                                                     6 Q·
                                                                           ·6  Q · · · · · ·Do Do you remember the law firm   firm that
 7 Q·
·7  Q · · · · · ·I'm   sorry.
                  I’m sorry.                                                7 retained you to do that expert work?
                                                                           ·7
 8 A
·8                So repeat the question.
    A· · · · · · ·So                                                       ·8
                                                                            8 AA· · · · · · ·No,
                                                                                              No, II don’t
                                                                                                     don't remember the name.·
                                                                                                                           name. It was a
 9 Q·
·9  Q · · · · · ·How
                  How much do you charge per hour to do                     9 long name.
                                                                           ·9        name.
10 this expert work that you’re    you're -- you’re
                                              you're here for today?
                                                               today?      10 QQ· · · · · · ·Do Do you remember if they were local
11 A
11                 Today well
     A· · · · · · ·Today    we'll be charging $500 dollar per              11 here --
                                                                           11
     hour.
12 hour.                                                                   12 AA· · · · · · ·Yes.
                                                                                               Yes.
13 Q Q· · · · · · ·And
                   And isis it different when you’re
                                                  you're giving a          13 QQ· · · · · · ·---- in Birmingham?
                                                                                                     Birmingham?
14 deposition than if you’re   you're doing other types of work in         14 A                Yeah, they are.
                                                                               A· · · · · · ·Yeah,
15 the expert field?                                                       15 QQ· · · · · · ·Do Do you recall if the
                                                                                                                  the case was in Alabama
16 A A· · · · · · ·No.·
                   No. I can’t
                           can't say that.
                                      that.                                16 or if it was in a different jurisdiction?
                                                                                                                 jurisdiction?
17 Q Q· · · · · · ·Can   you tell
                    Can you    tell me how many hours you’veyou've         17 AA· · · · · · ·II think it was an Alabama case.
     worked so far in
18 worked                 in this matter?                                  18 QQ· · · · · · ·And
                                                                                               And you may not recall, and it's   its okay.
19 A A· · · · · · ·In
                   In this matter?                                         19 And I just want to       to make sure
                                                                                                                 sure I -- I ask the question
                                                                                                                                      question
20 Q·Q  · · · · ·   Uh-huh.
                  ·Uh-huh.                                                 20 again to make sure I understand the answer.
21
21 A               Gosh, maybe an hour.
     A· · · · · · ·Gosh,                hour.                              21 · · · · · · · Is it -- is it your
                                                                           21                              your testimony that you you
22 Q Q· · · · · · ·Okay.·
                    Okay. And I think you said an     an hour.
                                                         hour.             22 don’t
                                                                               don't recall if you   you were testifying on  on behalf of the
23 · · · · · · · Is that encompassing reviewing the                        23 plaintiff or if you   you were
                                                                                                         were testifying onon behalf ofof the
24 materials, drafting the report, all of the things that                  24 persons that were      were being
                                                                                                           being sued in the case?
     you've done in
25 you’ve               in con -- inin the -- in
                                              in the context of            25 AA· · · · · · ·II guess II was testifying on the behalf

                                                                    14                                                                     16
·11 working on    on this case?                                            ·1             the lawyer was from the people
                                                                            1 of the -- the                             people who
                                                                                                                                who -- who
·2
 2 AA· · · · · · ·True.
                  True.                                                     2 had the children
                                                                           ·2             children playing in the broken-down site.
·3  Q · · · · · ·How
 3 Q·             How many times have you served as             as an       3 Q·
                                                                           ·3 Q · · · · · ·Okay.·
                                                                                            Okay. So there were some children that
·4
 4  expert    witness?                                                     ·4
                                                                            4 were    injured,      and you testified onon behalf of the
 5 A
·5                Like II said,
    A· · · · · · ·Like    said, maybe II think one one or two.
                                                           two.             5 children as to their injury?
                                                                           ·5
·6
 6 Q·
    Q · · · · · ·Okay.·
                  Okay. And can you       you recall how long ago          ·6 A· · · · · · ·The
                                                                            6 A             The lawyer.·
                                                                                                    lawyer. Yeah.
·7
 7 it was
      was that you would   would have servedserved asas an expert           7 Q·
                                                                           ·7 Q · · · · · ·Okay.
                                                                                            Okay.
 8 witness?
·8  witness?                                                               ·8 A· · · · · · ·Was
                                                                            8 A             Was their lawyer.
·9
 9 AA· · · · · · ·Maybe
                  Maybe one was two, three    three years ago.
                                                            ago.            9 Q·
                                                                           ·9 Q · · · · · ·Am
                                                                                            Am I correct in sayingsaying that you have not
10 That was the most recent one that II believe.     believe.              10 seen Mr. Mr. Maas as a patient in this case?
11
11 Q               Most recent would have been
    Q· · · · · · ·Most                               been two
                                                            two or three   11
                                                                           11 AA· · · · · · ·No
                                                                                             No -- --
12 years ago? ago?                                                         12 QQ· · · · · · ·And
                                                                                             And Mr.  Mr. --
13 AA· · · · · · ·(Witness
                   (Witness nods head.)                                    13 AA· · · · · · ·--
                                                                                             -- II have
                                                                                                   have not.
14 QQ· · · · · · ·Did
                   Did you give testimony in that case?      case?         14 Q              You’ve not seen him
                                                                               Q· · · · · · ·You've                 him as a patient?
15 AA· · · · · · ·Testimony?·
                   Testimony? Yes.   Yes.                                  15 AA· · · · · · ·No.
                                                                                             No.
16 QQ· · · · · · ·You
                   You were deposed
                                  deposed in   in that case?
                                                       case?               16 QQ· · · · · · ·Have
                                                                                              Have you met with Mr. Maas in person for
17 AA· · · · · · ·Yes.
                   Yes.                                                    17 this case?
18 QQ· · · · · · ·Did
                   Did the case case go to trial andand you
                                                         you               18 A              No. Not at all.
                                                                               A· · · · · · ·No.·
19 testified at trial?                                                     19 QQ· · · · · · ·Have
                                                                                              Have you talked to him on the phone?
20 A
20  A· · · · · · ·No.·
                   No. II --
                           -- II sat in this room actually.
                                                    actually.              20A               No.
                                                                           20 A· · · · · · ·No.
21
21 QQ·  · · · · ·  Okay.
                  ·Okay.·    Do   you    remember     what kind of case    21 Q
                                                                           21  Q· · · · · · ·Have
                                                                                              Have you spokenspoken with
                                                                                                                     with him
                                                                                                                          him via ZoomZoom or
22 that was?
22                                                                         22 have
                                                                               have any contact with him?
23 A
23  A· · · · · · ·It
                   It was something about a broken-down                    23 A              Not at all.
                                                                               A· · · · · · ·Not
24 house
24  house and asbestos exposure.   exposure.· Asbestos sighting in the     24 · · · · · · · MR. MCLEOD:·
                                                                                                    MCLEOD: Court reporter,
                                                                                                                       reporter, I'll
                                                                                                                                 I’ll have
25 -- in the house that was broken down.
25                                                                         25 this marked
                                                                                     marked as Exhibit 2.      2.


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                                                  Veena Anthony - June 30,
                                                                       30, 2021
                                                                           2021
                                                                          17                                                                           19
·11 · · · · · · · Ken, that’s  that's her expert report.
                                                   report.                       ·1                 Did you
                                                                                    Q· · · · · · ·Did
                                                                                  1 Q                     you draft sections of it    it yourself
·2
 2 · · · · · · · MR. BURGER:· BURGER: That’s That's fine.
                                                    fine.· No objection.
                                                               objection.         2 and submit it to somebody else for typing?
                                                                                 ·2                                                    typing?
·3
 3  · · ·  ·  ·  ·  ·  · · ·(Exhibit
                            (Exhibit  Number     2 was                           ·3 A·
                                                                                  3 A   · · · · ·  ·No.·  I
                                                                                                    No. I I -- I looked   at the parts that --
                                                                                                                                 parts
 4 · · · · · · · · · ·marked
·4                          marked forfor identification.)
                                          identification.)                        4 where they talked about the work that I've
                                                                                 ·4                                                     I’ve done in the
·5
 5 QQ· · · · · · ·Dr.    Dr. Anthony, I’ve I've marked as Exhibit 2               5 field and made certain
                                                                                 ·5                         certain that they were correct,
                                                                                                                                       correct, and --
·6
 6 your expert report that was issued in                   in this matter.       ·6 Q· · · · · · ·Okay.
                                                                                  6 Q               Okay.
 7 · · · · · · · Do you recognize that document?
·7                                                                               ·7 A· · · · · · ·--
                                                                                  7 A               -- they are.
                                                                                                             are.· Yeah.
                                                                                                                    Yeah.
 8A
·8  A· · · · · · ·Yes,  Yes, II do.                                              ·8 Q·
                                                                                  8 Q   · · · ·  · ·Doctor,
                                                                                                    Doctor,     is it fair to say that asas a
·9
 9 QQ·   ·  ·  ·  ·  ·  ·And
                         And that is your expertexpert report that you            9 pulmonologist you also consider yourself to be a
                                                                                 ·9
10 submitted
     submitted in this case?                                                     10 scientist, or is there a -- a difference in            in being aa
11 A
11   A· · · · · · ·Yes.  Yes.                                                    11 pulmonologist and
                                                                                 11                          and being a scientific?
12 Q· Q · · · · · ·Is     Is it fair to say that that expert                     12 AA· · · · · · ·Well,
                                                                                                     Well, a lot of us academic physicians,
                                                                                                                                      physicians,
13 report contains all of the opinions         opinions that you plan to         13 we do both. both.· We have research as well as we do --
14 offer in this case?                                                           14 there are three  three arms to our work:work:· Research, teaching,
                                                                                                                                                 teaching,
15 A A· · · · · · ·Yes.  Yes.                                                    15 and clinical care.  care.
16 Q· Q · · · · · ·It     It would also detail the information you     you       16 Q·
                                                                                     Q · · · · · ·And                        research component,
                                                                                                      And so from the research          component, I
17 considered in arriving at your opinion?                                       17 guess especially, that would        would fall
                                                                                                                                fall more like a
18 A A· · · · · · ·True. True.                                                   18 scientist than   than asas a clinical
                                                                                                                   clinical physician; is that
19 Q· Q · · · · · ·It     It contains the information and reliance               19 correct?
20 materials that you relied upon and based                 based your opinion   20 AA· · · · · · ·Yes.
                                                                                                     Yes.
21 on?
21                                                                               21 Q·
                                                                                 21                  When you
                                                                                     Q · · · · · ·When         you do your research and     and you
                                                                                                                                                 you put on
22 A A· · · · · · ·Yes.  Yes.                                                    22 that -- that scientist hat, would you agree with me
23 Q· Q · · · · · ·Is     Is there any other materials that you                  23 that -- that there'sthere’s a scientific method that you      you use
                                                                                                                                                       use
24 have reviewed or analyzed that you used to form your                          24 in
                                                                                     in order to reach conclusions?
25 opinion that aren’t         aren't listed inin that expert report?            25 AA· · · · · · ·True.
                                                                                                     True.

                                                                          18                                                                           20
·11A               No.
   A· · · · · · ·No.                                                             ·1 Q· · · · · · ·And
                                                                                  1 Q               And you follow a scientific method in        in --
·2 Q· · · · · · ·Okay.·
 2 Q               Okay. Did you author that report in         in its             2 in the research
                                                                                 ·2          research work that you       you do?
·3
 3 entirety?                                                                     ·3
                                                                                  3AA· · · · · · ·II do.
·4 A· · · · · · ·II signed
 4 A                signed off on it.  it.· Yes.                                 ·4 Q· · · · · · ·Would
                                                                                  4 Q              Would you agree with me       me that part of
·5 Q· · · · · · ·And
 5 Q               And -- and you   you said
                                          said "signed off on it."                5 that scientific method
                                                                                 ·5                         method is to evaluate all of the
 6 · · · · · · · Tell me -- tell me what that means.
·6                                                                               ·6
                                                                                  6 available data that exists in order to reach      reach that
·7 A· · · · · · ·II mean,
 7 A                mean, that means that II -- yes.  yes.· This
                                                            This                 ·7 conclusion?
                                                                                  7 conclusion?
 8 is what II believe to be true.
·8                                                                                8A
                                                                                 ·8                Yes.
                                                                                    A· · · · · · ·Yes.
·9 Q· · · · · · ·Okay.·
 9 Q               Okay. Did you yourself yourself draft it, or did              ·9 Q· · · · · · ·And
                                                                                  9 Q               And you do   do that in an impartial
                                                                                                                                impartial manner
10 someone draft it for you, or what          what -- what happened --           10 -- manner as      as a scientist
                                                                                                             scientist inin order to evaluate that
11 how -- what are the mechanics of how we
11                                                         we came about         11 data for accuracy and truthfulness?
                                                                                 11
12 having that report?                                                           12 A·
                                                                                     A · · · · · ·II --
                                                                                                      -- II don't
                                                                                                            don’t know that II evaluate
                                                                                                                               evaluate them
13 AA· · · · · · ·II -- it -- II mean, I saw the report;
                                                    report; and                  13 for accuracy and truthfulness.
                                                                                                               truthfulness.· But I don’t
                                                                                                                                    don't repeat the
14 II believe it -- what it said.  said.· And it was probably                    14 work that is in somebody else's            paper.· I take it at
                                                                                                                        else’s paper.
15 drafted in    in depth andand detail by perhaps somebody in --                15 face value
                                                                                           value because that’s   that's already been reviewed
                                                                                                                                        reviewed by my
16 in
    in  Mr.    Burger's
               Burger’s     office.                                              16 colleague somewhere else.
17 Q·
    Q · · · · · ·So So am I right in saying that you didn’t   didn't             17 Q·
                                                                                     Q · · · · · ·In In order to render an expert opinion
18 sit down at your computer and actually type out that                          18 that requires examination of scientific data,         data, studies,
19 report?
    report?                                                                      19 other information;
                                                                                              information; you would agree with me that in             in
20 A                No, I did not sit down
    A· · · · · · ·No,                     down at my computer                    20 order to render a reliable   reliable opinion, you needed
                                                                                                                                          needed to
21 and
21         type out this report.
    and type                                                                     21
                                                                                 21 review all of the      the available data that impacts
                                                                                                                                     impacts thatthat
22 Q·
    Q · · · · · ·Okay.·
                    Okay. It was  was submitted
                                        submitted to you.
                                                       you.· You                 22 opinion;
                                                                                     opinion; is that correct? correct?
23 read it,       and then
             it, and    then you signed
                                     signed it.                                  23 A·
                                                                                     A · · · · · ·That's      true.· As much as, you know, you
                                                                                                    That’s true.                               you
24 · · · · · · · But you didn’t  didn't type it out yourself?                    24 do it when
                                                                                           when --    -- at a given particular time.
25 AA· · · · · · ·II didn’t
                     didn't type
                              type it out myself.
                                            myself.                              25 Q·
                                                                                     Q · · · · · ·In In a matter of looking at an individual


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                                                 Veena Anthony - June 30,
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                                                                          2021
                                                                         21
                                                                         21                                                                           23
 1 who
·1 who is alleging injury, would      would that include reviewing
                                                               reviewing        ·11 A
                                                                                    A· · · · · · ·II think it -- it was perhaps Mr. --
 2 medical records?
·2                                                                               2 Dr. Wray’s
                                                                                ·2      Wray's testimony or -- or report  report or the -- II think
 3 A
·3               Yeah. But I'm
   A· · · · · · ·Yeah.·           I’m not -- II don't
                                                don’t think I've
                                                            I’ve                ·33 that -- that was      it. Yes.
                                                                                                     was it.·  Yes.· That was his -- his --
 4 -- I'm
·4    I’m doing
            doing that.
                     that.· II mean, II did
                                         did look at his -- the
                                                              the                4 where II read that.
                                                                                ·4                      that.· Yeah.
                                                                                                               Yeah.
 5 record which was supplied by somebody called Dr.
·5                                                                 Dr. Wray.        Q· · · · · · ·Do
                                                                                ·55 Q               Do you have any knowledge
                                                                                                                          knowledge about the
·6 And I read the stuff, but II didn’t
 6 And                                 didn't -- I can’t
                                                   can't comment                 6 Vessels of Opportunity
                                                                                ·6                    Opportunity Program in which Mr. Maas was     was
 7 on it.·
·7      it. II mean, II have to   to take him -- II didn't
                                                     didn’t examine             ·77 working?
 8 the patient.·
·8       patient. II wasn’t
                        wasn't there with the patient, so II                    ·88AA· · · · · · ·No.
                                                                                                  No.
 9 can't
·9 can’t -- I have -- I just  just took Dr. Wray's
                                              Wray’s word for                       Q· · · · · · ·Do
                                                                                ·99 Q             Do you know how many days   days specifically
10 what he said.                                                                10 he was on the Gulf?
                                                                                10
11
11 QQ· · · · · · ·And
                   And let me parse that out a little bit.                      11
                                                                                11 AA· · · · · · ·Two          ago.· Again,
                                                                                                   Two months ago.   Again, II -- again, this
12 · · · · · · · Are you saying that you looked at the                          12 is what I've
                                                                                12              I’ve read:
                                                                                                     read:· Two months.
13 medical
    medical records of Dr. Wray or that you read something          something   13 Q·
                                                                                13 Q · · · · · ·Do Do you know where in in the Gulf
                                                                                                                                Gulf of Mexico
14 that Dr. Wray wrote about those medical records and                  and     14 Mr. Maas worked
                                                                                14                 worked in the cleanup
                                                                                                                   cleanup efforts?
15 took that at face value?    value?                                           15 A· · · · · · ·II don’t
                                                                                15 A                don't know.
                                                                                                          know.
16 AA· · · · · · ·II -- II read his physical exam, his                          16 Q·
                                                                                16 Q · · · · · ·Do Do you know what type of boat Mr. Maas
17 report,
    report, andand his -- his -- the -- the data on -- that                     17 was on?
                                                                                17       on?
    he supplied on
18 he                  on the patient.
                                patient.· And II took that forfor what          18
                                                                                18AA· · · · · · ·No.
                                                                                                  No.
19 it was.                                                                      19 Q·
                                                                                19 Q · · · · · ·Do Do you know the number
                                                                                                                      number of crew members
20 Q                Did you read
    Q· · · · · · ·Did           read Dr. Wray’s
                                           Wray's expert report in              20 that he might have  have worked with on that boat?
21
21  this   case?                                                                21 A· · · · · · ·No.
                                                                                21A               No.
22 A              (No response.)
    A· · · · · · ·(No                                                           22 Q·             And you
                                                                                   Q · · · · · ·And     you said
                                                                                                             said you think it was
                                                                                                                               was two
23 QQ· · · · · · ·HeHe -- he issued a report very similar to                    23 months, but do    do you know specifically what
                                                                                                                              what days out of
24 what you did pursuant   pursuant to this case.                               24 those two months he would have worked in the cleanup?
                                                                                                                                       cleanup?
25 · · · · · · · Do you remember if you read his expert                         25A              No.
                                                                                25 A· · · · · · ·No.

                                                                         22                                                                           24
·11 report?                                                                         Q · · · · · ·Do
                                                                                ·11 Q·              Do you know the specificspecific tasks that
·2
 2 AA· · · · · · ·II think I did.
                             did.                                                2 Mr. Maas was performing in the cleanup work?
                                                                                ·2
·3
 3 QQ· · · · · · ·II know you testified earlier that                            ·33 A
                                                                                    A· · · · · · ·II believe that was to put those -- you
 4 Mr. Maas was
·4                  was not your patient and you         haven’t spoken
                                                    you haven't                 ·4
                                                                                 4 know,
                                                                                    know, those -- those  those -- to corral
                                                                                                                         corral the oil in one
 5 with him.
·5         him.· So I’m  I'm going
                              going to ask you some questions                   ·55 particular space, things like     like that.
                                                                                                                           that.
·6
 6 about his specific work.     work.· And it maybe that -- that                ·6  Q · · · · · ·And
                                                                                 6 Q·               And that,
                                                                                                          that, again, comes
                                                                                                                           comes from something
·7  that's outside of what you reviewed.·
 7 that’s                                  reviewed. And if it is,
                                                                is,             ·77 that you --
 8 okay;
·8  okay; but I want to -- I want to ask.                                       ·88 A
                                                                                    A· · · · · · ·Read.
                                                                                                  Read.
·9
 9 · · · · · · · Do you know specifically what type of                              Q · · · · · ·--
                                                                                ·99 Q·              -- you read that told told you that?
10 work Mr. Maas performed  performed in the Gulf Gulf cleanup?                 10
                                                                                10 A A· · · · · · ·Yes.
                                                                                                    Yes.
11 A
11                  Just what II read.
     A· · · · · · ·Just                                                         11
                                                                                11 Q                 Other than what you’ve
                                                                                     Q· · · · · · ·Other                    you've read, do you have
12 Q·Q · · · · · ·AndAnd --                                                     12 any other independent information about how many hours
                                                                                12
13 A A· · · · · · ·That
                    That he worked for a period of two                          13 Mr.
                                                                                13   Mr. Maas would  would have been  been working
                                                                                                                             working in the Gulf?
14 months and was       was exposed to 12   12 hours a day over a period        14
                                                                                14A  A· · · · · · ·No.
                                                                                                     No.
15 of two months where they sprayed Corexit over his boat                       15
                                                                                15 Q                 Doctor, you said earlier that you are
                                                                                     Q· · · · · · ·Doctor,
16 or whatever he was working on.           on.                                 16 not a toxicologist, but you do understand some -- some
                                                                                16
17 Q·Q · · · · · ·AndAnd --                                                     17 toxicology.
                                                                                17   toxicology.
18 A A· · · · · · ·And
                    And --                                                      18 · · · · · · · Would you agree with me -- or would you
                                                                                18
19 Q·Q · · · · · ·I'm    sorry.· I didn't
                     I’m sorry.     didn’t mean to interrupt.
                                                     interrupt.                 19 agree, rather,
                                                                                19             rather, with the toxicological premise that
20 A                That’s -- that’s
     A· · · · · · ·That's      that's all I know.                               20 dose
                                                                                     dose is everything when determining if a substance can
21
21 Q·Q · · · · · ·AndAnd when you you said
                                        said you -- you
                                                     you read that,             21 create a potential harm?
                                                                                21                               harm?
22 what -- what is it that you read that -- that told you                       22 A A· · · · · · ·II think there
                                                                                                            there are some caveats to that.
23 that?
     that?                                                                      23 II think the dose,dose, if it’s
                                                                                                               it's distributed over a large
24 · · · · · · · What material
                           material did you you look at that --                 24 area of the body,   body, can
                                                                                                              can cause
                                                                                                                    cause a different type of damage
25 that gave you that information?                                              25 than if it is concentrated in a particular area.      area.· Then



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                                                                     25
                                                                     25                                                                         27
 1 the same
·1      same dose  dose can cause harm harm right there.
                                                  there.                    ·11 Q
                                                                                Q· · · · · · ·IsIs there
                                                                                                   there any other chemicals or
 2 Q·
·2 Q · · · · · ·ButBut dose --                                               2 substances that you think might
                                                                            ·2                                         might have caused Mr. Maas
 3 A
·3               Yes.
   A· · · · · · ·Yes.                                                       ·33 harm
                                                                                harm in your opinion that are at issue in this case?
 4 Q·
·4 Q · · · · · ·-- -- whether       large or small
                      whether in large       small quantities,               4 A
                                                                            ·4  A· · · · · · ·II don't
                                                                                                 don’t know ifif they’re
                                                                                                                 they're -- they’re
                                                                                                                            they're an
                                                                                                                                    an
 5 is very important --
·5                                                                          ·55 issue in this case, but I believe that crude oil
·6 A· · · · · · ·Yes.
 6 A             Yes.                                                        6 exposure can
                                                                            ·6                  can also cause damage.
                                                                                                                    damage.
 7 Q·
·7 Q · · · · · ·-- -- in
                      in determining
                         determining harm?                                  ·77 Q
                                                                                Q· · · · · · ·DoDo you have an understanding if Mr. Maas
 8 A
·8 A· · · · · · ·II think as a generic statement, that                      ·88 was exposed to crude oil         oil or not?
·9 would be true.
 9 would                                                                        A· · · · · · ·Just
                                                                            ·99 A             Just   from my   reading what -- of what was
                                                                                                               reading
10 Q                And -- and
    Q· · · · · · ·And        and you’re
                                  you're a pulmonologist.                   10 given
                                                                            10   given to me.me.· II believe if you're
                                                                                                                   you’re corralling that
11 · · · · · · · You -- you prescribe medicine;
11                                          medicine; correct?              11
                                                                            11 stuff and something -- there    there was something also about
12 AA· · · · · · ·True.
                   True.                                                    12 clothes being drenched in
                                                                            12                                    in Corexit and oil.
13 Q                And when you prescribe
    Q· · · · · · ·And                  prescribe medicine,
                                                   medicine, is it          13 Q·
                                                                            13   Q · · · · · ·Let's
                                                                                                 Let’s take Corexit first.
14 fair toto say that you prescribe on a dose      dose basis?              14 · · · · · · · Would you
                                                                            14                          you agree with me that in order to
15 AA· · · · · · ·True.
                   True.                                                    15
                                                                            15   determine         whether  or not Corexit caused harm, you needneed
16 Q                And that's
    Q· · · · · · ·And     that’s because not enough of a                    16 to know the dose that an individual
                                                                            16                                        individual was exposed to to
17 medicine may not --                                                      17 that Corexit?
                                                                            17
18 AA· · · · · · ·Work.
                   Work.                                                    18 · · · · · · · MR.
                                                                            18                MR. BURGER:·
                                                                                                     BURGER: And    And let me object to the
19 QQ· · · · · · ·---- do the help that you
                                          you want; too much                19 form.
                                                                            19   form.· You can answer.
20 might create harm?                                                       20 Q·Q · · · · · ·Before
                                                                                                 Before you do,do, let me see if I cancan clean
21 A
21  A· · · · · · ·Absolutely
                   Absolutely right.·
                                 right. Uh-huh.                             21
                                                                            21   the  question       up.
22 Q                Would you agree with me that there are
    Q· · · · · · ·Would                                                     22 · · · · · · · Would you  you agree with me that you also --
23 some substances that in small amounts do not produce          produce    23 with any substance, would you
                                                                                                         you agree with
                                                                                                                    with me that you
                                                                                                                                  you
24 harm but in large    large amounts may be very  very harmful?            24 need to know the dose in order to determine
                                                                                                                 determine if that
25 AA· · · · · · ·That's    true.
                   That’s true.                                             25 substance can cause harm?

                                                                     26
                                                                     26                                                                         28
·11 Q              Got to have water to live;
    Q· · · · · · ·Got                          live; too much                1 · · · · · · · MR. BURGER:
                                                                            ·1                      BURGER:· And excuse me.·      me. Same
·2  water can
 2 water     can kill you?                                                   2 objection.
                                                                            ·2
·3
 3A A· · · · · · ·Yes.
                  Yes.                                                       3 A
                                                                            ·3               Yes and no.·
                                                                               A· · · · · · ·Yes           no. II agree with you;
                                                                                                                               you; but, for
·4
 4 QQ· · · · ·  ·  Same thing with salt;
                  ·Same                   salt; correct?                    ·4 example,
                                                                             4 example,       if you   get,
                                                                                                       get, say,   soap  in your  eye,
                                                                                                                                  eye, you know
·5
 5 AA· · · · · · ·True.
                   True.                                                     5 it's
                                                                            ·5 its going to burn.·burn. And then if you get the same dose
·6
 6 QQ· · · · · · ·Oxygen?
                   Oxygen?                                                   6 on your skin,
                                                                            ·6              skin, you may do fine.
·7
 7 AA· · · · · · ·True.
                   True.                                                     7 Q
                                                                            ·7                Okay. Well, let's
                                                                               Q· · · · · · ·Okay.·              let’s talk about it in
 8 Q
·8                 Now, in this case -- and were
    Q· · · · · · ·Now,                             we're going to            8 specific terms of Corexit.
                                                                            ·8
·9
 9 go through your report, so this is preliminary to            to us        9 · · · · · · · Would you agree with me that you need to
                                                                            ·9
10 doing that.·that. I want to make sure I understand.
                                                    understand.             10 know the amount of Corexit that an individual        individual was
11 · · · · · · · What is your opinion as to what
11                                                                          11
                                                                            11 exposed to to determine whether or not that Corexit
12 substances are at issue in this case?                                    12 could cause harm?
13 AA· · · · · · ·II believe it's
                                it’s Corexit.                                   A · · · · · ·I'd
                                                                            13 A·              I’d like to know where he was exposed exposed to
14 Q·
    Q · · · · · ·AndAnd do you -- what is -- what is                        14 it;
                                                                                it; location.
                                                                                    location.
15 Corexit?                                                                 15 Q·               Okay. On the skin.
                                                                                Q · · · · · ·Okay.·
16 AA· · · · · · ·Well,    it's a dispersant.
                   Well, it’s      dispersant.· Corexit 9500 II             16 · · · · · · · Would you need   need to know how much Corexit
17 believe.                                                                 17 he was exposed to as to --
18 Q·
    Q · · · · · ·AndAnd what does a dispersant do?                              A · · · · · ·II can
                                                                            18 A·                can -- II --
19 AA· · · · · · ·ItIt breaks up things into micelles and and                   Q · · · · · ·--
                                                                            19 Q·               -- whether or or not it could cause harm?
20 can cause other changes if it -- depends on where it                     20 A·
                                                                                A · · · · · ·II think that’s
                                                                                                        that's -- that’s
                                                                                                                   that's a fine -- broad
                                                                                                                                    broad
21 lands.
21  lands.                                                                  21
                                                                            21 -- as a broad statement,
                                                                                                     statement, I think you’re
                                                                                                                           you're right.
22 Q·
    Q · · · · · ·Is Is there any other substance or                         22 Q·
                                                                                Q · · · · · ·Okay.·
                                                                                                Okay. Inhalation.
                                                                                                         Inhalation.
23 chemicals at issues    issues other than Corexit in    in your opinion   23 · · · · · · · Would you need   need to know how much Corexit
24 in this case?                                                            24 he inhaled in order to determine whether or not it
25 AA· · · · · · ·II don’t
                      don't understand
                             understand the question.
                                                question.                   25 could cause harm?


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                                                                         29                                                                        31
                                                                                                                                                   31
 1 A
·1 A· · · · · · ·II think a very small amount of that                           ·1 Q· · · · · · ·Is
                                                                                 1 Q              Is it also fair to say that you   you do not
 2 could cause a significant harm.
·2                                      harm.· Corexit,
                                                Corexit, period, if             ·2                            evidence that Mr. Maas was ever
                                                                                 2 have any scientific evidence
 3 exposed to the
·3                   the airways,
                            airways, would
                                       would cause significant harm             ·3 around the spraying of Corexit?
                                                                                 3 around
 4 of the airways.
·4          airways.                                                            ·4 A· · · · · · ·Just
                                                                                 4 A             Just --
 5 Q·
·5 Q · · · · · ·What
                   What constituents of Corexit are causing                      5 · · · · · · · MR.
                                                                                ·5               MR. BURGER:·
                                                                                                       BURGER: Object to the form.     form.
 6 that harm if you
·6                     you know?                                                ·6 A· · · · · · ·Just
                                                                                 6 A             Just what II read.
 7 A
·7 A· · · · · · ·II don't.
                    don’t.                                                      ·7 Q· · · · · · ·Just
                                                                                 7 Q              Just what you readread in   in -- in the -- in
                                                                                                                                              in
 8 Q·
·8 Q · · · · · ·YouYou justjust say Corexit, but you you don't
                                                            don’t know          ·8
                                                                                 8 the   narratives
                                                                                         narratives      --
·9
 9 specifically        what     part  of the  Corexit  is  causing  the         ·9 A· · · · · · ·Uh-huh.
                                                                                 9 A              Uh-huh.
10 harm?                                                                        10 Q·
                                                                                    Q · · · · · ·---- that you were provided?
11
11 AA· · · · · · ·True.·
                   True. It'sIt’s not what II -- anything that                  11 A
                                                                                11                Uh-huh.
                                                                                    A· · · · · · ·Uh-huh.
12 I’ve   analyzed. Yeah.
    I've analyzed.·                                                             12 Q·
                                                                                    Q · · · · · ·Are
                                                                                                   Are you aware of the exposure limits for
13 QQ· · · · · · ·SoSo do you have   have an opinion as to what                 13 Corexit?
14 exposure levels or what dose of Corexit needed to be                         14 AA· · · · · · ·Exposure
                                                                                                  Exposure limits?
15 present in    in order to state  state that harm could occur?                15 Q·
                                                                                    Q · · · · · ·The
                                                                                                   The -- the regulatory limits,limits, what --
16 AA· · · · · · ·II don’t
                     don't know what extent -- or what his                      16 what a --
17 exposures were quantitatively.
                              quantitatively.· But all II know is that          17 AA· · · · · · ·II don’t
                                                                                                     don't know.
    he was exposed
18 he          exposed to it on a -- supposedly on         on a regular         18 Q·
                                                                                    Q · · · · · ·---- what a person is   is allowed
                                                                                                                              allowed -- I'm
                                                                                                                                           I’m
19 basis for a period --        --· over a period of two months.
                                                            months.             19 sorry.·       didn't mean
                                                                                    sorry. I didn’t       mean to interrupt you.
20
20 QQ· · · · · · ·IsIs it fair to say that you didn’t
                                                    didn't do any               20 AA· · · · · · ·My   apologies.· II --
                                                                                                  My apologies.        -- II don't
                                                                                                                             don’t remember
21 analysis to determine how much Corexit Mr.
21                                                            Mr. Maas would
                                                                        would   21
                                                                                21 them.
22
22 have
    have been exposed to?                                                       22 Q·
                                                                                    Q · · · · · ·Okay.·
                                                                                                   Okay. Do you --       you think there are
                                                                                                                      -- you
23
23 AA· · · · · · ·II -- II don’t              Maas. Yeah.
                           don't know Mr. Maas.·                                23 exposure limits that are regulatory limits for
24 Q
24  Q· · · · · · ·Okay.·
                    Okay. And you’ve  you've said quantitatively.               24 Corexit, but you just         don’t remember what they are?
                                                                                                            just don't
25
25 · · · · · · · Is -- is it fair to say that you       didn’t
                                                   you didn't                   25 AA· · · · · · ·Yeah.·
                                                                                                  Yeah. II haven't
                                                                                                             haven’t seen them.

                                                                         30                                                                        32
 1 do a quantitative dose reconstruction
·1                              reconstruction analysis for               ·1 Q· · · · · · ·Okay.·
                                                                           1 Q               Okay. As we sit here today,     today, is it
 2 this
·2 this case?
         case?                                                            ·2
                                                                           2 really just your speculation and conjecture that
 3 A
·3 A· · · · · · ·II did
                    did not.                                              ·3 Mr. Maas was ever exposed to Corexit?
                                                                           3 Mr.
 4 Q·
·4 Q · · · · · ·Okay.·
                   Okay. As a pulmonologist, that’s
                                             that's                       ·4
                                                                           4 · · · · · · · MR.
                                                                                           MR. BURGER:·
                                                                                                  BURGER: Object to the form.      form.
·5
 5 probably        not  something you
                        something you would know  how to do; is            5 A
                                                                          ·5                 Yes. As I'm
                                                                             A· · · · · · ·Yes.·       I’m going off what what II was --
 6 that correct?
·6                                                                        ·6
                                                                           6 what II read.·
                                                                                        read. II mean,
                                                                                                   mean, but II can't
                                                                                                                    can’t say that II
 7 A
·7               True.
   A· · · · · · ·True.                                                    ·7
                                                                           7 personally know that Mr. Maas        Maas was exposed to it or
 8 Q·
·8 Q · · · · · ·Have
                  Have you you seen
                                seen any quantitative dose                 8 not.
                                                                          ·8 not.
 9 reconstruction analysis for Mr.
·9                                        Mr. Maas in this case?          ·9 Q· · · · · · ·Do
                                                                           9 Q               Do you have any knowledge about          about the time
10 A              No.
    A· · · · · · ·No.                                                     10 frame during the Gulf cleanup of when Corexit was
11
11 QQ· · · · · · ·IfIf we were going to say that an                       11 used?
                                                                          11
12 individual
    individual was harmed by a substance, we would need           need to 12 AA· · · · · · ·II -- I mean, ifif II remember -- I'm I’m trying
13 know the quantity of that substance that somebody was 13 to remember The New York Times saying.                             saying.· II think it was
14 exposed to;      to; is that correct?                                  14 in the first few months.
                                                                                                    months.
15 AA· · · · · · ·Like
                  Like I said, in a -- in
                                        in a -- as a broad
                                                     broad                15 Q·
                                                                              Q    · · · · · ·Okay.
                                                                                              Okay.
16 statement, that's  that’s probably true.
                                      true.· But as I explained,          16 AA· · · · · · ·Several
                                                                                              Several months.
                                                                                                       months.
17 it depends
      depends on     on where it lands.
                                  lands.                                  17 Q·
                                                                              Q · · · · · ·AndAnd I think earlier you -- you gave me a
18 Q                And I think you’ve
    Q· · · · · · ·And             you've said
                                           said this,
                                                 this, and
                                                       and I just         18 -- aa number after Corexit.
19 want to make sure I understand.                                        19 · · · · · · · What -- can you tell me:·     me: Is their --
20
20 · · · · · · · In -- in this case specifically as  as to                20 AA· · · · · · ·9500.·    And then they used
                                                                                              9500. And                   used another name
21  Mr. Maas, you
21 Mr.               you don't
                           don’t know the levels
                                              levels or dose of Corexit   21
                                                                          21 -- another number attached to it.           it.
22
22 that Mr.Mr. Maas would have    have been exposed to while --           22 Q·
                                                                              Q · · · · · ·Do Do you draw any distinction between
23
23 AA· · · · · · ·II do not.                                              23 Corexit 9500 and       and the other type type of Corexit?
24 Q
24  Q· · · · · · ·---- doing his Gulf cleanup work?                       24 AA· · · · · · ·II haven't
                                                                                               haven’t tested the other kind   kind of
25
25 AA· · · · · · ·II do not.·
                         not. Sorry.
                               Sorry.                                     25 Corexit myself,
                                                                                           myself, so I can't
                                                                                                         can’t say anything about it.


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                                                                          33                                                                            35
·11 Q·            And the type of Corexit that you
    Q · · · · · ·And                                                             ·11 is that correct?
 2 tested --
·2                                                                                2A
                                                                                 ·2                  Yes.
                                                                                     A· · · · · · ·Yes.
·3
 3 AA· · · · · · ·True.
                  True.                                                          ·33 Q·
                                                                                     Q · · · · · ·AndAnd do you you have any knowledge about how
·4
 4Q               -- was 9500; is that -- is that correct?
    Q· · · · · · ·--                                                             ·4
                                                                                  4  those    response         efforts to that oil spill were
                                                                                                                                         were
 5A
·5                True.
    A· · · · · · ·True.                                                          ·55 structured?
·6
 6Q Q· · · · · · ·Were
                  Were you aware that during the response                        ·6
                                                                                  6 AA· · · · · · ·(No
                                                                                                     (No response.)
·7
 7 efforts in  in the Gulf that there were guidelines that                       ·77 Q·
                                                                                     Q · · · · · ·ForFor example, do you  you know
                                                                                                                               know who was in
 8 were in
·8          in place for the sprayingspraying of Corexit?                        ·88 control of the cleanup efforts?
·9
 9 · · · · · · · Did you know that?                                                  A· · · · · · ·Well,
                                                                                 ·99 A               Well, FEMA was involved that II know.
10 AA· · · · · · ·II -- II think -- well,
                                     well, II -- II don't
                                                    don’t know.                  10
                                                                                 10   But  I --  I don’t know who specifically was
                                                                                                 I  don't                           was responsible
                                                                                                                                          responsible
11 I -- II guess II should
11                     should say  say II don’t
                                          don't know them.                       11 for it.
                                                                                 11
12 QQ· · · · · · ·For       example, were -- were
                    For example,                     were you
                                                           you aware
                                                                aware that       12
                                                                                 12 Q Q· · · · · · ·Have
                                                                                                      Have you ever heard the phrasephrase "Unified
                                                                                                                                             "Unified
13 the guidelines did not allow any spraying of Corexit                          13           Command"?
                                                                                 13 Area Command"?
14 within two nauticalnautical miles of any boat?                                14
                                                                                 14 A A· · · · · · ·II think II may have.·
                                                                                                                     have. Yeah.
15 AA· · · · · · ·No,
                   No, I'm I’m not aware of that.·that. But II also              15
                                                                                 15 Q Q· · · ·  ·  · ·And
                                                                                                      And   were
                                                                                                            were   you                    Unified Area
                                                                                                                        aware that the Unified
16 remember from that time reading        reading about the effects of           16   Command comprised
                                                                                 16 Command             comprised the coast guard guard -- U.S. Coast Guard,
17 wind and breeze on how these dispersants were sprayed              sprayed    17 the EPA, and the National Oceanic and Atmospheric
                                                                                 17                                                        Atmospheric
18 and then, by winds and breeze, were carried to other                          18
                                                                                 18 Administration.
19 places.
    places.· And people talking about that even            even on land,         19 · · · · · · · Does that ring
                                                                                 19                               ring a bell at all?
20
20 they got it on their outdoor patios or something      something like          20 A A· · · · · · ·Uh-huh.
                                                                                                      Uh-huh.
21
21 that.
    that.· But     that’s just
             But that's       just what I've
                                          I’ve read in the New York              21 Q
                                                                                 21                   And they were in control of --
                                                                                      Q· · · · · · ·And
22 Times.
22  Times.                                                                       22 A A· · · · · · ·Right.
                                                                                                      Right.
23 Q
23  Q· · · · · · ·And        that's just anecdotal evidence;
                    And that’s                            evidence;              23 Q Q· · · · · · ·---- the response efforts; is that
24
24 correct?                                                                      24 correct?
25 A
25  A· · · · · · ·Just           reading.· Yes.
                   Just my reading.                                              25 A A· · · · · · ·Yes.
                                                                                                      Yes.

                                                                          34                                                                            36
 1 Q·
·1  Q · · · · · ·That's            science; correct?
                  That’s not science;                                             1 Q·
                                                                                 ·1 Q · · · · · ·Were
                                                                                                   Were you also aware that the
·2 A· · · · · · ·That's
 2 A              That’s not science.                                             2 Occupational Safety and Health Organization served as
                                                                                 ·2
 3 Q·
·3  Q · · · · · ·Do
                  Do you have  have any knowledge about the in                   ·3 an active advisor in
                                                                                  3 an                       in the response efforts?
 4 situ burning of
·4                     of the oil oil during the response effort?
                                                                effort?           4 · · · · · · · Did you know that?
                                                                                 ·4
·5 A·
 5 A   · · · · · ·I
                  I  mean,   I
                             I  know   it was   burned.·
                                                burned.  But I --                ·5 A· · · · · · ·Yeah.
                                                                                  5 A              Yeah.
 6 II don’t
·6    don't know the answer.answer.                                               6 Q·
                                                                                 ·6 Q · · · · · ·Did
                                                                                                   Did you know that the Centers for
    Q · · · · · ·Do
 7 Q·
·7                Do you know the locations  locations of where the               7 Disease Control
                                                                                 ·7               Control also served as an active advisor?
 8 burning took place?
·8                                                                               ·8
                                                                                  8AA· · · · · · ·Yes.
                                                                                                   Yes.
·9
 9AA· · · · · · ·No.
                  No.                                                             9 Q·
                                                                                 ·9 Q · · · · · ·And
                                                                                                   And the National Institute for --
10 Q                Do you
     Q· · · · · · ·Do   you know the locationslocations of where the             10 A               Health?
                                                                                     A· · · · · · ·Health?
11
11   Corexit     spraying
                 spraying       took   place?                                    11 Q
                                                                                 11                 -- Occupational
                                                                                     Q· · · · · · ·--  Occupational Safety and Health?
12 A A· · · · · · ·No.·
                    No. InIn the Gulf;
                                   Gulf; right?
                                          right?· But -- but                     12 AA· · · · · · ·Yes.
                                                                                                   Yes.
13 specifically where where the -- which places and    and how many              13 Q               They also served as an
                                                                                     Q· · · · · · ·They                    an active --
14 times, II don’t
                 don't know that.                                                14 A               Uh-huh.
                                                                                     A· · · · · · ·Uh-huh.
15 Q Q· · · · · · ·Well,         example, you
                    Well, for example,         you don’t
                                                    don't know how               15 QQ· · · · · · ·--
                                                                                                    -- active advisor?
16 far away Mr. Maas would have            have been
                                                  been from
                                                        from the spraying
                                                                   spraying of
                                                                            of   16 · · · · · · · Do you -- do you remember or do you know
17 Corexit in the Gulf?                                                          17 where the actual wellhead was that -- where it was
18 A A· · · · · · ·No,
                    No, II don’t
                           don't know that.                                      18 located when the oil was released, where Deepwater
19 Q                We’ve talked about -- or we’ve
     Q· · · · · · ·We've                             we've touched               19 Horizon sat?
20 on
20   on this, but let -- let me     me gogo back and -- and maybe                20 A              Just from what II read about it in
                                                                                     A· · · · · · ·Just                            in The
21 put some structure to this.
21                                                                               21 New York Times.
                                                                                 21
22 · · · · · · · We’re
22                We're talking about the Deepwater                              22 QQ· · · · · · ·Do
                                                                                                    Do you know how far away it was from the
23 Horizon oil
23                oil spill response efforts; correct?                           23 Mississippi Gulf Coast, for example?
24 A
24   A· · · · · · ·(Witness
                    (Witness nodsnods head.)                                     24 A· · · · · · ·No.
                                                                                 24A                No.
25 Q
25   Q· · · · · · ·And
                    And Deepwater Horizon happened in 2010;         2010;        25 QQ· · · · · · ·Do
                                                                                                    Do you know the date where there was the


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                                                                     2021
                                                                 37                                                                        39
·11 last observation of any recoverable oil on the ocean                 1 Q·
                                                                        ·1 Q · · · · · ·Do
                                                                                         Do you have any idea how many samples
 2 surface coming out of Deepwater Horizon spill?
·2                                                                       2 were taken --
                                                                        ·2
·3
 3 AA· · · · · · ·No.·
                  No. But II know it waswas a long time until           ·3 A· · · · · · ·No.
                                                                         3 A             No.
 4 it was shut down.
·4                                                                       4 Q·
                                                                        ·4               -- during the cleanup response?
                                                                           Q · · · · · ·--                           response?
 5 Q
·5                 Do you know how far below the surface of
    Q· · · · · · ·Do                                                     5A
                                                                        ·5               No.
                                                                           A· · · · · · ·No.
 6 the water where the oil was leaking?
·6                                                                       6 Q·
                                                                        ·6 Q · · · · · ·If
                                                                                         If I told you it was over 130,000
                                                                                                                         130,000
 7 A
·7                (No response.)
    A· · · · · · ·(No                                                    7 samples, would you have
                                                                        ·7                              have any reason to dis -- disagree
 8 Q
·8                 In other words, do you know how deep the
    Q· · · · · · ·In                                                     8 with
                                                                        ·8 with me?
·9
 9  ocean     was     at -- at the point of -- of where the             ·9
                                                                         9AA· · · · · · ·No.
                                                                                         No.
10 wellhead broke?                                                                        Did you
                                                                           Q· · · · · · ·Did
                                                                        10 Q                    you look atat any of those 130,000
11 A
11                 No.
     A· · · · · · ·No.                                                  11 samples of water or air in formulating your opinion
                                                                        11                                                           opinion
12 Q·Q · · · · · ·IfIf I told you it was about a mile deep,             12 for this case?
     would you have any reason to disagree
13 would                                      disagree with me about    13
                                                                        13AA· · · · · · ·No.
                                                                                          No.
14 that?
     that?                                                                                Were you aware that that sampling
                                                                           Q· · · · · · ·Were
                                                                        14 Q
15
15A  A· · · · · · ·No.
                   No.                                                  15 information, the results from both       both the air and water
16 Q·Q · · · · · ·You
                   You know what OSHA is;       is; correct?            16 testing, was publicly available, that it existed in
17 A               Yeah.
     A· · · · · · ·Yeah.                                                17 the public domain?
18 Q·Q · · · · · ·And
                    And you know what NIOSH is?                            A· · · · · · ·It's
                                                                        18 A                   possible.· But, yes,
                                                                                          Its possible.         yes, II think
                                                                                                                        think it
19 A A· · · · · · ·Uh-huh.
                   Uh-huh.                                                 came; but it was
                                                                        19 came;              was difficult to get initially.·
                                                                                                                   initially. It was
                                                                                                                                 was a
20 Q·               Did you know that both OSHA and NIOSH
     Q · · · · · ·Did                                                   20 lot of -- well, we couldn’t
                                                                                                  couldn't find any
                                                                                                                 any information on
21
21 conducted testing for        for levels of Corexit and other         21
                                                                        21 what Corexit contained.·
                                                                                               contained. And
                                                                                                            And we tried very hard to
22 chemicals that may have been          been present in  in the Gulf      find that,
                                                                        22 find   that, but they wouldn't
                                                                                                    wouldn’t tell us.
                                                                                                                  us.
23 during the cleanup?                                                                    And you
                                                                           Q· · · · · · ·And
                                                                        23 Q                     you said "initially."
                                                                                                            "initially."
24 A               Do II know for
     A· · · · · · ·Do            for sure they did it?·
                                                    it? I'm
                                                        I’m --          24 · · · · · · · What time frame were you     you looking at --
25 I'm
     I’m assuming they    they did it because they were involved in        A· · · · · · ·We
                                                                        25 A             We were --

                                                                 38                                                                        40
·11 it, but II -- II don't
                     don’t know.                                        ·1 Q· · · · · · ·--
                                                                         1 Q               -- it when it was hard?
                                                                                                                 hard?
 2 Q·
·2  Q · · · · · ·Have
                    Have you ever examined any of the data              ·2 A· · · · · · ·We
                                                                         2 A               We were working in -- on this in 2010
·3  from the sampling that either OSHA --
 3 from                                                                 ·3        2011.· II think 2011
                                                                         3 and 2011.                  2011 more than 2010.
                                                                                                                         2010.· And
                                                                                                                                 And at that
·4
 4 AA· · · · · · ·No.
                   No.                                                  ·4 time,   I  couldn't
                                                                         4 time, I couldn’t        get any  information  on  the analysis
 5 Q·
·5  Q · · · · · ·-- -- or NIOSH
                          NIOSH did?                                     5 of Corexit.
                                                                        ·5    Corexit.
·6
 6A A· · · · · · ·No.
                   No.                                                  ·6 Q· · · · · · ·Have
                                                                         6 Q               Have you you looked
                                                                                                         looked since --
 7 Q·
·7  Q · · · · · ·YouYou haven't
                          haven’t analyzed any of those                 ·7 A· · · · · · ·Nalcor.·
                                                                         7 A               Nalcor. II believe is some company
 8 results from
·8              from the sampling
                            sampling or testing
                                         testing data that they          8 called Nalcor.
                                                                        ·8            Nalcor.
 9 performed?
·9                                                                      ·9 Q· · · · · · ·Have
                                                                         9 Q               Have you you looked
                                                                                                         looked for the sample data in    in
10 A A· · · · · · ·No.
                     No.                                                10 the last five years?
11
11 Q                 Were you aware that BP also conducted
     Q· · · · · · ·Were                             conducted           11 A
                                                                        11  A· · · · · · ·II have
                                                                                              have -- I'm
                                                                                                       I’m not working in that --
12 air and water sampling during    during the cleanup efforts?         12 exactly in that field right now.·  now. I'm
                                                                                                                    I’m not working
                                                                                                                             working with
13 A A· · · · · · ·II would hope so.
                                  so.· Yeah.                            13 Corexit right now.
14 Q                 Did you
     Q· · · · · · ·Did    you ever examine any of the BP                14 Q·
                                                                            Q · · · · · ·We              talked about
                                                                                            We -- we talked      about -- I think I
15 sampling results?                                                    15 actually asked you a question about exposure        exposure limits.
16
16A  A· · · · · · ·No.
                     No.                                                16 And -- and so let me -- let me go back to that for a
17 Q                 Were you aware that the U.S.
     Q· · · · · · ·Were                        U.S. Coast Guard         17 second.
18 also was responsible for taking sampling and testing     testing     18 · · · · · · · Do you -- do you   you know what an   an
19 data during the cleanup response?                                    19 occupational exposure limit is --
20A
20 A· · · · · · ·No. No.                                                20 AA· · · · · · ·II do.·
                                                                                              do. Yes.
21 Q
21   Q· · · · · · ·Did    you ever examine any of the U.S.
                     Did you                                            21
                                                                        21 QQ·  · ·  · · ·  --
                                                                                           ·--  an OEL?
22 Coast Guard --                                                       22 AA· · · · · · ·Yes.
                                                                                           Yes.
23 A
23   A· · · · · · ·No.
                     No.                                                23 Q·
                                                                            Q · · · · · ·AndAnd -- and what is that?
24 Q
24   Q· · · · · · ·---- data?                                           24 A                It’s the limit that you will get damage,
                                                                            A· · · · · · ·It's
25 A
25   A· · · · · · ·Sorry.·
                     Sorry. No.
                            No.                                         25 the upper limit of what you would get damage.     damage.


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                                                                      2021
                                                                   41
                                                                   41                                                                      43
 1 Q·
·1 Q · · · · · ·And
                 And do you
                          you know what the OEL is for                  1 and REL’s
                                                                       ·1        REL's established for Corexit, would you agree
 2 Corexit?
·2                                                                     ·2 with me that there is a level of Corexit
                                                                        2 with                                         Corexit upon whichwhich
 3A
·3               No.
   A· · · · · · ·No.                                                   ·3
                                                                        3 harm      should       not occur?
 4 Q
·4 Q· · · · · ·  Are you familiar with the term
                ·Are                                                    4 · · · · · · · MR.
                                                                       ·4                      BURGER: Object to the form.
                                                                                        MR. BURGER:·                           form.
 5 "permissible exposure limit," PEL?
·5                                                                      5 A
                                                                       ·5                No.
                                                                          A· · · · · · ·No.
 6 A
·6               Yeah.
   A· · · · · · ·Yeah.                                                 ·6
                                                                        6 Q· · · · · · ·You
                                                                                         You would not agree with me?
 7 Q·
·7 Q · · · · · ·And
                 And what is a PEL?                                    ·7 A· · · · · · ·No.
                                                                        7 A              No.
·8 A· · · · · · ·Is
 8 A                                 you probably
                 Is the amount where you                                8 Q· · · · · · ·So
                                                                       ·8                 So you think any level is harmful?
 9 wouldn’t
·9 wouldn't get damage.                                                ·9 A·
                                                                        9 A   · · · · · ·I
                                                                                         I think it depends on wherewhere it lands.
10 Q               Okay. What about a recommended exposure
   Q· · · · · · ·Okay.·                                                                    Okay. And that’s
                                                                       10 Q· · · · · · ·Okay.·             that's based on what?
11 limit?· Are you
11 limit?            you aware of what a recommended exposure          11 · · · · · · · What -- what -- what are you
                                                                       11                                                 you --
12 limit is?                                                           12 AA· · · · · · ·Like
                                                                                          Like II said, if you get soap in your
13 · · · · · · · Have you you ever heard of an REL?                    13 eye -- it'sits the same analogy that if you     you get soap in
14A
14                No.
   A· · · · · · ·No.                                                   14 your eyes,
                                                                                   eyes, then it doesn’t
                                                                                                     doesn't -- it's
                                                                                                                 it’s going to burn.
                                                                                                                                 burn.· You
                                                                                                                                        You
   Q· · · · · · ·Is
15 Q               Is it fair to say
                                  say that you do not know             15 get conjunctivitis and the eye      eye is red.
                                                                                                                       red.· But
                                                                                                                              But if you get
16 the PEL's
          PEL’s or the REL's REL’s for Corexit?
                                         Corexit?                      16 soap on the skin, it’s     it's perfectly okay.
                                                                                                                     okay.
17 A              No, II don’t.
   A· · · · · · ·No,       don't.                                      17 Q·
                                                                           Q · · · · · ·Okay.·
                                                                                           Okay. So for you, it's   it’s more important
   Q· · · · · · ·And
18 Q               And you don'tdon’t know asas we sit here today      18 to know pathway of exposure than              than limit of exposure?
19 whether
   whether or    or not Mr. Maas would have encountered Corexit 19 A       A· · · · · · ·Location
                                                                                          Location and, yes, yes, pathway.
20
20 at any level that exceeded the OEP, PEL,                 REL’s that
                                                   PEL, or REL's       20 Q·
                                                                           Q · · · · · ·Do Do youyou have
                                                                                                      have any scientific evidence as
21
21 are   --  exist?                                                    21
                                                                       21 to the pathway of exposure for Mr. Maas?            Maas?
22                     Burger: Object to the form.
22 · · · · · · · Mr. Burger:·                                          22 AA· · · · · · ·II -- II didn’t
                                                                                                  didn't examine him.
                                                                                                                    him.· II don't
                                                                                                                             don’t know
23
23 A
   A· · · · · · ·II -- II can't
                          can’t quantitate
                                quantitate how much he was
                                                         was           23 how it was.
24 exposed to.
24                                                                     24 · · · · · · · MR. JARVIS:
                                                                                                 JARVIS:· By the way,way, Dr. Anthony,
                                                                                                                                 Anthony, my
25                 Okay. Did
   Q· · · · · · ·Okay.·
25 Q                         Did you also -- or were
                                                 were you also         25 partner was remiss in telling you we run these

                                                                   42                                                                      44
 1 aware that OSHA has limits to occupational exposure to
·1                                                                      ·1
                                                                         1 depositions according to the schedule of the witness.
 2 certain substances?
·2                                                                      ·2
                                                                         2 So ifif at any point inin time you feel like
                                                                                                                   like you
                                                                                                                        you need a
 3 A
·3               Yes, they do.
   A· · · · · · ·Yes,         do.· Yes.
                                   Yes.                                 ·3
                                                                         3 break --
 4 Q·
·4 Q · · · · · ·Do
                 Do youyou know whether or not OSHA's OSHA’s limits     ·4
                                                                         4 · · · · · · · THE WITNESS:
                                                                                              WITNESS:· Okay.
·5
 5 -- or  do   you     know   what  OSHA's
                                    OSHA’s    limit is -- OSHA's
                                                          OSHA’s         5 · · · · · · · MR.
                                                                        ·5               MR. JARVIS:·
                                                                                              JARVIS: -- you know, then you tell
 6 limits were as it -- as
·6                            as it pertains
                                    pertains to Corexit?                ·6
                                                                         6 Mr. McLeod.·
                                                                                 McLeod. And remember who      who the gentleman is.·
                                                                                                                                   is. And
 7A
·7               No.
   A· · · · · · ·No.                                                    ·7
                                                                         7 I'm
                                                                           I’m from Tennessee, not from Mississippi.
 8 Q·
·8 Q · · · · · ·As
                 As a pulmonologist, do you     you have any             8 · · · · · · · THE WITNESS:
                                                                        ·8                    WITNESS:· All right.
                                                                                                              right.
 9 ability to calculate what the dose would be in
·9                                                                      ·9
                                                                         9 · · · · · · · MR.
                                                                                         MR. JARVIS:·
                                                                                              JARVIS: II hope all of that is on
10 relation to an EOL,   EOL, a PEL, or an REL?                         10 the record.
11 A
11  A· · · · · · ·II can do that in -- in
                     can                      lab, but II
                                       in the lab,                      11 · · · · · · · MR. MCLEOD:·
                                                                        11                     MCLEOD: Thanks,
                                                                                                           Thanks, partner.
12 can’t
    can't tell you
                 you what this
                             this one
                                  one particular person was             12 · · · · · · · MR. JARVIS:
                                                                                               JARVIS:· You’re
                                                                                                         You're welcome.
                                                                                                                welcome.
13 exposed
    exposed to.  to.                                                    13 Q· · · · · · ·(By
                                                                                          (By Mr.
                                                                                                Mr. McLeod)·
                                                                                                    McLeod) Dr. Anthony,
                                                                                                                   Anthony, would
                                                                                                                              would you
                                                                                                                                     you
14 Q               Okay. And I guess if you
    Q· · · · · · ·Okay.·                           haven’t looked
                                             you haven't   looked       14 like to take a break, or are you good to go?
15 at any of   of the sampling data, you’reyou're not aware that all    15 AA· · · · · · ·I'm
                                                                                          I’m good.
16 of the sampling data showed up as below the acceptable               16 Q· · · · · · ·II want to turn to your expert report if
17 exposure limits or as       as nondetects?                           17 you -- if you would.
18 AA· · · · · · ·II didn’t
                     didn't understand the question.                    18 · · · · · · · You are a professor of medicine
                                                                                                                     medicine at
                                                                                                                               at UAB;
                                                                                                                                  UAB;
19 Q               Well, do you know -- let me -- let me
    Q· · · · · · ·Well,                                                 19 correct?
20
20 start over.
            over.                                                       20 AA· · · · · · ·Yes.
                                                                                          Yes.
21 · · · · · · · Since you
21                        you haven't
                               haven’t examined the sampling            21                And your field is
                                                                        21 Q· · · · · · ·And               is pulmonology?
22
22 data, youyou don'tdon’t know what the results
                                             results of that sampling   22 AA· · · · · · ·Yes.
                                                                                          Yes.
23
23 data showed; is that correct?  correct?                              23 Q· · · · · · ·And
                                                                                          And that also stretches into critical
24 A
24  A· · · · · · ·Uh-huh.·
                   Uh-huh. True.                                        24 care if I understood you correctly?
25 Q
25  Q· · · · · · ·Okay.·
                   Okay. Since there are OEL's OEL’s and PEL's
                                                           PEL’s        25 AA· · · · · · ·Uh-huh.·
                                                                                          Uh-huh. Yes.


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                                                                     45                                                                           47
·11 Q·
    Q · · · · · ·You   You have an active medical license?                   1 or other airways disease.
                                                                            ·1
·2
 2A A· · · · · · ·Yes. Yes.                                                 ·2
                                                                             2 Q·
                                                                               Q · · · · · ·We      talked about the asbestos
                                                                                                We talked                 asbestos case that
 3 Q·
·3  Q · · · · · ·Are   Are you licensed
                                  licensed to practice medicine in
                                                                in          ·3 you
                                                                             3 you     testified    in, and
                                                                                                        and  you   thought    it may have
                                                                                                                                       have been two
 4 Tennessee?
·4  Tennessee?                                                               4 or three
                                                                            ·4      three years ago.
 5A
·5  A· · · · · · ·No.  No.                                                  ·5
                                                                             5 · · · · · · · I'm
                                                                                              I’m -- I'm
                                                                                                     I’m looking at --
 6 Q·
·6  Q · · · · · ·Are              licensed to practice medicine in
                       Are you licensed                         in          ·6 A· · · · · · ·More
                                                                             6 A                                  years ago.
                                                                                                More than three years      ago.
·7
 7 any other state      state other than
                                      than Alabama?                         ·7
                                                                             7 Q·
                                                                               Q · · · · · ·Yeah.·
                                                                                                Yeah. I'm
                                                                                                        I’m looking at paragraph
                                                                                                                           paragraph three.
 8A
·8  A· · · · · · ·Yes. Yes.                                                  8 A
                                                                            ·8                  Uh-huh.
                                                                               A· · · · · · ·Uh-huh.
·9
 9 QQ· ·  ·  ·  ·  ·  ·And
                       And what states are those?                           ·9 Q·
                                                                             9 Q    · · · · ·  ·And
                                                                                                And you say that you  you -- you haven’t
                                                                                                                                    haven't done
10 A                    Florida, Indiana,
    A· · · · · · ·Florida,       Indiana, and
                                          and Colorado.
                                              Colorado.                     10 any testimony in litigation in          in the last
                                                                                                                              last four years.
                                                                                                                                           years.
11 Q
11  Q· · · · · · ·Are   Are you
                             you currently treating any patients            11 · · · · · · · That -- that's
                                                                            11                          that’s still
                                                                                                               still a correct
12 for asthma?                                                              12 statement?
13 AA· · · · · · ·Yes. Yes.                                                 13 AA· · · · · · ·Yeah.·
                                                                                                Yeah. Probably.·     Yeah.· It's
                                                                                                         Probably. Yeah.      Its been a
14 Q·
    Q   ·  ·  ·  ·  ·   Do you
                       ·Do  you know how many patients you you have         14 long time that II saw that.
            you're currently treating for asthma?
15 that you’re                                                              15 QQ· · · · · · ·And
                                                                                                And I know you testified in           in what
                                                                                                                                in -- in
16 AA· · · · · · ·From  From the top of my head?·
                                            head? Gosh, II mean,            16 you thought was       was an asbestos case, case, and you you thought
17 II don’t
      don't know.·know. 30, 40.  40.                                        17 there may have been one more.
18 QQ· · · · · · ·Have  Have you -- or are you currently
                                                 currently                  18 · · · · · · · But you can'tcan’t recall what
                                                                                                                         what that type of
19 treating any patient that has asthma as a result from                    19 case was; is that -- is that right?    right?
20 exposure to Corexit?                                                     20 A                Yeah. II don't
                                                                                A· · · · · · ·Yeah.·      don’t remember that one. one.
21A
21 A· · · · · · ·No.    No.                                                 21 Q
                                                                            21  Q· · · · · · ·Okay.·
                                                                                                 Okay. Do you remember when you were
22 QQ· · · · · · ·Have  Have you ever treated any person for                22 contacted by Mr. Burger to be an expert in                in this case?
23 asthma that had it as a result of exposure to Corexit?                   23 AA· · · · · · ·II mean, a couple of months or three
24 AA· · · · · · ·Two.·Two. Two patients.                                   24 months ago maybe.   maybe.
25 QQ· · · · · · ·Two   Two patients?                                       25 QQ· · · · · · ·And
                                                                                                And --

                                                                     46                                                                           48
 1 A
·1               At -- at UAB.
   A· · · · · · ·At         UAB.· Yeah.
                                   Yeah.· But this is long                  ·11 A·
                                                                                A · · · · · ·II can’t
                                                                                                can't tell you when II did.
                                                                                                                         did.· II can’t
                                                                                                                                  can't
·2
 2 time ago, you  you know,
                       know, at that time frame.
                                              frame.                        ·2
                                                                             2 remember exactly.
·3 Q· · · · · · ·That
 3 Q              That was -- are you sayingsaying back in --               ·3
                                                                             3 Q·
                                                                                Q · · · · · ·DoDo you recall
                                                                                                         recall what specifically he asked
 4 A
·4               2000 --
   A· · · · · · ·2000                                                        4 you to do in this case?
                                                                            ·4
·5 Q· · · · · · ·--
 5 Q                 2010?
                  --2010?                                                   ·5
                                                                             5 A·
                                                                                A · · · · · ·To
                                                                                             To provide -- to provide testimony on
·6 A· · · · · · ·Yeah.
 6 A             Yeah.                                                      ·6
                                                                             6 the research work that I've     I’ve done related to Corexit
 7 Q
·7                Your report in paragraph two talks about
   Q· · · · · · ·Your                                                        7 and lung disease,
                                                                            ·7               disease, on the research side of things
·8 you've been involved in pulmonary research for more
 8 you’ve                                                                    8 predominantly.
                                                                            ·8  predominantly.
·9
 9 than 20 years; is that correct?                                          ·9
                                                                             9 Q · · · · · ·And
                                                                                Q·                  you're going to offer an opinion on
                                                                                              And you’re
10 A               30 years now.
    A· · · · · · ·30                  I’m an
                               now.· I'm  an old woman.
                                                 woman.· Yes.               10 both general and     and specific causation in this case?
11 Q
11                 Almost 30 years?
    Q· · · · · · ·Almost                                                    11 A
                                                                            11                 I’m -- I'm
                                                                                A· · · · · · ·I'm     I’m answering your questions,
12 AA· · · · · · ·Yes.·
                   Yes. I'm    an old woman II said.
                          I’m an                 said.· Yes.                12 whatever you ask.
13 QQ· · · · · · ·And
                   And is it fair to say that that research                 13 Q·              Well, I'm
                                                                                 Q · · · · · ·Well,    I’m --
14 has not been  been focused
                         focused on asthma?                                 14 A               My goal
                                                                                A· · · · · · ·My   goal is to offer, if you want, if youyou
15 AA· · · · · · ·No.·
                   No. It's
                         Its focused on on airways disease,
                                                    disease,                15 ask me questions leading   leading up to research in -- in
16 which asthma is one of them.                                                  Corexit, II can
                                                                            16 Corexit,        can tell you what II did.
17 Q               Well, when I looked through your CV; it
    Q· · · · · · ·Well,                                                     17 Q·Q · · · · · ·Well,
                                                                                               Well, I'm
                                                                                                       I’m -- I'm
                                                                                                              I’m reading paragraph four.
18 appeared to that me that there was only one paper           paper that   18 AA· · · · · · ·Uh-huh.
                                                                                               Uh-huh.
19 you hadhad published that was specific to asthma.                        19 Q·              And it -- it says --
                                                                                 Q · · · · · ·And
20 · · · · · · · Is that not correct?                                       20 A               Or general and specific related.
                                                                                A· · · · · · ·Or
21 A
21  A· · · · · · ·II mean,
                     mean, II work on airways disease and  and my           21 Uh-huh.
                                                                            21   Uh-huh.
22 -- I have my grants on airways disease.·  disease.  And  so II           22 Q· · · · · · ·And
                                                                            22Q                And so I’m I'm -- I'm
                                                                                                                  I’m trying to understand
23 don’t
    don't know that it's   its going -- the
                                         the word
                                             word "asthma" may              23 exactly what those opinions are going to be.
24 not be in  in the
                  the title, but we look at the damage
                                                  damage done to            24 · · · · · · · So do you know what I mean when         when I say
25 the -- to the lungs and    and in leading to asthma or COPD              25 "general causation"?


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                                                                                                                                           51
 1 A
·1                Not -- I'm
   A· · · · · · ·Not     I’m trying     read. Medical
                              trying to read.·                               ·11 Q·
                                                                                 Q · · · · · ·Is Is that the only publication that you
                                                                                                                                     you
·2
 2 causation issues.·
                  issues. Yes, I can.can.· I think II can.
                                                      can.                   ·2
                                                                              2  have    authored       that deals  with
                                                                                                                   with   Corexit?
 3 Q
·3                And so you -- you think
   Q· · · · · · ·And                      think you’re
                                                  you're going
                                                            going to
                                                                   to         3 A
                                                                             ·3                There may have been some abstracts on it
                                                                                 A· · · · · · ·There
 4 be able to
·4              to offer an opinion on generalgeneral causation in            4 as well that we submitted and presented in national
                                                                             ·4                                                      national
·5
 5 this case?                                                                ·5
                                                                              5 meetings.·
                                                                                 meetings. In fact, I know, yes,  yes, there were.
·6 A· · · · · · ·Maybe
 6 A              Maybe you want to define "general" for                     ·6
                                                                              6 Q·              And when you say "abstracts," explain
                                                                                 Q · · · · · ·And
 7 me again.
·7                                                                            7 what you mean by abstracts.
                                                                             ·7
 8 Q
·8                Well, I think I'm
   Q· · · · · · ·Well,             I’m going to let you                      ·8
                                                                              8 AA· · · · · · ·II mean like presentations like you
                                                                                                                                 you give
·9
 9 define     it for me.                                                      9 a PowerPoint presentation,
                                                                             ·9                       presentation, or you
                                                                                                                        you have somebody
10 · · · · · · · What -- what do -- what do you think                        10 stand -- my student may have stood by a poster board
11 general
11  general causation means?   means?                                        11
                                                                             11 where he had      had all the data on
                                                                                                                   on the work that we did.
12 · · · · · · · MR. BURGER:
                      BURGER:· Object to      to the
                                                 the form.                   12
                                                                             12Q Q· · · · · · ·So So not published in a peer-reviewed
                                                                                                                            peer-reviewed --
13 A              General causation?
    A· · · · · · ·General    causation?· II would
                                              would assume that              13 A                Yes. Not published in a peer-reviewed
                                                                                 A· · · · · · ·Yes.·
14 it means -- in this case it means that -- that Corexit                    14 journal.
15 can
    can cause severe asthma and        and restrictive lung
                                                          lung disease       15 QQ· · · · · · ·Okay.·
                                                                                                  Okay. The only one that fits that
16 and,
    and, specifically,
           specifically, that -- that in in this particular                  16 description is the one we just       just talked about.
17 case that he was exposed exposed to to this much
                                                much andand -- and
                                                               and was       17 · · · · · · · And did I say that right,
                                                                                                                      right, by the way?
18 involved in the cleanup of crude oil, that it's       its                 18 Is it -- isis it Heme Oxygenase?
19 possible
    possible in my opinion that he could have -- his lung        lung        19 A                Heme Oxygenase.
                                                                                 A· · · · · · ·Heme
20 disease could be caused  caused by his exposure to Corexit.               20 Q                 Heme -- Heme Oxygenase.
                                                                                 Q· · · · · · ·Heme
21 Q
21  Q· · · · · · ·Where
                  Where did you get the phrase that's       that’s here      21 A
                                                                             21  A· · · · · · ·(Witness
                                                                                                 (Witness nods head.)
22 in quotation marks "severe asthma and restrictive lung                    22 Q                 Okay. I may just call that HO1.
                                                                                 Q· · · · · · ·Okay.·                           H01.
23 disease"?
    disease"?                                                                23 · · · · · · · How about that?
24 A              From the report by Dr.
    A· · · · · · ·From                    Dr. Wray.
                                               Wray.                         24 AA· · · · · · ·Fine.·    Yes.
                                                                                                 Fine. Yes.
25 QQ· · · · · · ·So
                   So that's
                      that’s not your diagnosis of                           25 QQ· · · · · · ·Other
                                                                                                  Other than the research you did  did for this

                                                                        50                                                                 52
 1 Mr. Maas.
·1                                                                    1 HO1
                                                                     ·1 H01 paper that we just mentioned,  mentioned, have you conducted
 2 · · · · · · · That is Dr. Wray’s
·2                              Wray's diagnosis of                  ·2 any other
                                                                      2 any   other research on       on Corexit?
 3 Mr. Maas;
·3        Maas; is that correct?                                      3 A
                                                                     ·3               Uh-huh.
                                                                        A· · · · · · ·Uh-huh.
 4 A
·4 A· · · · · · ·ItIt is true.                                        4 Q·
                                                                     ·4 Q · · · · · ·And
                                                                                       And it just
                                                                                                 just didn’t
                                                                                                       didn't end up in a
·5
 5 Q·
   Q · · · · · ·And
                  And -- strike that.                                ·5 peer-reviewed
                                                                      5 peer-reviewed           journal?
 6 · · · · · · · Turn to paragraph six.
·6                                      six.· You -- you
                                                     you talk        ·6 A· · · · · · ·No.·
                                                                      6 A             No. II didn't       we didn’t
                                                                                                didn’t -- we  didn't write the
 7 about some of the opinions that you're
·7                                             you’re going to have.
                                                                have. 7 paper.·
                                                                     ·7 paper. II -- I've I’ve been involved
                                                                                                      involved with somebody who was
·8 And -- and
 8 And        and one of the things
                                  things you
                                          you talk about
                                                    about is -- and   8 doing
                                                                     ·8 doing a thesis
                                                                                    thesis on it and, you know,know, getting a PhD
 9 I'm
·9 I’m going to kind of read this specifically.·
                                           specifically. On the      ·9
                                                                      9 degree on  on Corexit.·
                                                                                         Corexit. And so --
10 top of page three it says,    says, "set forth in professional
                                                     professional    10
                                                                     10 QQ· · · · · · ·ItIt just wasn't
                                                                                                  wasn’t published?
11  publications."
11 publications."                                                    11 A
                                                                     11                 It’s probably published.
                                                                         A· · · · · · ·It's              published.· They come    come out
12 · · · · · · · And
                 And I justjust want to make sure:
                                               sure:· Are those      12       in -- II don't
                                                                     12 like in         don’t know.·
                                                                                                know. You can find  find it ifif you
13   the professional
            professional publications that you cite later on         13 Google that and
                                                                     13                      and that person's
                                                                                                       person’s name comes up.
14   in your
         your report?                                                14 Q
                                                                     14                  But you’re
                                                                         Q· · · · · · ·But     you're not a coauthor on that paper?    paper?
15   A · · · · · ·Which
     A·             Which publications?·
                            publications? My publications?           15
                                                                     15 AA· · · · · · ·II was her mentor -- one of her mentors.   mentors.
16   Yes.                                                            16
                                                                     16 QQ· · · · · · ·Okay.·
                                                                                        Okay. Also in paragraph six you list
17   Q
     Q·   · · · · ·  And
                    ·And -- and  I know  that there’s
                                              there's  one           17 out the
                                                                     17        the materials
                                                                                     materials that you have reviewed, and I want
18   publication that you provided to us,      us, and I'm
                                                        I’m going to 18 to make sure that I'm
                                                                     18                             I’m -- I'm   right.
                                                                                                            I’m right.
19      I’m going to hope I pronounce this right.·
     -- I'm                                         right. Please    19 · · · · · · · Have you
                                                                     19                        you reviewed Mr. Maas’s Maas's affidavit?
20
20   correct me if I pronounce it wrong. wrong.· But "Heme           20 AA· · · · · · ·II don’t
                                                                                           don't remember.
21
21   Oxygenase 11 Protects Corexit 9500A-Induced Respiratory 21      21 QQ· · · · · · ·DoDo you remember reviewing the personal
22
22   Epithelial Injury Across Species."
     Epithelial                                                      22 profile by Mr. Maas?
23
23   · · · · · · · Is that one of the papers that you’re
                                                     you're          23 A              Was it called a personal profile,
                                                                         A· · · · · · ·Was                             profile, titled
24
24   talking about?                                                  24 a personal
                                                                           personal profile?
                                                                                           profile?
25
25   A · · · · · ·Yes.
     A·             Yes.                                             25 Q· · · · · · ·I'm
                                                                     25Q                 I’m --


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·11 A
    A· · · · · · ·II apologize.·
                       apologize. I should
                                      should know the answer             1 pre-incident patient records in
                                                                        ·1                                        in his possession, would
·2
 2  to this.·   I  don't
       this. I don’t      know    the  answer to this.
                                                   this.· II -- I may   ·2
                                                                         2 he?
·3  have -- II -- II should
 3 have                 should -- II -- paperwork that I read II        ·3 A· · · · · · ·He
                                                                         3 A             He would have had his history.·
                                                                                                                     history. And II
·4  don't know the
 4 don’t               the titles of the paperwork was such as you       4 think II remember the history,
                                                                        ·4                              history, but that’s
                                                                                                                     that's all II
·5  represented here.·
 5 represented           here. II apologize.
                                  apologize.                             5 remember.
                                                                        ·5 remember.
·6
 6 QQ· · · · · · ·Well,     this is your report.·
                    Well, this              report. I'm
                                                      I’m reading       ·6 Q· · · · · · ·Okay.·
                                                                         6 Q             Okay. So when we’re  we're talking about
·7
 7 from your report.                                                    ·7
                                                                         7 pre-incident patient medical  medical records here, we’re  we're
·8
 8A A· · · · · · ·Yes.
                    Yes.                                                 8 really talking about
                                                                        ·8                        about the history that was in    in
·9
 9 QQ· · · · · · ·II haven't
                       haven’t represented anything.                    ·9 Dr. Wray’s
                                                                         9 Dr.  Wray's --
10 A A· · · · · · ·Right.
                     Right.                                             10 AA· · · · · · ·Yes.
                                                                                          Yes.
11
11 Q·Q · · · · · ·I'mI’m -- I'm
                              I’m using your report as my               11 Q·
                                                                        11  Q · · · · · ·-- -- records?
12 guide.                                                               12 AA· · · · · · ·Yes.
                                                                                          Yes.
13 A A· · · · · · ·Yes.·
                     Yes. II understand.
                               understand.                              13 Q·
                                                                            Q · · · · · ·What
                                                                                           What about statements by Mr. Maas's      Maass
14 Q·Q  · · · ·   · ·So
                     So   you    don't recall
                                 don’t  recall if you read a            14 coworkers?
15 personal
     personal profile executed by Mr.           Mr. Maas?               15 · · · · · · · Do you remember reviewing statements by
16 A A· · · · · · ·II don’t.
                       don't.                                           16 Mr. Maas's
                                                                                  Maass coworkers?
17 Q·Q · · · · · ·Do      you recall if you reviewed the
                     Do you                                             17 AA· · · · · · ·II remember -- yes, II do
                                                                                                                  do -- there are --
18 interrogatory responses and document production                      18 yes, II dodo remember statements.
                                                                                                       statements.· They were also soaked
19 requests from      from Mr.    Maas?
                             Mr. Maas?                                  19 in
                                                                            in -- in the Corexit.
20
20 A A· · · · ·  ·  ·I don't
                     I don’t   remember    that.
                                           that.                        20 Q·
                                                                            Q · · · · · ·Do      you remember the names of those
                                                                                            Do you
21 Q·
21   Q · · · · · ·Do      you remember if you reviewed these
                     Do you                                             21
                                                                        21 coworkers?
22 medical records that are listed?
22                                                                      22 AA· · · · · · ·Good
                                                                                           Good grief, no.
23 A
23   A· · · · · · ·Yes,
                     Yes, I do.
                              do.                                       23 Q·
                                                                            Q · · · · · ·Do      you remember where you got those
                                                                                            Do you
24 Q·
24   Q · · · · · ·YouYou reviewed the records themselves?
                                                        themselves?     24 statements from                Maass coworkers?
                                                                                                from Mr. Maas's
25 A A· · · · · · ·That
                     That   were   provided   to me.·  Yes.
                                                 me. Yes.               25 AA· · · · · · ·It
                                                                                           It was in one of the -- one of these

                                                                 54                                                                    56
    Q· · · · · · ·Okay.·
·11 Q              Okay. AndAnd do you have a specific                   1 folders
                                                                        ·1 folders.
 2 recollection of
·2                      of reviewing records
                                        records from the Frist           2 Q·
                                                                        ·2 Q · · · · · ·AndAnd the reason I'm   I’m asking is we’ve
                                                                                                                               we've not
·3
 3 Clinic?                                                               3 seen these statements --
                                                                        ·3
·4
 4A A· · · · · · ·Frist
                  Frist Clinic?·   Dr. Wray's
                         Clinic? Dr.          records.· Yes.
                                       Wray’s records.  Yes.            ·4 A· · · · · · ·Oh.
                                                                         4 A               Oh
·5
 5 QQ· · · · · · ·What
                   What about THC Family Care?                           5 Q·
                                                                        ·5 Q · · · · · ·-- -- from
                                                                                               from Mr. Maass
                                                                                                           Maas's coworkers.
                                                                                                                   coworkers.
·6
 6 AA· · · · · · ·II think there was one.
                                       one.· Yes,
                                             Yes, there is               6 · · · · · · · So I -- I'm
                                                                        ·6                          I’m trying to figure out if this
·7  one.· Uh-huh.
 7 one.                                                                  7 is what you
                                                                        ·7               you reviewed so that I can   can make sure that
·8
 8 QQ· · · · · · ·Cookeville
                   Cookeville Regional Medical Group?                    8 I've
                                                                        ·8 I’ve --
·9
 9 AA· · · · · · ·Yes.·
                  Yes. II think so.
                                  so.· Yes.                             ·9 A· · · · · · ·No.·
                                                                         9 A               No. I'mI’m saying --
10 Q·Q · · · · · ·Okay.·     You also say you
                     Okay. You               you reviewed pre-          10 Q·
                                                                            Q    · · · · · ·--
                                                                                            --  reviewed    them as well.
                                                                                                                      well.
11 and post-incident patient medical records.
11                                                                      11 A
                                                                        11                 Oh, yeah, II understand what you’re
                                                                            A· · · · · · ·Oh,                                you're
12 · · · · · · · What -- what pre-incident patientpatient                   saying.· I think it was in the Dr.
                                                                        12 saying.                                Dr. Wray's
                                                                                                                      Wray’s reports that
13 medical records did        did you
                                  you review?                           13 he had comments from the -- his          his coworkers.
14 AA· · · · · · ·Just
                    Just the stuff -- information
                                      information that was              14 Q· · · · · · ·YouYou don’t
                                                                                                    don't have those statements?
15 provided by Dr.     Dr. Wray before and after of his history         15 AA· · · · · · ·No,
                                                                                            No, I don’t.
                                                                                                    don't.
16 and physical.                                                        16 Q· · · · · · ·AndAnd you didn't
                                                                                                    you  didn’t produce those statements
17 Q·Q · · · · · ·Okay.·
                     Okay. So let me me make sure
                                                sure I understand.
                                                       understand.      17 as
                                                                            as part of your  your expert report; is that correct?
18 · · · · · · · So Dr. Wray first saw Mr. Maas in what    what         18 AA· · · · · · ·No.
                                                                                            No.
    year?
19 year?                                                                19 Q· · · · · · ·Number
                                                                                            Number eight says, "personal
                                                                                                                      "personal research
20 · · · · · · · Do you recall?                                         20 data files."
                                                                                     files."· And I want to understand what that is.
21 A· · · · · · ·No.
21A                 No.                                                 21
                                                                        21 · · · · · · · What personal research data files did       did
22 Q·Q · · · · · ·Well,    I'm going to represent to you
                    Well, I’m                           you that            you review?
                                                                        22 you
23 it was after 2015.                                                   23 AA· · · · · · ·InIn number eight?
24 AA· · · · · · ·Okay.·     Yes.
                    Okay. Yes.                                          24 Q· · · · · · ·Yes.·
                                                                                            Yes. On -- on the top of page four it
25 Q·Q · · · · · ·And
                    And so Dr. Wray wouldn’t
                                          wouldn't have had any         25 says you   you reviewed "My personal research data files."


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 1 A
·1               Oh, "utilized in the published research
   A· · · · · · ·Oh,                                                        ·1 Q· · · · · · ·Paragraph      seven you state, I off -- "I
                                                                                              Paragraph seven
·2
 2 results inin articles."
                 articles."· Yeah.
                             Yeah.· II know my -- my data.                   2 offer no formal diagnosis
                                                                            ·2                        diagnosis of Mr.     Maas, and
                                                                                                                     Mr. Maas,     and limit my
 3 Yeah.
·3                                                                           3 observations to supporting the consistency of
                                                                            ·3
 4Q
·4               And do you recall
   Q· · · · · · ·And            recall what -- what those                   ·4 Dr. Wray’s
                                                                             4 Dr.   Wray's diagnosis to my research."
                                                                                                                    research."
·5
 5 personal research data files consisted of?                                5 · · · · · · · Can you tell
                                                                            ·5                          tell me what
                                                                                                                 what that sentence
 6 A
·6               Yes, of course.
   A· · · · · · ·Yes,     course.                                           ·6
                                                                             6 means.
 7 Q·
·7 Q · · · · · ·And
                 And what
                       what were they?                                      ·7 A· · · · · · ·Well,
                                                                             7 A             Well, it means that II -- II accept
·8 A· · · · · · ·They're
 8 A             They’re -- they’re
                             they're all the data done by                   ·8
                                                                             8 Dr.   Wray’s diagnosis and -- because II realize
                                                                                     Wray's                                     realize that it
·9
 9 the  student,    how   many   times hehe did the same research           ·9 is consistent with what we found in my research book.
                                                                             9 is                                                           book.
10 experiment and   and how many times he     he did
                                                 did it and
                                                        and the             10 Q·
                                                                                Q · · · · · ·So     you're -- you’re
                                                                                               So you’re      you're not offering a
11 results of each data as well as
11                                      as we did get the                   11 formal diagnosis
                                                                            11              diagnosis of Mr.     Maas.
                                                                                                             Mr. Maas.
12 material safety data sheet for Corexit.                                  12 · · · · · · · You’re
                                                                                             You're going to accept Dr.        Wray's
                                                                                                                           Dr. Wray’s
13 Q              Okay. So
    Q· · · · · · ·Okay.·   So -- and, again, you didn’t
                                                     didn't                 13 diagnosis?
14 provide
    provide any of that personal research  research data files with         14 AA· · · · · · ·Based
                                                                                              Based on Dr. Wray’s
                                                                                                               Wray's diagnosis.
                                                                                                                      diagnosis.· I didn’t
                                                                                                                                       didn't
15 your expert report;         and so I'm
                      report; and        I’m trying to understand           15 -- II can't
                                                                                     can’t diagnose Mr. Maas  Maas without having examined
                                                                                                                                       examined
16 what all that you reviewed in order to formulate your                    16 him
                                                                                him or taken a history from him personally.
                                                                                                                        personally.
17 opinions.
    opinions.· And I understand you -- you reviewed     reviewed about      17 Q·
                                                                                Q · · · · · ·And
                                                                                               And -- and what does it mean "limit your
18 ten studies.·
         studies. I think that’s
                               that's the right number.·
                                                  number. And               18 observations to supporting the consistency of
19 you reviewed
          reviewed material safety data sheet as part of        of          19 Dr. Wray’s
                                                                                      Wray's diagnosis
                                                                                                  diagnosis to my research"?
20 that ten.·
          ten. I'mI’m trying to figure out what else you                    20 AA· · · · · · ·II guess what
                                                                                                       what that means is that Dr. Wray
21 reviewed
21  reviewed that I don'tdon’t have a copy of.   of.                        21
                                                                            21 suggests that he has asthma,  asthma, and
                                                                                                                     and he has -- and and airways
22 A              Probably nothing
    A· · · · · · ·Probably   nothing else.
                                       else.                                22 disease secondary to exposure exposure to Corexit.
                                                                                                                           Corexit.· That’s
                                                                                                                                      That's what
23 Q              Okay. So
    Q· · · · · · ·Okay.·   So I -- I don't
                                     don’t have
                                            have a copy of                  23 II believe that Dr. Wray's
                                                                                                       Wray’s diagnosis is  is coming to.
                                                                                                                                        to.
24 the statements that Mr. Maass     Maas's coworkers provided, and         24 And -- II mean, and I believe that some of the research
     don't have a copy of your pre -- your personal
25 I don’t                                                                  25 that II have done in the past suggests that that is a

                                                                     58                                                                       60
·11 research data files.                                                    ·1 possibility.
                                                                             1 possibility.
·2
 2 AA· · · · · · ·Okay.
                  Okay.                                                     ·2                In paragraph
                                                                               Q· · · · · · ·In
                                                                             2 Q                 paragraph eight, that last sentence
·3
 3 QQ· · · · · · ·Do   you -- do you have those where you
                  Do you                                        you         ·3 in the paragraph --
                                                                             3 in
·4  can
 4 can    produce      those   to us,   the  personal    research  data     ·4 A· · · · · · ·Uh-huh.
                                                                             4 A             Uh-huh.
 5 files?
·5                                                                           5 Q
                                                                            ·5               And -- and by the way,
                                                                               Q· · · · · · ·And                  way, paragraph eight
·6
 6 AA· · · · · · ·It's
                  Its been so long I'd     have to -- II don't
                                       I’d have          don’t              ·6 is -- these are the studies or the -- or the materials
                                                                             6 is
·7
 7 know where if -- II couldcould find
                                   find them
                                         them.                              ·7        you reviewed
                                                                             7 that you      reviewed inin order to formulate your opinion;
                                                                                                                                         opinion;
 8 Q
·8                Okay. Well, I would ask that you
    Q· · · · · · ·Okay.·                                 you do              8 is
                                                                            ·8 is that correct?
                                                                                          correct?
·9
 9 that and provide those to Mr. Burger for him            him to give      ·9 A· · · · · · ·These
                                                                             9 A             These are -- these are ones
                                                                                                                      ones that I'veI’ve
10 to us.                                                                   10 read in the past.·     Yes.
                                                                                                past. Yes.
11 · · · · · · · Is it possible that those personal
11                                               personal                   11 Q·
                                                                            11                 Okay. And you produced these reliance
                                                                                Q · · · · · ·Okay.·
12 research data files consist of the ten studies that                      12 materials to us;   us; correct?
13 you
     you did produce to us?                                                 13 AA· · · · · · ·Uh-huh.
                                                                                              Uh-huh.
14 A               Not the -- well, personal data research
     A· · · · · · ·Not                                                      14 Q·
                                                                                Q · · · · · ·And
                                                                                               And I believe
                                                                                                     believe there are ten.·
                                                                                                                         ten. One, two,
15 related
     related to my -- my publication.
                               publication.· That’s
                                              That's what they              15 three, four, five, six,six, seven, eight, nine, ten.
16 would
     would -- there are thousands of pictures and thousand                  16 · · · · · · · There are ten of these, A through J;
17 -- just -- just a huge number of stuff.                                  17 correct?
18 Q· · · · · · ·Okay.·
                    Okay. Maybe I can ask it this  this way:
                                                          way:              18 A              Uh-huh
                                                                                A· · · · · · ·Uh-huh.
19 What
     What -- in  in those personal
                             personal research data files that you          19 Q·
                                                                                Q · · · · · ·You
                                                                                               You say -- there’s
                                                                                                           there's the sentence right
20 reviewed,
     reviewed, what part of that information did you use in            in   20 before you list the publications, and I’ll       I'll read it for
21 formulating your opinion in this case?
21                                                                          21
                                                                            21 you,
                                                                                you, and
                                                                                       and then we can talk about it.    it.· It says, "Those
22 A A· · · · · · ·The
                   The work done for  for my paper,
                                              paper, for my                 22 publications include, but are not limited  limited to, the
23 publication, and the -- an     an overview of some of these these        23 following," and   and then you list out the ten.
24 papers here.·here. I've
                        I’ve read some
                                   some of them.·
                                              them. II know some of         24 · · · · · · · And I guess I want to know what other
25 them well.                                                               25 materials did you rely upon in formulating
                                                                                                                       formulating your


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                                                                 61                                                                      63
·11 opinion that did   did not make it on this list and were not        ·1
                                                                         1 to --
 2 produced to us?
·2                                                                       2 Q
                                                                        ·2                Can you --
                                                                           Q· · · · · · ·Can
·3
 3 AA· · · · · · ·Well,
                  Well, part of it is
                                   is just my continued                 ·3 A· · · · · · ·--
                                                                         3 A              -- respiratory epithelium and   and found
                                                                                                                              found
·4
 4 research in the past with how toxins and       and such
                                                       such as          ·4
                                                                         4 damage to the respiratory epithelium.epithelium.
 5 Corexit can
·5             can affect respiratory epithelium.                        5 Q
                                                                        ·5                Can you cite for me any study that
                                                                           Q· · · · · · ·Can
·6
 6 Q·
    Q · · · · · ·From
                  From your HO1  H01 study?                             ·6 provides the dose level required to cause respiratory
                                                                         6 provides
·7
 7 AA· · · · · · ·The
                  The HO1
                        H01 is part of the work that we  we did
                                                            did         ·7
                                                                         7 damage in a human?
·8
 8  on  Corexit.·
        Corexit.     We   did lots of  research.·
                                       research.   And  it              ·8 A· · · · · · ·We
                                                                         8 A              We use
                                                                                               use human airway epithelium in vitro.
·9
 9 continued in    in the --
                          -- my being a mentor to somebody who   who    ·9
                                                                         9 It would be numbernumber eight.
                                                                                                        eight.· II think we had doses in
10 was doing a -- who did her PhD on this        this work.
                                                      work.             10 that -- in that paper.
                                                                                                paper.· 50 to 100 micrograms.
                                                                                                                       micrograms.
11
11 Q               But none of that other research has
    Q· · · · · · ·But                                                   11
                                                                        11 Q·              And you’re
                                                                            Q · · · · · ·And      you're talking about your H01    HO1 study?
12 been
    been --                                                             12 AA· · · · · · ·Yes,
                                                                                           Yes, sir.
13 AA· · · · · · ·Published.
                   Published.                                           13 Q·
                                                                            Q · · · · · ·And
                                                                                           And that's
                                                                                                  that’s an in     vitro study;
                                                                                                               in vitro  study; correct?
14 QQ· · · · · · ·--
                   -- published?                                        14 AA· · · · · · ·It's
                                                                                           Its  an  in vitro  study
                                                                                                             study on on human
15 AA· · · · · · ·Right.
                   Right.                                               15 respiratory epithelium.
                                                                                             epithelium.
16 QQ· · · · · · ·In
                   In paragraph 9(a) you use the phrase                 16 Q·
                                                                            Q · · · · · ·So     that's not epidemiology where we’re
                                                                                           So that’s                                  we're
17 "minimal
    "minimal ingestion required for the Corexit/crude oil               17 dealing with human beings that have ingested -- or
18 combination
    combination to result in        in foreseeable, long-term           18 rather inhaled Corexit; is that correct?
19 respiratory damage."                                                 19 AA· · · · · · ·That
                                                                                           That is correct.·
                                                                                                      correct. It's
                                                                                                                 Its not epidemiology.
                                                                                                                         epidemiology.
20 A
20  A· · · · · · ·This
                  This is probably inhalation.
                                       inhalation.· Yeah.               20 Q·
                                                                            Q   · · · · · ·It's
                                                                                           It’s cells?
21 Q
21                 Well, that’s
    Q· · · · · · ·Well,   that's what I wanted
                                          wanted to ask you.you.        21
                                                                        21 A               Its respiratory epithelial
                                                                            A· · · · · · ·It's                            monolayers.
                                                                                                               epithelial monolayers.
22 · · · · · · · What
22                What is -- what do you mean  mean by                  22 Yeah.·
                                                                            Yeah. It's Its as close
                                                                                                close as we can  can get to having a real
23 ingestion?
23                                                                      23 human being  being sit
                                                                                                sit there
                                                                                                     there inhaling
                                                                                                            inhaling Corexit.
24
24 A               Ingestion is if you swallow something.
    A· · · · · · ·Ingestion                        something.           24 Q·              What do
                                                                            Q · · · · · ·What      do you mean by the phrase   phrase
25 Inhalation is if you -- if you take it in
25                                             in through the           25 "aerosolized Corexit/crude oil combination"?

                                                                 62                                                                      64
 1 respiratory route.
·1                   route.                                             ·11 A
                                                                            A· · · · · · ·Aerosolized
                                                                                          Aerosolized -- can can you
                                                                                                                  you repeat that
·2 Q· · · · · · ·So
 2 Q               So this should read minimal inhalation               ·2
                                                                         2 sentence again?
 3 rather than minimal ingestion?
·3                                                                      ·3  Q · · · · · ·Right.·
                                                                         3 Q·              Right. What do you -- what do you       you mean
 4 A
·4                Let me read the prior sentence.
   A· · · · · · ·Let                        sentence.· II think          4 by the phrase -- I'm
                                                                        ·4                           I’m still in
                                                                                                               in 9(a).
                                                                                                                  9(a).
·5 in this case it should probably read inhalation.
 5 in                                           inhalation.             ·5
                                                                         5 AA· · · · · · ·Yeah.·    Yeah.
                                                                                          Yeah. Yeah.
·6 Q· · · · · · ·It's
 6 Q                         opinion that the inhalation of
                   It’s your opinion                                    ·6
                                                                         6 Q·
                                                                            Q · · · · · ·You
                                                                                           You have -- you  you use the phrase
 7 the Corexit/crude oil examin -- combination caused
·7                                                                       7 "aerosolized Corexit/Crude oil combination," and I
                                                                        ·7
 8 Mr. Maas's
·8       Maass injury?                                                   8 want to know what
                                                                        ·8                       what -- what you you mean by that.
·9 A· · · · · · ·II don’t
 9 A                 don't know if it caused
                                      caused Mr. Maass
                                                   Maas's               ·9
                                                                         9 AA· · · · · · ·That
                                                                                          That   -- that  Corexit, you know, is -- is
                                                                                                                   you
    injury. II know that it can
10 injury.·                     can -- it can cause                     10 itself a -- can cause damage.· damage. But if you add to it
11 respiratory damage.
11                                                                      11 crude
                                                                        11   crude petroleum oil,    oil, then that is -- can cause severe
12 Q·
    Q · · · · · ·So So it's
                        its your opinion that it can cause              12 irritation to the human respiratory epithelium.
13 respiratory damage, but you don’t        don't know as we sit here   13 Q Q· · · · · · ·II know I asked you a lot of     of questions
14 today if   if it caused Mr. Maas's
                                   Maass respiratory damage?            14 about your area of expertise.
15 AA· · · · · · ·Right.
                    Right.                                              15 · · · · · · · Is
                                                                                          Is it fair to say that you’re
                                                                                                                    you're not a
16 Q·
    Q   · · · · ·  ·What
                    What do you believe the dose would have             16 chemist?
17 to
    to be in in order for there to be damage?                           17 A               I’m not a chemist.
                                                                             A· · · · · · ·I'm
18 AA· · · · · · ·II think for the airway,
                                   airway, it would
                                              would be mini             18 Q Q· · · · · · ·You're
                                                                                           You’re not --
19 -- the most smallest dose    dose possible inin micrograms, it       19 A               I’m not -- I’m
                                                                             A· · · · · · ·I'm          I'm not a -- II don’t
                                                                                                                        don't have a
20 would cause damage to the respiratory epithelium. epithelium.        20 degree
                                                                             degree in chemistry.
                                                                                            chemistry.
21 Q·
21  Q · · · · · ·AndAnd is that based
                                  based on peer-reviewed
                                              peer-reviewed             21 Q
                                                                        21   Q· · · · · · ·You're
                                                                                           You’re not an expert in the field of
    scientific literature that you’ve
22 scientific                         you've reviewed, or is that            chemistry?
                                                                        22 chemistry?
23 based on your     your subjective belief?
                                        belief?                         23A                No.
                                                                        23 A· · · · · · ·No.
24 A                Its based
    A· · · · · · ·It's  based on my subjective research                 24 Q               You’re not going to offer any opinions
                                                                             Q· · · · · · ·You're
25 that I've
          I’ve done where we give    give micrograms of Corexit         25 in the field of     of chemistry?


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 IA
·1                No.
   A· · · · · · ·No.                                                        1 of what was said by Mr. Maas to Dr. Wray or in his
                                                                           ·1
 2 Q·
·2 Q · · · · · ·You
                  You used the phrasephrase in (b) "generally              ·2 affidavit.· And based
                                                                            2 affidavit.           based onon that is what
                                                                                                                       what I'mI’m saying that
 3 accepted premise that breathing even a small amount of
·3                                                                          3 if he
                                                                           ·3    he was exposed
                                                                                            exposed to this stuff, then it's   its my view as
 4 aerosolized vapor."
·4                                                                          4 a physician and a scientist who studied Corexit and
                                                                           ·4                                                               and
 5 · · · · · · · Where it is generally accepted?
·5                                                                         ·5
                                                                            5 its effect onon the respiratory epithelium,
                                                                                                                  epithelium, II believe
 6 · · · · · · · What -- what
·6                          what -- what studies can you                    6 it's
                                                                           ·6 its probable that he would get disease   disease either
 7 point me to that provide this general acceptance that
·7                                                                          7 immediate effects as well as long-term effects with
                                                                           ·7
·8 you talk about here?
 8 you                                                                     ·8
                                                                            8 exposure to Corexit.·
                                                                                                 Corexit. I can’t
                                                                                                             can't say for
                                                                                                                         for Mr. Maas
·9 A· · · · · · ·II think some of -- all
 9 A                                    all these studies,                 ·9
                                                                            9 specifically      but a  person.
10 some
    some of these were done on         on -- on
                                              on following
                                                 following up human        10 Q·
                                                                           10  Q · · · · · ·And
                                                                                              And that’s
                                                                                                    that's because you also don't     don’t know
11  subjects from -- who
11 subjects                 who live around
                                      around the Gulf or hadhad            11 what levels Mr. Maas was exposed to
                                                                           11                                                     to or not exposed to;
                                                                                                                                                     to;
    worked in that area, and
12 worked                        and these people have evidence of         12
                                                                           12 correct?
13 respiratory disease post exposure. exposure.                            13 A
                                                                           13  A· · · · · · ·II don’t.
                                                                                                don't.· Yes.
                                                                                                        Yes.
14 Q                Any other studies besides the -- the ten
    Q· · · · · · ·Any                                                      14 Q·
                                                                           14  Q · · · · · ·In In that same
                                                                                                        same paragraph I want    want -- there
15 that are listed         above in your
                  listed above        your report?                         15
                                                                           15  is  a -- a  portion     here  that is  in  -- in  bold, and
                                                                                                                                        and I'll
                                                                                                                                             I’ll
16 AA· · · · · · ·II think the -- the
                                   the biggest one would be  be            16 read the whole sentence for completeness.·
                                                                           16                                          completeness. It says,
17 the Environmental Health Perspectives journal, (i).                     17 "more importantly, his assertions that,
                                                                           17                                                    that, prior to the
18 QQ· · · · · · ·Okay.·     We're going to -- we’ll
                    Okay. We’re                    we'll talk              18
                                                                           18 Deepwater Horizon spill, he had no history of
19 about -- we’ll we'll go back and  and talk about those studies.         19 respiratory ailments or complications at any
                                                                           19                                                            any time in
20 I just
      just wanted to      to -- this generally accepted premise --         20 his life."
21
21 AA·  · · · · · ·II think you will find that physicians                  21 · · · · · · · What is the significance of that
                                                                           21
22 and
    and -- well,
              well, I think physicians will accept the fact                22 statement?
23 that having a dispersant,
                         dispersant, an inhale -- that you inhale
                                                              inhale       23 A              Well, II think you’re
                                                                               A· · · · · · ·Well,           you're trying
                                                                                                                    trying to to figure
24 can cause damage to the         the lung.                               24 out
                                                                               out what caused his respiratory ailments and          and
25 QQ· · · · · · ·Well,
                    Well, you use the word "probably."                     25 illnesses.·
                                                                               illnesses. He was a non-smoker.
                                                                                                           non-smoker.· He had no prior

                                                                    66                                                                              68
·11 · · · · · · · Is "probably" a scientific term?                          1 exposures to anything that could cause damage to his
                                                                           ·1
 2A
·2                  No.
    A· · · · · · ·No.                                                       2 lungs.·
                                                                           ·2 lungs. So II think that’s  that's what it relates to.
·3
 3 · · · · · · · MR. BURGER:
                        BURGER:· Object to the form.                       ·3
                                                                            3 Q·
                                                                              Q · · · · · ·So So if I'm
                                                                                                      I’m understanding
                                                                                                            understanding you you correctly,
·4
 4 AA·  · · ·  · · ·But
                    But probable cause is -- II think we                   ·4
                                                                            4 it is  important        to  you   to be  able  to state that
 5 would
·5  would accept that.  that.· Yeah.
                               Yeah.                                        5 Mr. Maas did
                                                                           ·5                  did not have a history of respiratory
·6
 6 Q·
    Q · · · · · ·WhyWhy is it in quotation
                                   quotation marks?                        ·6
                                                                            6 ailments or complications in            in order to bebe able to say
·7
 7 AA· · · · · · ·II don’t
                     don't know.·
                           know. Standard of probability                   ·7
                                                                            7 that his injury was caused     caused by Deepwater Horizon spill
 8 -- probability and likely -- I'm
·8                                     I’m not quite sure why               8 cleanup work;
                                                                           ·8                work; is that correct?
·9
 9 it's
    it’s in the quotation marks, but probable is       is -- is            ·9 A· · · · · · ·True.
                                                                            9 A               True.
10 understandable
     understandable word, II think,   think, to me or to clinicians        10 Q·
                                                                               Q   ·  · · · · ·If
                                                                                                If he had had respiratory ailments or a
11 and
11   and to scientists.                                                    11 history of respiratory ailments or complications at
                                                                           11
12 Q Q· · · · · · ·Okay.·
                     Okay. Paragraph 10;    10; what do youyou mean        12 any time in      in time in in his life prior to the Deepwater
13 when you     you say "with regard to the specific causation causation   13 Horizon spill, then    then youyou would say that it -- it was
14 issues claimed claimed by Mr. Maas, Maas, it is
                                                is my opinion that his     14 not likely or probableprobable that the Deepwater Horizon
15 diagnosis is consistent with"?                                          15 spill
                                                                               spill caused his respiratory ailments or
16 · · · · · · · What do you mean "consistent with"?                       16 complications; is that correct?
17 A A· · · · · · ·That
                    That -- that Corexit can cause airways
                                                        airways            17 · · · · · · · MR. BURGER:
                                                                                                    BURGER:· Object to the form.
18 disease if you inhale it.      it.                                      18 AA· · · · · · ·No.·
                                                                                               No. That's
                                                                                                     That’s not correct.·
                                                                                                                   correct. Because
                                                                                                                             Because II
19 Q Q· · · · · · ·You
                    You also use the word "preliminarily,"                 19 think that even -- suppose II take an asthmatic and
20 and
20   and it'sit’s underlined.                                              20 expose the asthmatic to Corexit,     Corexit, then the asthmatic
21
21 · · · · · · · And I'm I’m -- I guess my first question is:              21
                                                                           21 could get much worse.     worse.· And
                                                                                                                  And then I could still say that
22 What do you mean
22                        mean when you use the word    word               22 the person has -- that his       his -- that the person's
                                                                                                                                person’s
23 "preliminarily?"
23                                                                         23 disease is related to        to exposure.
                                                                                                              exposure.
24 A
24   A· · · · · · ·Because
                    Because II cannot say what happened to                 24 Q·               Well, you
                                                                               Q · · · · · ·Well,       you wouldn’t
                                                                                                              wouldn't be able to say that
25 Mr. Maas specifically.
25                   specifically.· But I have to accept the fact          25 his asthma
                                                                                     asthma was caused by that though, would you,


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                                                                                                                                                71
 1 because he already had
·1                              had asthma before the      the exposure?     ·1
                                                                              1 Q·            And am I right in saying that that means
                                                                                Q · · · · · ·And
 2 · · · · · · · In your hypothetical;
·2                         hypothetical; if somebody has                      2 that in order for
                                                                             ·2                     for you
                                                                                                         you to say that a condition
                                                                                                                              condition was
 3 asthma before they work
·3                              work in the cleanup work,   work, then you
                                                                       you   ·3 caused
                                                                              3 caused      by    something,    that  condition needed
                                                                                                                      condition     needed to occur
 4 can’t
·4 can't say that the cleanup work caused that person to               to     4 after the exposure rather than
                                                                             ·4                                     than before the exposure?
 5 have as asthma.
·5                                                                            5 A
                                                                             ·5               Right. Though -- though
                                                                                A· · · · · · ·Right.·               though if II may
 6 · · · · · · · Is that --
·6                                                                           ·6
                                                                              6 correct one little point here.·
                                                                                                             here. Asthma is a disease
 7 A
·7                Yeah.
   A· · · · · · ·Yeah.                                                       ·7
                                                                              7 that, you know,
                                                                                              know, it can
                                                                                                         can be genetic.
                                                                                                                 genetic.· And then you can  can
 8 Q
·8                Is that not true?
   Q· · · · · · ·Is                                                           8 get -- so we can't
                                                                             ·8                    can’t say that the asthma is caused
                                                                                                                                    caused by
·9 A·
 9 A   · · · · · ·But
                  But it could cause an an exacerbation.
                                             exacerbation.· It               ·9
                                                                              9 Corexit if a person -- but in this  this case, II think that
10 could cause a rapid   rapid decline inin his symptoms.                    10 this
                                                                                 this person was exposed to something that precipitated
11 Q·
11  Q · · · · · ·SoSo it may cause
                                cause him to have issues, but                11 his disease.
                                                                             11
12 it wouldn’t
       wouldn't be the cause   cause of the asthma.
                                                asthma.· It may cause        12 Q·
                                                                                 Q · · · · · ·II think I understand this, and I just
13 him to have an       an exacerbation but not the     the actual cause     13 want to make sure.·           I'm trying
                                                                                                       sure. I’m  trying not to belabor the
14 of it?                                                                    14 issue.
15 AA· · · · · · ·And
                   And the progression in    in human -- as as a             15 · · · · · · · But that would cause you    you to re-examine
16 clinician, II -- II have a little concern with that                       16 the causation analysis or a causation opinion if there
17 statement saying that it's     its an absolute.      Its not an
                                          absolute.· It's       an           17 were prior respiratory issues before the exposure;      exposure; is
18 absolute.·
    absolute. It is --                                                       18 that correct?
19 Q·
    Q · · · · · ·Well,      didn't say it;
                   Well, I didn’t        it; you said it --                  19 AA· · · · · · ·II would like to see lung function
                                                                                                                           function tests
                                                                                                                                      tests
20 A               Yeah.
    A· · · · · · ·Yeah.                                                      20 before and after.
21 Q·
21  Q · · · · · ·--   in your report.
                   -- in                                                     21  Q · · · · · ·All
                                                                             21 Q·              All right.·
                                                                                                     right. This -- back in in paragraph
22 AA· · · · · · ·Yeah.·
                   Yeah. But this particular person says                     22 10 -- I’m
                                                                                        I'm sorry.
                                                                                              sorry.· I lost my -- my place.
23 that he has no history.·
                          history. I'm
                                    I’m going just
                                                just by
                                                      by history.            23 AA· · · · · · ·Sorry.
                                                                                               Sorry.
24 Q·
    Q · · · · · ·Right.
                   Right.                                                        Q · · · · · ·II apologize.
                                                                             24 Q·
25 AA· · · · · · ·But
                   But in generically,
                           generically, II think -- II think                 25 AA· · · · · · ·That's
                                                                                               That’s all right.

                                                                      70                                                                        72
 1 we
·1 we can say that diseases may progress more rapidly                         1 Q·
                                                                             ·1 Q · · · · · ·There's
                                                                                                 There’s a phrase here that -- that --
 2 after exposure.
·2        exposure.· Diseases may show up after exposure.  exposure.         ·2         appears in the bolded part.·
                                                                              2 that appears                           part. And it says that
 3 Q·
·3 Q · · · · · ·Well,
                  Well, let me ask you this:
                                           this:· If -- if                   ·3
                                                                              3 "Pulmonologist" Charles     Charles -- "Dr. Charles
                                                                                                                              Charles Wray, who has
 4 an -- hypothetically speaking, if an individual had
·4                                                                            4 treated Mr. Maas for a recent (early 2014) onset of a
                                                                             ·4
 5 asthma prior to any exposure; would you also then
·5                                                              then         ·5 form of asthma that appears to be chemically induced."
                                                                              5 form
 6 offer an opinion that it is at least likely or more
·6                                                                           ·6 And I want to
                                                                              6 And                 to make sure I understand what you -- what
 7 probable than
·7                 than not that that person's
                                         person’s asthma was caused           7 we’re
                                                                             ·7 we're saying
                                                                                          saying here.
 8 by the exposure?
·8                                                                            8 · · · · · · · Onset
                                                                             ·8               Onset of   of a form
                                                                                                              form of asthma.
                                                                                                                       asthma.· When you use
 9 A
·9 A· · · · · · ·II would -- II would have a little more                     ·9 the word
                                                                              9 the    word "onset," does that mean that it -- it -- it
10 difficulty.
    difficulty.· Yes.
                    Yes.                                                     10 just
                                                                             10  just appeared?
                                                                                         appeared?
11 Q
11  Q·  · · · · ·   It would -- it would
                   ·It              would alter your                         11 A
                                                                             11                  That’s what Dr. Wray says.
                                                                                 A· · · · · · ·That's                      says.· II don’t
                                                                                                                                     don't say
    opinion --
12 opinion                                                                   12
                                                                             12 that.
13 A               Yeah.
    A· · · · · · ·Yeah.                                                      13
                                                                             13 Q                 Okay. You
                                                                                 Q· · · · · · ·Okay.·      You don’t
                                                                                                                don't know because all you’re you're
14 QQ· · · · · · ·---- because the asthma pre-existed --                     14 doing is reviewing Dr. Wray's
                                                                             14                                   Wray’s records;
                                                                                                                            records; correct?
15 AA· · · · · · ·The
                   The --                                                    15
                                                                             15 AA· · · · · · ·Absolutely.·
                                                                                                 Absolutely. Yes.
16 QQ· · · · · · ·--   the --
                    -- the                                                   16
                                                                             16 QQ·   · · · · ·  ·And
                                                                                                  And is Dr. Wray the person who said that
17 A               Yes.
    A· · · · · · ·Yes.                                                       17 it was a form
                                                                             17                 form of asthma
                                                                                                           asthma that appears to be chemically
18 QQ· · · · · · ·---- exposure?                                             18  induced?
                                                                             18 induced?
19 A               Yeah.
    A· · · · · · ·Yeah.                                                      19 · · · · · · · That’s
                                                                             19                 That's not your characterization;
                                                                                                                    characterization; that’s
                                                                                                                                           that's
20 Q                And there's
    Q· · · · · · ·And     there’s something in -- and you’ll
                                                           you'll            20 Dr. Wray’s
                                                                                        Wray's characterization.
21 have to help me with this:·
21                                 this: "Temporal proximity."               21 A
                                                                             21  A· · · · · · ·In       yes.· On Mr.
                                                                                                  In -- yes.     Mr. Maas.·
                                                                                                                      Maas. Yes.
22 · · · · · · · Does that phrase mean  mean anything to you?you?            22 QQ· · · · · · ·Okay.·
                                                                                                  Okay. YouYou  use  a  phrase in -- I'm
                                                                                                                                       I’m sorry.
23 A                Uh-huh.
    A· · · · · · ·Uh-huh.                                                    23 · · · · · · · InIn paragraph 11  11 on
                                                                                                                    on the top of page
24 QQ· · · · · · ·"Temporal
                    "Temporal proximity"?                                    24 seven, you use a phrase:·    phrase: "I"lam
                                                                                                                          am familiar with the the
25 AA· · · · · · ·Uh-huh.
                    Uh-huh.                                                      'toxic tort causation
                                                                             25 ’toxic             causation standard’."
                                                                                                                standard'."


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                                                                        73                                                                            75
·11 · · · · · · · Tell me what you    you mean when you use the                 1 like
                                                                               ·1 like thousand
                                                                                        thousand plus times diluted     diluted.
 2 phrase "toxic tort causation standard."
·2                                                                             ·2 Q· · · · · · ·Okay.·
                                                                                2 Q              Okay. Well, I guess   guess what
                                                                                                                                what I'm    asking is:
                                                                                                                                        I’m asking
·3
 3 AA· · · · · · ·II -- II believe it refers to a toxin
                                                      toxin that               ·3
                                                                                3 The    delusion         that   you   used
                                                                                                                       used   in your    HO1
                                                                                                                                         H01 paper --
·4
 4 -- that you say can      can -- may probably cause it,     it, is the       ·4 A· · · · · · ·Yeah.
                                                                                4 A             Yeah
 5 probable cause of a disease or a problem.·
·5                                                   problem. And that --       5 Q
                                                                               ·5                -- do you
                                                                                  Q· · · · · · ·--         you know if that was the same
 6 that is the limit of what you want anyone
·6                                                 anyone can say it           ·6
                                                                                6 delusion that would have occurred        occurred when Corexit was
 7 is.·
·7  is. It is sort of reasonable to conclude after that                        ·7
                                                                                7 sprayed on sea      sea water in    in the Gulf?
 8 that sort of probable cause was Mr.
·8                                                Mr. -- this particular        8 · · · · · · · MR.
                                                                               ·8               MR BURGER:
                                                                                                       BURGER:· Excuse me.        me.· Object to the
 9 person was harmed as a result of this exposure to
·9                                                                             ·9
                                                                                9 form.
10 aerosolized Corexit.                                                        10 AA· · · · · · ·II -- II -- II can't
                                                                                                                can’t answer that
                                                                                                                                that.
11
11 Q Q· · · · · · ·SoSo that -- that sounds like a legal --                    11
                                                                               11 Q·               Okay.
                                                                                    Q · · · · · ·Okay.
12 A A· · · · · · ·Yeah.·
                    Yeah. It's  Its a legal phrase.
                                             phrase.                           12 AA· · · · · · ·II don't
                                                                                                    don’t know the answer to that      that.
13 Q Q· · · · · · ·---- phrase.
                        phrase.                                                13 Q·Q · · · · · ·InIn (b) -- I'm    sorry -- 12 -- paragraph
                                                                                                                I’m sorry
14 A A· · · · · · ·Yeah.·
                    Yeah. II believe its  it's a legal phrase.                 14 12(b) --
15 Q Q· · · · · · ·Okay.·
                     Okay. And I know you’re    you're not a chemist,
                                                                 chemist,      15 AA· · · · · · ·Uh-huh.
                                                                                                  Uh-huh
16 but do you have an            an opinion on the fate and    and transport   16 Q·Q · · · · · ·--   you're talking about the -- the
                                                                                                   -- you’re
17 of Corexit that was        was sprayed on the surface of the                17 respiratory epithelium; correct?
     ocean or even
18 ocean             even at the site of the wellhead, like what               18 AA· · · · · · ·True.
                                                                                                 True
19 happens to that Corexit once its                it's sprayed?               19 Q·Q · · · · · ·Okay.·
                                                                                                   Okay. At the end     end of that youyou make a
20
20 A A·  · · · · · ·Well,
                    Well,    it goes   down   to
                                              to  the  bottom of the           20 statement:·
                                                                                    statement:         "particularly       with  the  exacerbation   of
21
21 ocean.
     ocean.· Is -- its   it's broken into mi --· -- micelles.
                                                      micelles.                21
                                                                               21 pre-existing respiratory conditions such                such as
                                                                                                                                               as asthma."
                                                                                                                                                  asthma."
22 Corexit breaks the oil into micelles,
22                                        micelles, and the Corexit            22 AA· · · · · · ·So
                                                                                                  So what was the question question as to that?
23 goes down with
23                     with the combination to the bottom   bottom of the      23 Q·Q · · · · · ·Well,
                                                                                                  Well, I’m I'm going -- I'm I’m going to ask a
24
24 ocean or is soluble soluble and washed off.      off.· And
                                                          And the oil          24 question.
25 itself is -- goes down to the bottom.
25                                                                             25 AA· · · · · · ·Okay.
                                                                                                  Okay.

                                                                        74                                                                            76
·11 Q·
    Q · · · · · ·AndAnd to make sure sure I -- I understand
                                                  understand                    1 Q· · · · · · ·You're
                                                                               ·1                You’re not suggesting here that Mr. Maas       Maas
 2 correctly:·
·2  correctly: When    When the Corexit hits the sea water, it                 ·2
                                                                                2 had a preexisting
                                                                                           preexisting respiratory condition, are          are you?
·3
 3 changes its     its chemical composition; is that -- is that                 3 A
                                                                               ·3 A· · · · · · ·II don’t
                                                                                                   don't know.
·4
 4  fair  to  say?                                                              4 Q· · · · · · ·You
                                                                               ·4                You don’t
                                                                                                       don't -- you don’t
                                                                                                                       don't know one way or
 5 A
·5  A· · · · · · ·II can't
                      can’t say that
                                that.· II don't
                                          don’t know that.
                                                       that                    ·5
                                                                                5 the   other?
·6
 6 Q·
    Q · · · · · ·Okay.·
                    Okay. It atat least becomes diluted by                     ·6 A· · · · · · ·II don’t
                                                                                6 A                don't know one way or the other.
·7
 7 the sea water.                                                               7 According to Dr. Wray, he did not.
                                                                               ·7                                          not.
 8 · · · · · · · Is that fair to say?
·8                                                                             ·8
                                                                                8 Q· · · · · · ·Okay.·
                                                                                                 Okay. In In -- in paragraph
                                                                                                                    paragraph 12(c) you’reyou're
·9
 9 AA· · · · · · ·Probably,
                   Probably, yes.
                                yes                                             9 talking about HO1,
                                                                               ·9                      H01, and that’s
                                                                                                                     that's -- that’s
                                                                                                                                 that's the
                                                                                                                                        the subject of
10 Q Q· · · · · · ·And
                     And   when   you're talking about the
                                  you’re                                       10 your -- of your paper.
                                                                               10                        paper.· And I want to     to make
                                                                                                                                       make sure I
11 Corexit that you
11                       you used
                              used in your HO1  H01 paper, that was a          11
                                                                               11  understand.
12 nondiluted
     nondiluted Corexit; is that correct?                                      12
                                                                               12 · · · · · · · This is an enzyme; correct?
13 A A· · · · · · ·No.·
                     No. It was diluted.                                       13 A
                                                                               13  A· · · · · · ·AA naturally-occurring enzyme.
                                                                                                                             enzyme.· Yes.
                                                                                                                                         Yes.
14 Q Q· · · · · · ·ItIt was diluted?                                           14 Q· · · · · · ·Naturally-occurring
                                                                               14                  Naturally-occurring enzyme.
15 A A· · · · · · ·Yes.
                     Yes.                                                      15
                                                                               15 · · · · · · · And is it correct to say that this
16 Q Q· · · · · · ·With
                     With what?                                                16 enzyme provides a respiratory anti-inflammation
                                                                               16
17 A A· · · · · · ·With    water; saline
                     With water;   saline water,
                                           water, PBS.
                                                    PBS.                       17 protection?
                                                                               17
18 Q Q· · · · · · ·Okay.·
                     Okay. And -- and and so was it diluted in                 18
                                                                               18 AA· · · · · · ·Yes.·
                                                                                                  Yes. SoSo it's  an anti
                                                                                                             it’s an  anti -- like an
                                                                                                                                   an
19 the same concentration
                      concentration as what what the Corexit that was          19 antioxidant.
                                                                               19
20 sprayed in
20                  in the Gulf was diluted to?                                20 Q· · · · · · ·Okay.·
                                                                                                   Okay. And can you tell me       me how that HO1
                                                                                                                                                 H01
21
21 A                 No. It -- Corexit was
     A· · · · · · ·No.·                   was sprayed fully                    21 enzyme plays into an individual who may be exposed to
                                                                               21
22 concentrated the way it comes in the -- in the tins.
22                                                                             22 Corexit?
23 And we got one
23                      one of those tins,
                                       tins, and that's
                                                   that’s what we used.        23 · · · · · · · What -- what happens with that enzyme?
24 And we used
24               used -- we diluted
                                diluted it to where it was only in in          24 AA· · · · · · ·Well,
                                                                                                  Well, what happens to Heme oxygenase?
25 50 micro
25       micro --   -- micrograms per ML.  ML.· II mean, that is just          25 It's
                                                                                   It’s upregulated when they -- when they are exposed to


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                                                                   77                                                                               79
 1 Corexit, cells are exposed
·1                          exposed to to Corexit, human cells;
                                                             cells;        1 Dr.
                                                                          ·1 Dr. Wray.
 2 which is a good
·2                 good thing
                           thing because it's
                                            its a protective              ·2 Q· · · · · · ·Okay.·
                                                                           2 Q               Okay. So other than    than what Dr. Wray  Wray told
 3 enzyme.
·3 enzyme.· It will  will protect the -- the
                                          the -- but -- but it's
                                                            its           ·3 you,   you
                                                                           3 you, you don’t  don't   know     if he's
                                                                                                                 he’s  been   a smoker     or not?
 4 dampened by the amount of oxidants that are released
·4                                                                         4 A
                                                                          ·4 A· · · · · · ·II don't.
                                                                                              don’t.
 5 by Corexit like ox -- a protein called NADPH oxidase 44
·5                                                                        ·5 Q· · · · · · ·You
                                                                           5 Q              You don't
                                                                                                    don’t know if he has or has not had
 6 is activated in the cells,
·6                           cells, and that causes a lot of              ·6
                                                                           6 respiratory issues issues prior to    to his work at Deepwater?
·7              oxygen species to be
 7 reactive oxygen                      be released by exposure to        ·7 A· · · · · · ·According
                                                                           7 A             According to Dr.    Dr. Wray, no.
·8 Corexit.· And HO1
 8 Corexit.            H01 tries to dampen it, tries to dampen            ·8                 Okay. If Dr. Wray
                                                                             Q· · · · · · ·Okay.·
                                                                           8 Q                                 Wray was incorrect in     in
 9 the amount of oxygen radicals that are released
·9                                                                        ·9
                                                                           9 taking the occupational history or the medical history
10 because
    because oxygenoxygen radicals can then injure the cell                10 of Mr. Maas, then your opinions would be altered by
11 itself.
11                                                                        11 Dr. Wray’s
                                                                          11       Wray's mistakes in         in his taking of the histories; is
12 QQ· · · · · · ·So
                   So if am a person who gets exposed to           to a   12 that correct?
13 substance and that upregul -- or I -- this enzyme       enzyme gets    13 · · · · · · · MR. BURGER:·
                                                                                                   BURGER: Object to form.
14 produced, that actually is providing a protection for                  14 AA· · · · · · ·II -- I take   Dr. Wray’s
                                                                                                    take Dr.    Wray's word as it's it’s
15 me?                                                                    15 presented here.
16 · · · · · · · It’s
                 It's helping me; is that correct?                        16
                                                                          16Q Q· · · · · · ·II --
17 A               H01 attempts to -- yes.
    A· · · · · · ·HO1                            H01 is a
                                           yes.· HO1                      17 AA· · · · · · ·But
                                                                                              But if it is not correct,
                                                                                                                 correct, then it's
                                                                                                                                it’s not
    protective enzyme.
18 protective       enzyme.· Yeah.
                                 Yeah.                                    18 correct.
19 Q               Okay. Paragraph 13
    Q· · · · · · ·Okay.·                   13 is entitled
                                                  entitled "Our           19 Q·
                                                                              Q · · · · · ·Okay.·
                                                                                              Okay. And I -- I guess I’m     I'm trying to
20 Research Methodology,"
                    Methodology," and there's there’s a paragraph about   20 clear up -- a lot of what is in this       this report is based
21 human bronchial epithelial
21                             epithelial cell
                                           cell lines.                    21 on what Dr.
                                                                          21                Dr. Wray says; is that correct?
22 · · · · · · · Is this research that you’reyou're referencing           22 AA· · · · · · ·No.·
                                                                                              No. My intention
                                                                                                         intention is to -- to provide to
23 in this paragraph,
               paragraph, that’sthat's talking
                                       talking about the HO1  H01         23 you evidence that Corexit could hurt respiratory
24 paper --                                                               24 epithelium.·
                                                                              epithelium. That -- that’s   that's what the primary goal of
25 AA· · · · · · ·Yeah.
                  Yeah.                                                       this --
                                                                          25 this

                                                                   78                                                                               80
 1 Q
·1 Q· · · · · · ·-- -- that you published?                                 1 Q
                                                                          ·1                 Okay. And --
                                                                             Q· · · · · · ·Okay.·
·2 A· · · · · · ·Uh-huh.·
 2 A               Uh-huh. True.                                          ·2 A· · · · · · ·--
                                                                           2 A             -- report is.
·3 Q· · · · · · ·Okay.·
 3 Q                Okay. In paragraph 15, 15(a) is a                      3 Q
                                                                          ·3                And you’re
                                                                             Q· · · · · · ·And       you're not
                                                                                                              not doing that generally but
 4 consideration -- is entitled
·4                              entitled "A consideration of               4 not --
                                                                          ·4
·5
 5 differential diagnoses."                                               ·5 A· · · · · · ·On
                                                                           5 A              On --
·6
 6 · · · · · · · What -- what do you mean when you use                    ·6 Q· · · · · · ·--
                                                                           6 Q               -- specifically to Mr. Maas?
·7
 7 the phrase "differential diagnoses"?                                    7 A
                                                                          ·7 A· · · · · · ·II -- II cannot -- well, if all the
 8 A
·8 A· · · · · · ·A A differential diagnosis are the                       ·8
                                                                           8 information that was provided to me is correct; then,
·9               causes of a particular problem.
 9 different causes                         problem.                      ·9
                                                                           9 yes, to -- applicable to Mr. Maas.
10 Q·
    Q    · · · · ·   And
                    ·And   I think  I understood   you correctly          10 Q·
                                                                          10  Q · · · · · ·What
                                                                                             What do you -- what do you mean by the
11 to
11  to say you’re
                you're -- you’re
                              you're really not able to do that for       11 phrase "delayed
                                                                          11              "delayed onset of symptoms"?symptoms"?· That -- that’s
                                                                                                                                               that's on
                                                                                                                                                      on
12 Mr. Maas because you’ve       you've never examined Mr. Maas; is       12
                                                                          12 page 11.
13 that correct?                                                          13 · · · · · · · It's
                                                                          13               It’s -- I guess its  it's subsection (b).
14 A                True.
    A· · · · · · ·True.                                                   14 A
                                                                          14                 All right.
                                                                              A· · · · · · ·All    right.· So
                                                                                                           So --
15 · · · · · · · MR. BURGER:
                         BURGER:· Object to the form.form.                15
                                                                          15 Q·
                                                                              Q · · · · · ·What
                                                                                             What do you mean by delayed     delayed onset of
16 AA· · · · · · ·True.
                    True.                                                 16
                                                                          16  symptoms?
    Q · · · · · ·So
17 Q·                So are you --                                        17 A
                                                                          17                 Delayed onset of symptoms is a very
                                                                              A· · · · · · ·Delayed
18 AA· · · · · · ·Building
                     Building a differential or my -- is                  18
                                                                          18 recognized clinical phrase.   phrase.· It is -- it relates
                                                                                                                                relates to
                                                                                                                                         to
19 based on what I was told about his history.   history.                 19 the doddery
                                                                          19       doddery anatomical and physiologicalphysiological changes
20 Q·                Okay. So as we
    Q · · · · · ·Okay.·               we sit here today,
                                                   today, are you         20 occurring in     in the lungs.
                                                                                                       lungs.· They may not be    be -- the
21 going to provide an opinion
21                                 opinion that you did a                 21 patient may not be symptomatic as of yet.·
                                                                          21                                                       yet. And the
22 differential diagnosis or diagnoses on Mr. Maas?                       22 patient's
                                                                              patient’s    symptoms         come
                                                                                                            come    when  you’ve lost like about
                                                                                                                          you've
23 AA· · · · · · ·II didn’t
                      didn't examine him,
                                        him, nor did II take his          23 less than 50 percent of your lung         lung function.
                                                                                                                            function.· So
                                                                                                                                        So you
24 history.·
    history. I'm   I’m going by the information
                                       information provided to me         24 could be losing lung function   function as a smoker, for
25 in his affidavits
              affidavits and in  in the data provided by by               25 example, until you reach the point where you become


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·11 short of breath.
                breath.· And you don’t
                                     don't know it for the first           ·1 short break rather.·rather. I want to sort of switch gears
·2                 time, and
 2 half of the time,            you're doing just fine,
                          and you’re                 fine, and
                                                           and             ·2 and ask you some questions about the articles that you
                                                                            2 and
·3  you're
 3 you’re    continuing     to smoke.                                       3 cited in
                                                                           ·3         in your expert report; report; or -- or the literature,
·4
 4 Q              Would you agree with
    Q· · · · · · ·Would                  with me that as symptoms           4 rather;
                                                                           ·4 rather; those
                                                                                         those ten studies, A through J.        J.· And I -- I
·5       delayed from a specific exposure, it becomes more
 5 are delayed                                                             ·5
                                                                            5 cannot remember
                                                                                          remember what paragraph that is.
·6
 6 difficult to  to state with any specificity that that                    6 A
                                                                           ·6               I’ll find it.·
                                                                              A· · · · · · ·I'll      it. Eight.
                                                                                                           Eight.
 7 exposure caused those symptoms?
·7                                                                          7 Q· · · · · · ·Okay.·
                                                                           ·7                Okay. But -- but -- but before I do
 8 A
·8                Yes. Temporal distance between cause
    A· · · · · · ·Yes.·                                                    ·8
                                                                            8 that, I -- I kind of want to go back and      and do
                                                                                                                                 do some
·9
 9  and   effect   can be a problem.·
                               problem. But there are diseases,            ·9 foundational
                                                                            9 foundational          work.
10 like II said, that progress over time where   where there
                                                          there are        10 · · · · · · · I guess, first, can you -- can
                                                                           10                                               can you
                                                                                                                                 you talk
11 -- where the lung changes its
11                                     its structure and its its           11
                                                                           11 me through the methodology that you used locate those
12 physiology; and you     you become symptomatic much      much later.    12 ten studies that you used to form your opinion?
                                                                           12
13 Q·              And you do not know if
     Q · · · · · ·And                           if that’s
                                                   that's what             13 A
                                                                           13                These are some of the studies that I've
                                                                               A· · · · · · ·These                                      I’ve
14 happened in       in this case with Mr. Maas specifically;
                                                        specifically;      14 read.·
                                                                           14  read. I've
                                                                                        I’ve read
                                                                                               read other studies, but they were -- they
15 correct?                                                                15
                                                                           15 seemed to be       be relevant -- the most relevant to the
16 A A· · · · · · ·From
                   From Dr. Wray's
                               Wray’s story, that’s
                                               that's what                 16 case.
                                                                           16
17 happened in this case in part.    part.· I believe
                                              believe he hadhad some       17 Q· · · · · · ·Can
                                                                           17                 Can -- can you tell me   me what criteria you
18 acute symptoms as        as well, and
                                     and then he was fine for a            18
                                                                           18 used to  to -- to to locate them or what -- what about those
19 little bit
           bit but then
                     then got really bad
                                       bad later on.                       19 made you rely upon those versus
                                                                           19                                        versus other studies that you
20 Q·Q · · · · · ·Did
                   Did you see anything
                                   anything in your your review of         20 may have reviewed?
21 the medical records that led
21                                     led you
                                            you toto believe that there    21 A
                                                                           21  A· · · · · · ·Because
                                                                                             Because they're
                                                                                                           they’re related to the lung,
                                                                                                                                  lung,
22 could have been any other causes for Mr. Maas's             Maass       22 they're
                                                                               they’re related
                                                                                          related to toxicity of dispersants, and
23 asthma?
     asthma?                                                               23 because of -- of -- this was a question related to
24A                No.
24 A· · · · · · ·No.                                                       24 research on    on toxicity of of Corexit.
25 Q·Q · · · · · ·Did              anything in the medical
                   Did you see anything                  medical           25 Q· · · · · · ·Did
                                                                                              Did -- did you employ any certain

                                                                    82                                                                        84
·11 records about Mr. Maas using marijuana?                                 1 research techniques to locate those
                                                                           ·1                                         those ten
                                                                                                                             ten studies?
                                                                                                                                  studies?
 2 A
·2  A· · · · · · ·II didn't
                     didn’t see that.                                      ·2 A· · · · · · ·Well,
                                                                            2 A             Well, PubMed is -- find
                                                                                                                  find them
                                                                                                                       them all on
·3
 3 Q·
    Q · · · · · ·If    Mr. Maas smoked marijuana, would that
                    If Mr.                                                  3 PubMed.
                                                                           ·3 PubMed.
·4
 4  be  a  possible
           possible alternative cause for development of                                     Okay. Did you use specific search terms
                                                                            4 Q · · · · · ·Okay.·
                                                                           ·4 Q·
 5 asthma?
·5  asthma?                                                                 5 to -- to pull those out of PubMed?
                                                                           ·5
·6
 6 AA· · · · · · ·Marijuana
                   Marijuana exposure is associated
                                              associated with
                                                           with            ·6 A· · · · · · ·Gosh,
                                                                            6 A             Gosh, II don’t
                                                                                                      don't remember.
·7          abnormalities -- possible abnormalities
 7 some abnormalities                        abnormalities in
                                                            in the          7 Q·
                                                                           ·7 Q · · · · · ·Okay.·
                                                                                             Okay. It -- did you find those all on
 8 lungs in the airways.
·8                     airways.· But II think that the degree of            8 PubMed, or did you get those from any other sources,
                                                                           ·8
·9  disease that -- as represented
 9 disease                   represented by Dr. Wray that he has            9 or do you recall?
                                                                           ·9
10 would not be caused by marijuana exposure.     exposure.                10 A              Well, I’ve
                                                                               A· · · · · · ·Well,  I've seen
                                                                                                         seen them all on PubMed.
                                                                                                                           PubMed.
11
11 Q                 Okay. Dr.
     Q· · · · · · ·Okay.·    Dr. Anthony, let’s
                                              let's take a short           11 Q
                                                                           11                 Okay. Did you -- did you
                                                                               Q· · · · · · ·Okay.·                    you see them
                                                                                                                                 them on
12 break.
     break.· I’mI'm going to kind of -- I think I’m   I'm done with        12 PubMed specifically related to your expert work in           in
13 the report for right now.·   now. This seems to be     be a good
                                                                good       13 this case, or did you see them     them at some point prior to
14 time for us maybe to take a break and            and change gears.
                                                                  gears.   14 you being retained as an        an expert in
                                                                                                                         in this case?
15 · · · · · · · Is that okay with you?                                    15 AA· · · · · · ·Prior
                                                                                             Prior to being retained.
16 A A· · · · · · ·OfOf course.                                            16 QQ· · · · · · ·II know that you said you’re
                                                                                                                       you're not an
17 · · · · · · · MR.
                  MR. MCLEOD:·
                         MCLEOD: 15 minutes,
                                           minutes, Ken?·
                                                     Ken? Is that          17 epidemiologist, but -- but I think you      you said you, you
18 good?                                                                   18 know, do know what      what epidemiology is.
19 · · · · · · · MR.
                  MR. BURGER:·        That's fine.
                         BURGER: That’s       fine.· Thank you.            19 · · · · · · · Let me ask you this:·          you familiar
                                                                                                               this: Are you
20 · · · · · · · THE VIDEOGRAPHER:
20                        VIDEOGRAPHER:· We’re   We're off the record.
                                                                record.    20 with the two main types of epidemiologic studies?
21
21 The time is 2:37    2:37 p.m.                                           21 A
                                                                           21  A· · · · · · ·II don’t
                                                                                                don't know what you're
                                                                                                                  you’re referring to.
22 · · · · · · · · · ·(Short
22                     (Short recess.)                                     22 QQ· · · · · · ·Okay.·
                                                                                              Okay.    Well, have   you --
23 · · · · · · · THE VIDEOGRAPHER:
23                        VIDEOGRAPHER:· We are back on the                23 A              You’ll have to be more specific.
                                                                               A· · · · · · ·You'll
24 record.
24   record.· The time is 2:53 p.m.   p.m.                                 24 Q               Well, have you heard of -- of
                                                                               Q· · · · · · ·Well,
25 Q
25   Q· · · · · · ·Dr.
                     Dr. Anthony, back after a small break --              25 epidemiology that’s   that's described as descriptive studies?
                                                                                                                                        studies?


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                                                                        2021
                                                                      85                                                                   87
 1 A
·1               Uh-huh.
   A· · · · · · ·Uh-huh.                                                      1 Q
                                                                             ·1               Do you --
                                                                                Q· · · · · · ·Do
·2 Q· · · · · · ·Do
 2 Q             Do you know what I mean when I say                          ·2 A· · · · · · ·--
                                                                              2 A                     make significant correlations.
                                                                                              -- to make
 3 descriptive studies in epidemiology?
·3                                                                            3 Q
                                                                             ·3               Do you agree with me that
                                                                                Q· · · · · · ·Do
 4A
·4               Yes.
   A· · · · · · ·Yes.                                                         4 cross-sectional
                                                                             ·4 cross-sectional studies are        are a form of descriptive
·5 Q· · · · · · ·And
 5 Q             And -- and what is your definition of a                     ·5
                                                                              5 studies?
 6 descriptive study in epidemiology?
·6                                                                           ·6
                                                                              6AA· · · · · · ·Yes.
                                                                                              Yes.
 7 A
·7               For example, it would
   A· · · · · · ·For                would be like thethe                      7 Q
                                                                             ·7               And do you agree with me that
                                                                                Q· · · · · · ·And
 8 prevalence of a particular disease or prevalence of
·8                                                                            8 cross-sectional
                                                                             ·8 cross-sectional studies can't      can’t be
                                                                                                                         be used to establish
                                                                                                                                     establish
 9 people with deviated
·9                    deviated nasal septum or whatever in    in a           ·9
                                                                              9 cause-and-effect           relationships?
10 population,
    population, descriptive.                                                 10 A
                                                                             10                Again, I have some of the same caveats
                                                                                 A· · · · · · ·Again,
11 Q
11  Q· · · · · · ·DoDo you agree that descriptive studies                    11 that II talked about previously.
                                                                             11
12 are unable to      to establish
                          establish causal associations between
                                                              between anan   12
                                                                             12 QQ· · · · · · ·DoDo you agree with me that descriptive
13 exposure and      and disease?                                            13 studies have problems due to confounding factors that
                                                                             13
14 AA· · · · · · ·II think that would be of -- yes and no.                   14 exist in the studies themselves?
                                                                             14
15 QQ· · · · · · ·Okay.·
                    Okay. Tell me why yes   yes first.                       15
                                                                             15 AA· · · · · · ·Yes.·    Absolutely.
                                                                                               Yes. Absolutely.
16 · · · · · · · Why -- why can't can’t they be
                                              be used to to show a           16
                                                                             16 QQ· · · · · · ·And
                                                                                               And they can also suffer from  from bias that
17 causal
    causal connection or a causal association?                               17 exists that further reduces their reliability.
                                                                             17
18 AA· · · · · · ·So
                   So II think it would be
                                         be difficult to
                                                      to do                  18
                                                                             18 · · · · · · · Do you agree with that statement?
19 that because you -- because  because there’s
                                          there's so much
                                                       much else
                                                             else going
                                                                  going      19 A
                                                                             19                True.
                                                                                 A· · · · · · ·True.
20 on at the same time.·   time. So you
                                     you can’t
                                          can't say that this one            20 Q              Are you familiar with a type of study in
                                                                                 Q· · · · · · ·Are
21 particular thing
21                  thing did something to to cause a population             21
                                                                             21  epidemiology           referred to
                                                                                                        referred  to as analytical study?
22 to
    to have a particular problem.                                            22 AA· · · · · · ·IfIf by that you mean whether
                                                                                                                       whether this
23 Q                Okay. And why the
    Q· · · · · · ·Okay.·                the no part of that                  23 particular exposure causes something in an individual
24 answer?                                                                   24 or in a population,
                                                                                           population, yes. yes.
25 · · · · · · · Why do you think they could be used to                      25 QQ· · · · · · ·And
                                                                                               And that analytical studies are the type

                                                                      86                                                                   88
 1 show causation?
·1                                                                           ·11 of epidemiology that you   you used to establish a general
·2 A· · · · · · ·They
 2 A             They could be used used because -- because                   2 causation analysis?
                                                                             ·2
·3
 3 there are some very specific problems that are noticed                    ·33 · · · · · · · Do you
                                                                                                  you agree with that statement?
 4 with the particular cause.·
·4                          cause. And then ifif you you find
                                                           find that          4A
                                                                             ·4                 No.
                                                                                 A· · · · · · ·No.
·5 in a population,
 5 in    population, then that makes you very suspicious                         Q· · · · · · ·You
                                                                             ·55 Q              You don't
                                                                                                     don’t believe that analytical
                                                                                                                        analytical
·6
 6 that they're      related.
         they’re related.                                                     6 studies are used to establish cause and effect?
                                                                             ·6
·7 Q· · · · · · ·Yeah.·
 7 Q             Yeah. Do you  you agree that descriptive                    ·77 A             They can be used to do cause and effect.
                                                                                 A· · · · · · ·They
 8 studies can’t
·8              can't determine cause and effect because the                     Yes, can.
                                                                             ·88 Yes,
·9
 9 exposure and the outcome are ascertained at the same                      ·99 Q              Would you
                                                                                 Q· · · · · · ·Would   you agree with me that in order to
10 time?                                                                     10 establish a cause-and-effect relationship between an
                                                                             10
11 A
11                No. II think -- II think you
    A· · · · · · ·No.·                       you can -- you
                                                         you                 11 exposure and a disease that you
                                                                             11                                      you would need to know how
12 can very much connect. connect.· I'll
                                      I’ll take for example the              12 frequently the disease occurs in the presence of the
                                                                             12
13 Mobile explosion or whatever that happened in               in India.     13 exposure?
                                                                             13
14 There was was a cause, and  and it was an effect, and  and the whole      14 A
                                                                             14                 How frequently the disease occurs?
                                                                                  A· · · · · · ·How
15 population was affected.·
                          affected. So you knew how many                     15
                                                                             15 Q               Yeah. The incidence rate?
                                                                                  Q· · · · · · ·Yeah.·
16 millions of people were affected and         and how many                 16 A
                                                                             16                 Yeah.
                                                                                  A· · · · · · ·Yeah.
17 thousands died.                                                           17 Q
                                                                             17                  Do you have any understanding as
                                                                                  Q· · · · · · ·Do                                 as to the
18 Q·
    Q · · · · · ·Okay.·
                   Okay. What about when you’re      you're dealing          18 term "relative risk" as it applies to epidemiology?
                                                                             18
19 with an an exposure to a toxic substance over a period of                 19 A
                                                                             19                 Yes.
                                                                                  A· · · · · · ·Yes.
20 time?                                                                     20 Q                And do you know the significance of a
                                                                                  Q· · · · · · ·And
21 · · · · · · · Can a descriptive study show a
21                                                                           21
                                                                             21 confidence interval in evaluating epidemiological
22 cause-and-effect relationship?
                             relationship?                                   22 studies?
23 A              It would -- it would get more difficult.
    A· · · · · · ·It                                  difficult.             23 A               Yes.
                                                                                  A· · · · · · ·Yes.
24 It would get more messy.· messy. You would have    have toto have a lot   24 Q Q· · · · · · ·And
                                                                                                 And do you have an opinion
                                                                                                                      opinion in terms of
25 larger numbers --                                                         25 epidemiology what the relative risk has to be in order



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                                                                   89                                                                         91
                                                                                                                                              91
 1 to establish that there is a cause-and-effect
·1                                                                         1 A
                                                                          ·1 A· · · · · · ·II don’t
                                                                                               don't know what that is.  is
·2
 2 relationship between an          an exposure and a disease?            ·2
                                                                           2 Q·
                                                                             Q · · · · · ·Okay.·
                                                                                             Okay. I want to take a look at some of
·3 A·
 3 A  · · · ·  · ·You
                  You    mean   numerically?
                                numerically?                              ·3
                                                                           3 the specific studies that you       you rely upon in your
·4
 4Q                Huh?
   Q· · · · · · ·Huh?                                                      4 report.·
                                                                          ·4 report. And I think maybe the best way to do it is
·5 A· · · · · · ·II sure don't.·
 5 A                      don’t. II don’t.
                                     don't.                               ·5
                                                                           5 for
                                                                             for me to just mark them individually as they come up.
·6 Q· · · · · · ·Okay.·
 6 Q               Okay. If If you have a relative risk of                ·6
                                                                           6 So let’s
                                                                                   let's mark this as Exhibit 3.       3.· This is your own H01
                                                                                                                                             HO1
 7 2.0 with the proper confidence interval, do you know
·7                                                                        ·7
                                                                           7 study.
·8
 8 what the next step would be in             in order to establish the    8 · · · · · · · · · ·(Exhibit
                                                                          ·8                    (Exhibit Number 3 was  was
·9
 9 statistical      association      between     exposure and a disease   ·9
                                                                           9 · · · · · · · · · ·marked
                                                                                                marked   for  identification.)
10 for a causal analysis?                                                 10 Q· · · · · · ·I'mI’m going toto hand that to   to you for you to
11 A
11  A· · · · · · ·II think it would
                              would be -- no, I don’t.
                                                    don't. II             11 look at, and I want
                                                                          11                       want toto ask you some questions about
12 shouldn’t
    shouldn't say II know it.    it.· No,
                                      No, II don't.
                                             don’t.                       12 that study.
13 Q·
    Q · · · · · ·AreAre you
                         you familiar with the Bradford Hill      Hill    13 · · · · · · · You are listed
                                                                                                       listed as a coauthor of that
14 criteria?                                                              14 study; correct?
15 AA· · · · · · ·No.
                    No.                                                   15 A A· · · · · · ·Yes.
                                                                                             Yes.
16 Q·
    Q · · · · · ·Do Do -- strike that.                                    16 Q· · · · · · ·There
                                                                                              There are a lot of other authors
                                                                                                                             authors on this
17 · · · · · · · Have you ever heard of the term       term "odds         17 study as well.
18 ratio" in  in the
                   the context of epidemiology?
                                       epidemiology?                      18 · · · · · · · Would you agree with that?
19 AA· · · · · · ·Yes.
                   Yes.                                                   19 A A· · · · · · ·Yes.
                                                                                             Yes.
20 Q·
    Q · · · · · ·AndAnd what does odds ratio mean in                      20 Q                Did each of y’all
                                                                               Q· · · · · · ·Did              y'all have a specific area
21 epidemiology?
21  epidemiology?                                                         21 that you
                                                                          21          you were responsible for in authoring this paper,     paper,
22 AA· · · · · · ·Kind
                    Kind of just
                             just exactly what it says,
                                                     says, what           22 or how does that work?
23 is -- that what are the odds of this happening or this                 23 A A· · · · · · ·Well,
                                                                                             Well, the -- the primary author does a
24 is related to that.·that. Except, right,
                                        right, that you’re
                                                     you're asking
                                                              asking      24 lot of the primary work and writes the paper.      paper.· The
                                                                                                                                        The
25 me questions for epidemiology but generically related                  25 senior author, that's           that would be me,
                                                                                                   that’s -- that              me, oversees

                                                                   90                                                                         92
·11 to populations,
       populations, not -- not -- epidemiology doesn't
                                                     doesn’t               1 the whole project.
                                                                          ·1                 project.· And the people individually
·2
 2 work ancestrally when   when you’re
                                 you're related to talking about          ·2 written over here had different areas of expertise
                                                                           2 written                                       expertise or
·3
 3 an individual.                                                         ·3
                                                                           3 contributed to it in different ways.
·4
 4 Q·
    Q · · · · · ·Well,
                  Well, that goes back to our difference                  ·4
                                                                           4QQ· · · · · · ·So
                                                                                            So you were the senior author on this
 5 between general causation
·5                          causation and
                                        and specific causation;
                                                       causation;          5 study?
                                                                          ·5
·6
 6 correct?                                                               ·6
                                                                           6AA· · · · · · ·Yes.
                                                                                            Yes
·7
 7 AA· · · · · · ·Correct.
                  Correct.                                                ·7
                                                                           7QQ· · · · · · ·Okay.·
                                                                                            Okay. You would agree with me that this
 8 Q·
·8  Q · · · · · ·And
                  And inin order to establish general                      8 is not a human epidemiological study;
                                                                          ·8                                          study; correct?
·9
 9 causation, you use epidemiology;
                               epidemiology; correct?                     ·9 A· · · · · · ·Absolutely.·
                                                                           9 A                            Yes.
                                                                                            Absolutely. Yes
10 A A· · · · · · ·Yes.
                   Yes.                                                   10 Q·
                                                                              Q · · · · · ·You
                                                                                             You would -- youyou would agree with
                                                                                                                               with me
11
11 Q               And in
     Q· · · · · · ·And   in order to establish specific                   11 it's
                                                                          11  its not?
12 causation,
     causation, first you have to have general causation.                 12 AA· · · · · · ·Yes.·
                                                                                            Yes YesYes.
13 · · · · · · · Do you
                     you agree with thatthat statement?
                                             statement?                   13 Q·
                                                                              Q · · · · · ·Looking
                                                                                             Looking on pagepage one at
                                                                                                                     at the bottom of the
14 A A· · · · · · ·Usually,
                   Usually, yes.                                          14 first paragraph under introduction it reads, "Despite
15 Q Q· · · · · · ·Well,  in order for us
                   Well, in            us to know that an                 15 the large volume of CE used in remediation, the
16 individual
     individual got lung cancer because they smoked                       16 effects on the respiratory epithelium of human and        and
17 cigarettes, we need    need to know that smoking cigarettes            17 gills of aquatic animals such     such as fish and crabs
                                                                                                                                crabs
18 can cause lung cancer; correct?                                        18 exposed
                                                                              exposed to this dispersant are largely unknown."unknown."
19 A A· · · · · · ·Yes.
                   Yes.                                                   19 · · · · · · · And CE in  in that instance, we’re
                                                                                                                        we're talking
20 Q
20   Q· · · · · · ·Okay.·
                   Okay. AreAre you
                                you familiar with The                         about Corexit; correct?
                                                                          20 about
21
21 Reference Manual on        on Scientific Evidence that’s
                                                         that's           21 A
                                                                          21  A· · · · · · ·Yes.
                                                                                            Yes
22 published by the Federal Judicial Center?
22                                                                        22 Q·
                                                                              Q   · · · · · ·And
                                                                                             And would you you agree with me that that
23 A· · · · · · ·No.
23A                No.                                                    23 statement is     is true:
                                                                                                 true:· The effects of the respiratory --
24 Q
24   Q· · · · · · ·Have   you ever read
                   Have you         read that reference                   24 on the respiratory epithelium of Corexit in humans is
25 manual?
25   manual?                                                              25 unknown?


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                                                                    93                                                                        95
·11 A               Until we wrote this paper,
    A· · · · · · ·Until                   paper, yes.
                                                  yes.                     ·11 A               That asthma that is defined by changes
                                                                               A· · · · · · ·That
 2 Q·
·2  Q · · · · · ·And      this study used
                    And this            used BEAS-2B human                  2 in permeability of the airway epithelium, which is
                                                                           ·2
·3  epithelial cells?
 3 epithelial                                                              ·33 what
                                                                               what happens in asthma,    asthma, is -- this study demonstrates
·4
 4 AA· · · · · · ·Uh-huh.
                    Uh-huh.                                                 4
                                                                           ·4  that.
 5 Q·
·5  Q · · · · · ·AndAnd you
                          you subjected
                                subjected them to various levels  levels   ·55 Q
                                                                               Q· · · · · · ·IsIs the word "asthma" in this study ever?
 6 of 9500A Corexit;
·6                  Corexit; correct?                                       6 A
                                                                           ·6                  Oh, II don’t
                                                                               A· · · · · · ·Oh,      don't know.
                                                                                                              know.· I could look it over
·7
 7A A· · · · · · ·Yes.
                   Yes.                                                    ·77 to see.
                                                                                    see.· But II don’t
                                                                                                   don't know ifif we did call
                                                                                                                            call it asthma per
·8
 8 QQ· · · · · ·   ·And
                    And I think I asked you this before,
                                                       before, but             se.· II mean, II call -- you
                                                                           ·88 se.                           you know, II think we’re
                                                                                                                                 we're getting
 9 I want to make -- make sure that I do it
·9                                                     it in this
                                                             this          ·99 -- II don't
                                                                                     don’t -- II mean,
                                                                                                  mean, maybe you’reyou're asking me that
     context.
10 context.                                                                10 question on purpose.
                                                                           10                      purpose.· But if you think about it in the
11 · · · · · · · Do you have any way of knowing
11                                                knowing if the           11 broader term of airways disease;
                                                                           11                                     disease; yes, it can cause
     levels of Corexit to which
12 levels                         which these
                                          these epithelial
                                                 epithelial cells in in    12 airways disease.·
                                                                           12                disease. And asthma is a form of        of airways
13 the study were exposed to has           has any correlation to the      13 disease.
                                                                           13   disease.· And asthma is characterized by changes in
     levels of Corexit that were
14 levels                            were found in in the Gulf of          14 permeability of the respiratory epithelium.
                                                                           14                                            epithelium.
15 Mexico?                                                                 15
                                                                           15 Q Q·   · · · · ·  I’m
                                                                                               ·I'm  --  I’m
                                                                                                        I'm  not trying  to fence with you.you.
16 A A· · · · · · ·II think that the levels of Corexit
                                                Corexit that               16 · · · · · · · I really want to know the answer to the
                                                                           16
17 were found in the Gulf of Mexico would       would be very              17 question.
                                                                           17   question.
     variable.· So II don't
18 variable.              don’t know what they were there                  18
                                                                           18 A A· · · · · · ·Okay.
                                                                                                Okay.
19 because they were -- like       like when
                                        when it was sprayed up in          19 Q
                                                                           19                   And it’s
                                                                                Q· · · · · · ·And      it's a simple question.
                                                                                                                       question.
20
20   the  air,  it  was   a lot and  very concentrated.·
                                          concentrated. When it            20 · · · · · · · Does this study purport to demonstrate
21
21 got into the water, it probably got diluted. diluted.· But we           21
                                                                           21 that asthma can be caused in a human being by exposure
22 used
22   used a very dilute amount of Corexit. Corexit.                        22 to Corexit?
23 Q
23   Q· · · · · · ·And
                    And I appreciate that.that.                            23 A                 This study attempted to show that the
                                                                                A· · · · · · ·This
24
24 · · · · · · · I guess then then that -- your answer would would              pathological changes that are seen
                                                                           24 pathological                               seen in
                                                                                                                               in asthma can be
25 be, no, you
25               you don’t
                        don't know the different levels?                   25 caused
                                                                                caused by exposure to Corexit.

                                                                    94                                                                        96
 1
·1 A
   A· · · · · · ·II do not know the different levels.                      ·11 Q              In epithelial
                                                                               Q· · · · · · ·In  epithelial cells; correct?
·2
 2 Q·              Okay. And would it also be fair to say
   Q · · · · · ·Okay.·                                                      2 A
                                                                           ·2                Yes. In
                                                                               A· · · · · · ·Yes.·  In the -- in the airway of the epi
 3
·3 that you       don’t know if the levels of Corexit in this
           you don't                                                       ·33 -- of -- yeah.·
                                                                                         yeah. Which are lined by epithelial
                                                                                                                        epithelial cells.
 4
·4 study correlate to any of the levels of Corexit that                     4 Q
                                                                           ·4                 But not asthma;
                                                                               Q· · · · · · ·But        asthma; just changes
                                                                                                                        changes in
·5
 5 Mr. Maas may have been exposed to?                                      ·55 epithelial cells?
 6
·6 · · · · · · · Is that correct?                                           6 · · · · · · · MR. BURGER:·
                                                                           ·6                     BURGER: Object to the form. form.
 7 A
·7                Correct.
   A· · · · · · ·Correct.                                                  ·77A              Yeah.
                                                                               A· · · · · · ·Yeah.
 8 Q·
·8 Q · · · · · ·Would
                  Would you  you agree with
                                        with me that this study            ·88QQ· · · · · · ·II mean, I've         this paper --
                                                                                                        I’ve read this
 9 can't
·9 can’t be used to demonstrate any sort of causal nexus          nexus    ·99A              Yeah.
                                                                               A· · · · · · ·Yeah.
10 between exposure to Corexit and           and asthma
                                                   asthma in a human       10
                                                                           10   Q              -- and I can't
                                                                                Q· · · · · · ·--         can’t -- I can't
                                                                                                                     can’t find in the
11 being?
11                                                                         11
                                                                           11   conclusion that talks   talks about -- anything about asthma.
                        BURGER: Object to
12 · · · · · · · MR. BURGER:·                 to form.
                                                 form.                     12
                                                                           12   And I'm I’m just
                                                                                              just asking you if there’s
                                                                                                                      there's something in this
                                                                                                                                              this
13 A               Can you
    A· · · · · · ·Can    you repeat that
                                      that statement.
                                           statement.                      13
                                                                           13   paper about asthma that you can          can point me to that will
14 Q                Sure. Would
    Q· · · · · · ·Sure.·     Would you -- Is it fair to say                14
                                                                           14   demonstrate a causal nexus between exposure to Corexit
                                                                                demonstrate
15 that this study can't    can’t be used to demonstrate a causal
                                                                causal     15
                                                                           15   and asthma in a human    human being, and I can’tcan't find it.
16 nexus
    nexus between
               between exposure
                             exposure to Corexit and the development       16
                                                                           16   · · · · · · · And so does it exist, or does it not
17 of asthma
        asthma in     in a human individual?                               17
                                                                           17   exist in this paper?
18 AA· · · · · · ·II think yes
                            yes and
                                 and no
                                     no because
                                        because -- no because              18
                                                                           18   A              Well, yeah, there is a -- here.·
                                                                                A· · · · · · ·Well,                         here. Okay.
19 I’m
    I'm not studying a human in this study.·  study. Yes because
                                                         because           19
                                                                           19   Here we go.·  go. If you
                                                                                                     you look at this
                                                                                                                    this page 11
                                                                                                                               11 of
                                                                                                                                  of 16, we say
20
20 the short -- we demonstrated the changes in                             20   respiratory illnesses such as asthma   asthma or chronic
21 permeability in the respiratory epithelium, and that’s
21                                                          that's         21
                                                                           21   obstructive pulmonary disease, the consequences of CE
22
22 what happens in        in asthma.
                             asthma.                                       22   exposure on bronchial
                                                                                                   bronchial epithelial
                                                                                                              epithelial cells may not
23
23 QQ· · · · · · ·SoSo -- but you
                                you would agree
                                             agree with me that            23   directly lead
                                                                                            lead to inflammation
                                                                                                     inflammation but may also exacerbate
                                                                                                                                     exacerbate
24 nowhere in this study does it talk about that asthma
24                                                                         24   the symptoms of preexisting respiratory illnesses such
25
25 can
    can be caused by Corex -- by exposure to Corexit?                      25   as asthma and COPD.



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                                                                       2021
                                                                    97                                                                        99
 1 Q
·1 Q· · · · · · ·SoSo it doesn't
                           doesn’t cause asthma, but it may                 1 A
                                                                           ·1               -- "is of low acute toxicity to
                                                                              A· · · · · · ·--                           to most
·2
 2 exacerbate asthma?                                                      ·2 species, although embryo and larval stages are more
                                                                            2 species,
 3 · · · · · · · Is that
·3                    that what that reads?                                 3 sensitive."
                                                                           ·3
 4 A
·4                This says that it is possible
   A· · · · · · ·This                   possible that it                    4 Q
                                                                           ·4 Q· · · · · · ·DoDo you
                                                                                                  you agree with that statement that
 5 may exacerbate asthma.·
·5                           asthma. But --                                 5 9527 is of
                                                                           ·5             of low acute toxicity to most species?
                                                                                                                              species?
·6 Q· · · · · · ·It
 6 Q               It may, or it may not?                                  ·6 A· · · · · · ·II will
                                                                            6 A                will assume -- in this paper, yes.·
                                                                                                                              yes. In
 7 A
·7 A· · · · · · ·ItIt may, or it may not.
                                       not.· Yes.
                                             Yes.                           7 this data
                                                                           ·7       data for ASA, yeah. yeah.
·8 Q· · · · · · ·Okay.
 8 Q               Okay.                                                   ·8 Q· · · · · · ·If
                                                                            8 Q               If you turn to
                                                                                                           to the next page,
                                                                                                                        page, page 1226.
                                                                                                                                     1226.
 9 A·
·9 A · · · · · ·But     it's possible that it would.
                  But it’s                    would.                       ·9 A·
                                                                            9 A  · · · · · ·(Witness
                                                                                             (Witness    complies.)
10 Q                Are you aware -- and
    Q· · · · · · ·Are                    and I guess the answer            10 Q·
                                                                           10  Q · · · · · ·AndAnd it's
                                                                                                     its in the, I guess, third
11 is no because you
11                               haven’t read the reference manual --
                            you haven't                                    11 paragraph;
                                                                           11  paragraph; the one that starts by the word
12 but what the     the reference manual says about in vitro               12 "Extrapolating."
                                                                           12
13 studies and    and correlation to causation in    in a human
                                                          human being?     13 A
                                                                           13                 Uh-huh.
                                                                               A· · · · · · ·Uh-huh.
14 · · · · · · · You haven't
                         haven’t read the reference manual --              14 Q·
                                                                           14  Q · · · · · ·A  A couple of sentence down there'sthere’s a
15 AA· · · · · · ·No,
                    No, II haven't.
                           haven’t.                                        15
                                                                           15  sentence        that  begins   "Under  current  dispersant-use
16 QQ· · · · · · ·---- you don’t
                              don't know what it says?                     16 guidelines"?
                                                                           16
17 A                No. But I would imagine that it gets
    A· · · · · · ·No.·                                                     17 A
                                                                           17                 Uh-huh.
                                                                               A· · · · · · ·Uh-huh.
18 more difficult.                                                         18 Q·
                                                                           18  Q · · · · · ·AndAnd it reads "Under current
19 Q                Let’s look at the next study, which I
    Q· · · · · · ·Let's                                                    19 dispersant-use guidelines that exist in the United
                                                                           19
20 somehow have misplaced.·   misplaced. That's
                                           That’s not supposed to          20 Kingdom and elsewhere, dispersant concentrations are
21
21  happen.                                                                21 unlikely to
                                                                           21               to be sufficiently high to cause harm to
22 · · · · · · · Let's
                  Las mark this as Exhibit 4 I believe.
                                                     believe.              22 aquatic organisms within     within open waters."
23 · · · · · · · · · ·(Exhibit
                       (Exhibit Number 4 was                               23 · · · · · · · Do you agree with that statement?
                                                                                                                        statement?
24 · · · · · · · · · ·marked
                       marked for identification.)                         24 A· · · · · · ·No.
                                                                           24A                No.
25 QQ· · · · · · ·This
                    This is the second -- or one of the                    25 Q·
                                                                               Q · · · · · ·You
                                                                                              You do do not agree with that statement?

                                                                    98                                                                       100
                                                                                                                                             100
·11 other studies, the ten.    ten.· It’s
                                     It's entitled "Comparative             1 A
                                                                           ·1               No. Because I think that this statement
                                                                              A· · · · · · ·No.·
·2
 2 Toxicity of Two Oil Dispersants,
                                Dispersants, Superdispersant-25            ·2
                                                                            2 is -- this is in the discussion
                                                                                                       discussion of the paper.·
                                                                                                                             paper. So a
·3
 3 and Corexit 9527."                                                      ·3
                                                                            3 discussion of a paper usually goes -- gives the pros
·4
 4 · · · · · · · Now, that’s
                        that's not the same type of Corexit                ·4
                                                                            4 and the cons.·
                                                                                          cons. And it's  its not really am
                                                                                                                          am II supposed to
·5
 5 that you used  used inin your study;
                                   study; correct?                          5 agree with this
                                                                           ·5                   this statement;   its just making a point.
                                                                                                     statement; it's
·6
 6 AA· · · · · · ·True.
                  True                                                     ·6
                                                                            6 Q·
                                                                              Q · · · · · ·Well,
                                                                                            Well, would you   you agree with me that this
·7
 7 Q·
    Q · · · · · ·But
                  But it is a type of Corexit that at some                 ·7
                                                                            7 study doesn’t
                                                                                        doesn't address the issue of asthma?
 8 point they used in
·8                          in Deepwater Horizon cleanup.
                                                        cleanup.            8 A
                                                                           ·8               No, it does not.
                                                                              A· · · · · · ·No,             not.
·9
 9 · · · · · · · Do you agree with with that?                              ·9
                                                                            9 Q·
                                                                              Q · · · · · ·And
                                                                                            And it doesn't
                                                                                                       doesn’t attempt to suggest that
10 AA· · · · · · ·Yes.
                   Yes.                                                    10 Corexit can  can cause asthma?
11 Q· · · · · · ·Would
11                 Would you agree with me that this study     study       11 A
                                                                           11                Its a study in ocean creatures.
                                                                               A· · · · · · ·It's                       creatures.
12 is not an epidemiological study on human health                         12 Q·
                                                                               Q · · · · · ·Doesn't
                                                                                              Doesn’t suggest that Corexit can       can cause
13 effects and   and causation
                       causation of adverse health effects in      in      13 any health
                                                                                     health effects in     in humans; correct?
14 humans?                                                                 14 AA· · · · · · ·ItIt doesn’t
                                                                                                  doesn't talk about humans at all.  all.
15 AA· · · · · · ·True.
                   True.                                                   15 Q·
                                                                               Q · · · · · ·And            wouldn't use this
                                                                                             And you wouldn’t                this study as the
16 Q· · · · · · ·IfIf you turn to page
                                     page 1225.                            16 basis of a general general causation opinion that Corexit can    can
17 AA· · · · · · ·(Witness
                   (Witness complies.)                                     17 cause asthma
                                                                                         asthma in    in a human being; correct?
18 Q· · · · · · ·II guess I’m I'm in
                                  in the -- the right column               18 AA· · · · · · ·True.
                                                                                             True.
19 down
    down about, I guess, a fourth of the way that’s        that's -- the   19 · · · · · · · MR. MCLEOD:·
                                                                                                    MCLEOD: II would like  like to blame
20 sentence that starts after the 32 in
20                                               in brackets.              20 somebody else for these being out of order, but I did
21
21 · · · · · · · Do you -- do you see that?   that?· It starts
                                                        starts             21 it myself.·
                                                                           21    myself. So it has --
22 "In
22  "In general"?                                                          22 · · · · · · · MR. JARVIS:
                                                                                                    JARVIS:· II didn't
                                                                                                                 didn’t do it to you.
23 A
23  A· · · · · · ·Yes.·
                   Yes. "the
                           the reviewed data show that                     23 · · · · · · · MR. MCLEOD:·
                                                                                                    MCLEOD: -- to be my fault.
24 Corexit 9527" -- that one?
24                                                                             Q · · · · · ·II apologize,
                                                                           24 Q·                 apologize, Dr. Anthony.
25 Q· · · · · · ·Yes.
25                 Yes.                                                    25 AA· · · · · · ·It's
                                                                                             It’s all right.


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                                                                    101                                                                    103
                                                                                                                                           103
 1 · · · · · · · (Discussion
·1               (Discussion off the record.)                                1 A
                                                                            ·1                 Right
                                                                               A· · · · · · ·Right.
·2 Q· · · · · · ·Let's
 2 Q               Las mark this as our next exhibit.
                                                    exhibit.                 2 Q·
                                                                            ·2 Q · · · · · ·AndAnd youyou wouldn't     use this
                                                                                                            wouldn’t use   this study to form
 3 · · · · · · · · · ·(Exhibit
·3                    (Exhibit Number 5 was                                 ·3
                                                                             3 the   basis      of  an  opinion   that Corexit  can cause asthma
 4 · · · · · · · · · ·marked
·4                    marked for identification.)                            4 in
                                                                            ·4 in human beings.
·5 Q· · · · · · ·Dr.
 5 Q               Dr. Anthony, I've
                                   I’ve handed you another one               5 · · · · · · · Is that also
                                                                            ·5                          also correct?
·6
 6 of the studies.
              studies.· This
                          This is entitled
                                   entitled "Evaluation of                  ·6 A· · · · · · ·II would not.
                                                                             6 A                         not.· Yeah.
 7 Pulmonary and Systemic Toxicity of Oil Dispersant
·7                                                                           7 · · · · · · · MR. MCLEOD:·
                                                                            ·7                       MCLEOD: Lets mark this  this as the next
·8
 8 (Corexit EC9500A) Following Acute Repeated      Repeated Inhalation       8 exhibit.
                                                                            ·8
·9 Exposure."·
 9 Exposure."          And  this is  one  of the studies  that you           9 · · · · · · · · · ·(Exhibit
                                                                            ·9                    (Exhibit Number 6 was
10 cited
    cited in your expert report.                                                                   marked for identification.)
                                                                            10 · · · · · · · · · ·marked
11 · · · · · · · On page
11                     page one the first sentence under                    11 Q· · · · · · ·Doctor,
                                                                            11                  Doctor, this is a -- I believe an an
12 results,
    results, it reads "No significant alterations in                        12 article that appeared in Science Daily.·      Daily. And if I’m
                                                                                                                                            I'm
13 airway reactivity were observed  observed at one
                                                  one or seven days         13 not mistaken,
                                                                                       mistaken, it came -- the date on this is April
14 after exposure either in baseline values or following   following        14 2nd, 2015.
                                                                                        2015.· It  It came          UAB. And you are actually
                                                                                                      came from UAB.·
15 methacholine
    methacholine inhalation challenge."                                     15 quoted in         this article.
                                                                                             in this    article.
16 A                Uh-huh.
    A· · · · · · ·Uh-huh.                                                   16 · · · · · · · Do you -- do you   you remember this article
17 Q                Does that sentence mean that after
    Q· · · · · · ·Does                                                      17 at all?
18 exposure there was      was no effect on  on the
                                                the airway reactivity,      18 AA· · · · · · ·Maybe,
                                                                                               Maybe, yes.yes
19 no alterations, no     no significant alterations?                       19 Q· · · · · · ·AndAnd if you
                                                                                                         you look if you
                                                                                                                       you want to see your
20 A               At one to seven days; yes, it does.
    A· · · · · · ·At                                                        20 quote, or one of your quotes --
21
21 QQ·   · · · · · ·Okay.·
                    Okay. And if you turn to the -- to the                  21
                                                                            21 A               Yeah.
                                                                                A· · · · · · ·Yeah.
22 next page under Conclusions, it says,        says, "In summary           22 Q· · · · · · ·-- -- it's
                                                                                                   its in about the fourth paragraph
23 acute repeated exposure to COREXIT     COREXIT EC9500A did not           23 down.·
                                                                                down. It    It starts,
                                                                                                starts, "There are some 48,000 workersworkers
24 alter pulmonary function, lung       lung injury/inflammation,           24 involved in the cleanup operations."
25 systemic immune responses, or vascular       vascular tone, but did      25 · · · · · · · You would agree with    with me that this isis not

                                                                    102                                                                    104
                                                                                                                                           104
·11 cause transient chronotropic effects on cardiac                         ·1
                                                                             1 an epidemiological study?
·2
 2 function."                                                                2 A
                                                                            ·2               This is not.
                                                                               A· · · · · · ·This       not.· No.
                                                                                                              No.
·3
 3 · · · · · · · Would
                 Would you agree with me that in        in that             ·3 Q· · · · · · ·That's
                                                                             3 Q             That’s just an article in in --
 4 conclusion,
·4  conclusion, the authors of this paper are concluding                    ·4 A·
                                                                             4 A  · · · · · ·It's
                                                                                             It’s   a con --
·5                   repeated exposure to Corexit did
 5 that acute repeated                                    did not alter      5 Q
                                                                            ·5               -- Science
                                                                               Q· · · · · · ·--    Science Daily?
·6
 6 any sort of pulmonary function?                                          ·6 A· · · · · · ·It's
                                                                             6 A             It’s a conversation between me and   and the
·7
 7A A· · · · · · ·Yes.
                  Yes.                                                      ·7 person who called
                                                                             7 person              called me,
                                                                                                          me, the reporter.
 8 Q
·8                You would agree with me that this study
    Q· · · · · · ·You                                                       ·8               Okay. This article or -- or
                                                                               Q· · · · · · ·Okay.·
                                                                             8 Q
·9
 9 is really not a human epidemiological study;         study; correct?     ·9
                                                                             9 conversation doesn’t   doesn't address asthma at all; correct?
                                                                                                                                        correct?
10 A               Its in
     A· · · · · · ·It's       its in
                        in -- it's in rats.                                 10 AA· · · · · · ·ItIt seems to express -- no,
                                                                                                                        no, it doesn’t
                                                                                                                               doesn't
11 Q·
11   Q · · · · · ·It's
                   It’s rats.                                               11 use the word "asthma."
                                                                            11
12 · · · · · · · The authors
                         authors conclude that, at least in   in            12 Q·
                                                                                Q · · · · · ·Okay.
                                                                                              Okay.
13 their study on these rats, that there was no cause of                    13 AA· · · · · · ·ItIt says, "Cough,
                                                                                                         "Cough, shortness of breath
                                                                                                                                breath and
14 effect between exposure to             to Corexit
                                             Corexit and lung diseases
                                                                diseases    14 sputum production" --
15 inin these rats; is that correct?                                        15 Q·
                                                                                Q · · · · · ·Okay.
                                                                                              Okay.
16 A A· · · · · · ·They    were exposed
                   They were       exposed -- yes.
                                               yes.· Yes.
                                                     Yes.· That’s
                                                           That's           16 AA· · · · · · ·--   were the symptoms.
                                                                                              -- were         symptoms.
17 what they are say --                                                     17 Q·
                                                                                Q · · · · · ·But
                                                                                              But really you’re
                                                                                                             you're sort of talking about
18 Q·Q · · · · · ·That's
                   That’s what these authors are saying?  saying?           18 your results from your HO1         H01 paper;
                                                                                                                      paper; is that -- is that
                                                                                                                                           that
19 A A· · · · · · ·Uh-huh.
                   Uh-huh.                                                  19 right?
20 Q·              And this study is really not addressing
     Q · · · · · ·And                                                       20 AA· · · · · · ·That's    what they were
                                                                                              That’s what          were calling me
                                                                                                                                me about.
21 the issue of asthma in
21                                  in human beings;
                                               beings; correct?             21
                                                                            21 But they were were trying to extrapolate that work to
22 A A· · · · · · ·True.
                   True.                                                    22 finding out why people were complaining
                                                                                                                     complaining of side
23 Q·Q · · · · · ·And
                   And it certainly doesn't
                                          doesn’t conclude that             23 effects post exposure.
24 asthma can be caused by exposure to                to Corexit; is that   24 Q·
                                                                                Q · · · · · ·Okay.·
                                                                                              Okay. This -- this article doesn’t
                                                                                                                              doesn't
25 correct?                                                                 25 exist to show any --


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                                                                     105                                                                    107
                                                                                                                                            107
 1 A
·1                 Cause and
   A· · · · · · ·Cause     and effect.                                        ·1                And we talked
                                                                                 Q· · · · · · ·And
                                                                               1 Q                         talked earlier about, you     know,
                                                                                                                                     you know,
·2 Q· · · · · · ·--
 2 Q               -- cause and
                              and effect between Corexit and                   2 some of the problems with using a cross-sectional
                                                                              ·2                                                  cross-sectional
 3 asthma expo -- exposure to Corexit and asthma;
·3                                                         asthma; is that     3 study to establish causation.
                                                                              ·3                            causation.
 4 correct?
·4                                                                             4 · · · · · · · Do you know if this study addresses the
                                                                              ·4
·5 A· · · · · · ·It
 5 A                        not.
                   It does not.                                                5 type of dispersant that was used in the cleanup, if
                                                                              ·5
·6 Q· · · · · · ·Okay.·
 6 Q                        Let's mark this as the
                   Okay. Let’s                      the next                   6 any dispersant at all was used in
                                                                              ·6                                            in the cleanup?
 7 exhibit.
·7                                                                            ·7 A· · · · · · ·Of
                                                                               7 A              Of the Prestige oil spill?
·8
 8 · · · · · · · · · ·(Exhibit
                       (Exhibit Number 7 was                                  ·8
                                                                               8Q               Yes.
                                                                                 Q· · · · · · ·Yes.
·9
 9 · · · · · · · ·  · ·marked
                       marked for identification.)
                                    identification.)                          ·9 A· · · · · · ·II think these were people who were --
                                                                               9 A
10 Q                 Doctor, this is another one of your
    Q· · · · · · ·Doctor,                                                     10 that worked in the area, but II don't  don’t think there was a
11 reliance
11  reliance articles.
                   articles.· It’s
                               It's entitled "Persistent                      11 dispersant used.
                                                                              11
12 respiratory symptoms in            in clean-up workers
                                                     workers 5 years
                                                                years after   12 Q·
                                                                                  Q · · · · · ·II guess my -- my point in     in -- in asking
                                                                                                                                       asking
13 the Prestige oil spill." spill."                                                       question is:·
                                                                              13 that question         is: Because we don’tdon't know the type of
14 · · · · · · · I -- I guess         initial question is:
                         guess my initial                is:                  14 dispersant that was used, this is not a paper that we
15 Did you read any of the -- of             the
                                          of the other  prestige  oil         15 can use use to -- to demonstrate
                                                                                                          demonstrate that exposure to Corexit
16 spill studies,
             studies, or was this the only one     one that you               16 can cause asthma in a human population;    population; is that
17 reviewed?
    reviewed?                                                                 17 correct?
18 AA· · · · · · ·This
                    This is the
                            the only one that II reviewed.
                                                  reviewed.                   18 AA· · · · · · ·II think that’s
                                                                                                         that's a right statement.
                                                                                                                        statement.
19 Q                 Okay. And
    Q· · · · · · ·Okay.·     And when you look at this study,                 19 However, this is a large --      -- large study and was follow
20 would
    would you agree with me that this study is addressing                     20 -- 400 -- five -- almost 500 people over who were
21
21 an oil spill off the coast of Spain?                                       21 involved in the cleanup
                                                                              21                       cleanup of the oil spill,
                                                                                                                            spill, and they had
22 A                 Uh-huh.
    A· · · · · · ·Uh-huh.                                                     22 persistent symptoms,
                                                                                                  symptoms, pulmonary symptoms, after the oil
23 QQ· · · · · · ·AndAnd would
                          would you agree with me that this is                    spill.
                                                                              23 spill.
24 not dealing with the      the same type type of oil that was
                                                             was present      24 Q·               Well --
                                                                                  Q · · · · · ·Well
25 in the Deepwater Horizon    Horizon spill?
                                          spill?                              25 AA· · · · · · ·466
                                                                                                 466 fishermen.

                                                                     106                                                                    108
                                                                                                                                            108
·11 A              Same type of oil?
    A· · · · · · ·Same                                                        ·1                 Well, let's
                                                                                 Q· · · · · · ·Well,
                                                                               1 Q                       let’s look an
                                                                                                                     an Table 11 on page 510.
                                                                                                                                         510.
 2 Q·
·2  Q · · · · · ·Right.·
                    Right. Well --                                             2 A
                                                                              ·2                 (Witness complies.)
                                                                                 A· · · · · · ·(Witness
·3
 3 AA· · · · · · ·II don't
                     don’t know that.
                                  that.                                       ·3 Q· · · · · · ·And
                                                                               3 Q               And they -- they have a table there.
·4
 4 QQ· · · · · · ·Yeah.
                   Yeah.                                                      ·4
                                                                               4 · · · · · · · And     so they -- they have the incidence
 5 A
·5                Were the molecules
    A· · · · · · ·Were        molecules the same?
                                                same?· II don't
                                                          don’t                5 of asthma in exposed persons at seven percent.
                                                                              ·5
 6 know that.
·6          that.· II mean, it’s
                              it's crude oil; right?                          ·6
                                                                               6 · · · · · · · Do you see that?
 7 Q·
·7  Q · · · · · ·Well,
                   Well, are you aware that there are                         ·7 A· · · · · · ·Uh-huh.
                                                                               7 A               Uh-huh.
 8 different types
·8                types of crude oil?                                          8 Q
                                                                              ·8                 And they have the incident of asthma
                                                                                 Q· · · · · · ·And                                   asthma in
·9
 9A A· · · · · · ·Yes.
                  Yes.                                                        ·9
                                                                               9 non-exposed persons at 10 percent.
10 QQ· · · · · · ·Okay.·
                     Okay. And that the --                                    10 · · · · · · · Do you you see
                                                                                                            see that?
11 A
11  A· · · · · · ·ItIt was
                       was a boat.
                             boat.· Yeah.                                     11 A
                                                                              11                  Ever asthma?
                                                                                   A· · · · · · ·Ever
12 QQ· · · · · · ·AndAnd this -- this type of oil waswas                      12 Q·Q · · · · · ·Right.
                                                                                                  Right.
13 something called Bunker 2 Fuel Oil,           Oil, and it's
                                                           it’s different     13 A A· · · · · · ·Is              you're looking
                                                                                                  Is that what you’re   looking at?
    than the Macondo
14 than             Macondo Oil in                        Horizon spill.
                                    in the Deepwater Horizon                  14 Q·               Yeah. Yes.
                                                                                   Q · · · · · ·Yeah.·
15 · · · · · · · Do you know that?                                            15 A A· · · · · · ·Yeah.
                                                                                                  Yeah.
16 AA· · · · · · ·Yes.·
                    Yes. I --                                                 16 Q·Q   · · · · · ·And
                                                                                                  And so I'm I’m looking at the exposed
                                                                                                                                 exposed
17 Q                 Okay.
    Q· · · · · · ·Okay.                                                       17 population, and it says       says the incidence would be seven
18 AA· · · · · · ·II know the name of the oil that was in                     18 percent --
19 the Deepwater Horizon spill.     spill.                                    19 A A· · · · · · ·Right.
                                                                                                  Right.
20 Q
20  Q· · · · · · ·Okay.
                     Okay.                                                    20 Q·Q · · · · · ·---- in
                                                                                                     in the exposed.
21
21 A                Yes.
    A· · · · · · ·Yes.                                                        21
                                                                              21 A                Yeah.
                                                                                   A· · · · · · ·Yeah.
22 Q
22  Q· · · · · · ·AndAnd would you you agree with me that this  this is       22 Q·Q · · · · · ·But
                                                                                                  But it's
                                                                                                        it’s ten percent --
23 -- this -- this Prestige oil spill
23                                      spill study,
                                              study, the one
                                                          one that            23 A A· · · · · · ·Right.
                                                                                                  Right.
24
24 you’ve
    you've cited, is a cross-sectional study?                                 24 Q·Q · · · · · ·---- in
                                                                                                     in the non-exposed.
25 A
25  A· · · · · · ·Yes.
                    Yes.                                                      25 A A· · · · · · ·Right.
                                                                                                  Right.


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                                                                    109                                                                       111
                                                                                                                                              111
    Q· · · · · · ·Do
·11 Q               Do you see that?                                         1 exhibit.
                                                                            ·1 exhibit.
·2
 2 AA· · · · · · ·Right.·
                   Right. Right.                                             2 · · · · · · · · · ·(Exhibit
                                                                            ·2                     (Exhibit Number 8 was
·3
 3 QQ· · · · · · ·SoSo that suggests -- or would would you agree            ·3
                                                                             3 · · · · · · · · ·  ·marked
                                                                                                   marked for identification.)
 4 with me that that suggests that there are no greater
·4                                                                           4 Q·
                                                                            ·4                 Doctor, this is a study entitled
                                                                               Q · · · · · ·Doctor,
 5 incidence of asthma in
·5                                  in exposed persons than there is         5 "Respiratory, Dermal,
                                                                            ·5                        Dermal, and Eye Irritation Symptoms
                                                                                                                                      Symptoms
 6 in non-exposed
·6     non-exposed person's?   person’s?                                    ·6 Associated with
                                                                             6 Associated           with Corexit EC9527A" and "EC9500A
·7
 7 AA· · · · · · ·II think
                     think this is the baseline.                             7 following the" DWH,
                                                                            ·7                         DWH, "Deepwater Horizon
                                                                                                                             Horizon Oil Spill:
                                                                                                                                         Spill:
·8
 8 QQ· · · · ·  ·  What
                  ·What      do you mean by that?                            8 Findings from the GuLF STUDY."
                                                                            ·8                                    STUDY."
·9
 9 AA· · · · · ·  ·This
                   This before -- this is before -- this
                          is                                                 9 · · · · · · · Are you
                                                                            ·9                      you familiar with the Gulf Study?
10 is the demographic and respiratory health                                10 A               Uh-huh.
                                                                                 A· · · · · · ·Uh-huh.
11 characteristics of the study population of -- prior to
11                                                                          11 Q
                                                                            11                  And would you agree with
                                                                                 Q· · · · · · ·And                         with me that there
12 the exposure; right?    right?                                           12 have been several studies that have come out of this
13 Q·
    Q · · · · · ·Well,       no.· Because they’ve
                     Well, no.               they've broken it up           13 Gulf Study population?
14 between exposed persons and non-exposed       non-exposed persons.       14 A               Yes.
                                                                                 A· · · · · · ·Yes.
15 · · · · · · · You
                   You see the -- the two categories?                       15 Q Q· · · · · · ·Have
                                                                                                 Have you reviewed any of the other
16 AA· · · · · · ·Yes.·
                    Yes. Yes.Yes.· Yes.
                                    Yes.· ·Yes.·
                                           Yes. So they had the             16 studies that came out of the         the Gulf
                                                                                                                         Gulf Study population
17 same amount of asthma, II agree        agree seven
                                                 seven to ten percent       17 besides this one?     one?
18 difference.·
    difference. And    And this
                              this one says that they
                                                   they -- yeah.
                                                           yeah.· But       18 A A· · · · · · ·I'm
                                                                                                I’m sure II have,
                                                                                                            have, but II don't
                                                                                                                         don’t recall
19 they came to that conclusion some way.           way.· They
                                                           They had lower   19 which one per se       se right now.
20 respiratory tract symptoms, nasal       nasal symptoms.
                                                  symptoms.· Yes.
                                                               Yes.         20 Q                And would you agree with
                                                                                 Q· · · · · · ·And                         with me that this is
21 What you just said is true that the exposed people had
21                                                                          21 a cross-sectional study,
                                                                            21                              study, which we’ve
                                                                                                                           we've talked about you
                                                                                                                                                you
22 seven percent,
               percent, and the non-exposed people    people had ten
                                                                  ten            can't use those to establish
                                                                            22 can’t                         establish causation between
23 percent of --                                                            23 exposures and disease processes.
24 Q·
    Q · · · · · ·So  So base.                                               24 · · · · · · · Would you agree with that?
25 AA· · · · · · ·--             having had asthma.·
                    -- of ever having         asthma. However,              25 A A· · · · · · ·II said
                                                                                                  said that they were occasions where

                                                                    110                                                                       112
                                                                                                                                              112
 1 there were
·1         were allall these other symptoms that they had --                 1 you would have to
                                                                            ·1                       to -- depending on on time of exposure
                                                                                                                                    exposure and
 2 that they had that the -- this study says that they
·2                                                                          ·2
                                                                             2 then the development of disease, it may change; but
 3 did.
·3 did.· That’s          bottom line with this -- of the study
          That's the bottom                                                 ·3
                                                                             3 yes.
 4 that it says that they did end up having respiratory
·4                                                                          ·4
                                                                             4 Q·
                                                                               Q · · · · · ·And
                                                                                             And in -- and in  in this -- in this
 5 symptoms but may or may not -- that may or may not
·5                                                                          ·5
                                                                             5 study --
·6
 6 come under the    the umbrella of asthma.                                ·6 A· · · · · · ·Uh-huh.
                                                                             6 A             Uh-huh.
 7 Q
·7               Okay.
   Q· · · · · · ·Okay.                                                      ·7
                                                                             7 Q·
                                                                               Q · · · · · ·--
                                                                                             -- this -- this piece of literature;
                                                                                                                        literature;
·8 A· · · · · · ·So
 8 A             So they have -- they have an  an excess risk                8 even by its very title, they're
                                                                            ·8                               they’re not really talking
                                                                                                                                   talking
 9 of respiratory symptoms.
·9                                                                          ·9
                                                                             9 about disease
                                                                                         disease processes here.·  here. They're
                                                                                                                           They’re really talking
                                                                                                                                            talking
10 Q              But not asthma?
    Q· · · · · · ·But                                                       10 about symptoms.
11 A
11                Does the word
    A· · · · · · ·Does             "asthma"? Right.
                              word "asthma"?·    Right.· Yes.               11 · · · · · · · Would you
                                                                            11                        you agree withwith me?
12 QQ· · · · · · ·Okay.·
                  Okay. And because of that, you wouldn’t wouldn't          12 AA· · · · · · ·Yes.·
                                                                                              Yes. I think symptoms of disease
13 rely on this study to say that there's there’s an increased              13 related
                                                                                related to the eventual
                                                                                                  eventual name that you   you give this
14 incident of asthma in the exposed population versus                      14 constellation
                                                                                constellation of symptoms and     and call it a disease.
                                                                                                                                disease.
15 the non-exposed population?                                              15 QQ· · · · · · ·When
                                                                                              When I look on page two, I guess it's      its in
16 AA· · · · · · ·Of  asthma?· No.·
                  Of asthma?     No. But of symptoms that                   16 the second full   full paragraph that starts "Using
                                                                                                                                 "Using in in vitro
17 are -- make
             make up the constellation of asthma?·
                                              asthma? Yes.Yes.              17 cultures."
                                                                                cultures."
18 QQ· · · · · · ·But
                  But since we don't
                                   don’t know if Corexit waswas             18 AA· · · · · · ·Right.
                                                                                              Right.
19 used in the prestige oil spill study --                                  19 QQ· · · · · · ·That
                                                                                              That last sentence in that paragraph
20 A              Yes.
    A· · · · · · ·Yes.                                                      20 reads "We were unable to find any study of direct
21 Q
21  Q· · · · · · ·--    doesn't mean that Corexit caused
                  -- it doesn’t                                             21 effects of either 9500A or 9527A on human health."
                                                                            21
22 asthma or any    any of these respiratory symptoms; correct?correct?     22 · · · · · · · Would youyou agree withwith me that the authors
                                                                                                                                        authors
23 A              Correct.
    A· · · · · · ·Correct.                                                  23 are saying that there are no studies addressing direct
24 QQ· · · · · · ·Okay.
                  Okay.                                                     24 effects of Corexit on human health?
25 · · · · · · · MR. MCLEOD:
                       MCLEOD:· Let's
                                    Let’s mark this as the next             25 AA· · · · · · ·Yes.·               alone.· Yes.
                                                                                              Yes. Of Corexit alone.


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                                                                      2021
                                                                 113                                                                      115
·11 Q·
    Q · · · · · ·Okay.·
                  Okay. If you turn to page         six.
                                             page six.                   ·1 A· · · · · · ·(No
                                                                          1 A                  (No response.)
 2 A
·2                (Witness complies.)
    A· · · · · · ·(Witness                                               ·2 Q·
                                                                          2 Q  ·  ·  ·  ·  ·   That in order for -- to say something
                                                                                              ·That                            something
·3
 3 Q·
    Q · · · · · ·On
                  On the very bottom of the -- of the                     3 was caused by --
                                                                         ·3
·4
 4 left-hand column on page     page six --                              ·4 A· · · · · · ·Uh-huh.·
                                                                          4 A                  Uh-huh. Something.
 5 A
·5                Uh-huh.
    A· · · · · · ·Uh-huh.                                                 5 Q
                                                                         ·5 Q· · · · · · ·--   -- something, the effect needs to follow
·6
 6 Q·
    Q · · · · · ·--
                  -- the -- the sentence starts "However,                ·6       cause; correct?
                                                                          6 the cause;
·7
 7 our approach relied  relied almost entirely on    on self-reported
                                                         self-reported   ·7 A· · · · · · ·Right.
                                                                          7 A                  Right.
·8
 8  data,   which     provides   several    opportunities for bias."
                                            opportunities                ·8 Q·
                                                                          8 Q  ·  ·  ·  ·  ·  ·And
                                                                                               And inin this case,
                                                                                                             case, we don't
                                                                                                                         don’t know if these
·9
 9 · · · · · · · You agree with me that -- that the                       9 people had these symptoms prior to the oil spill or
                                                                         ·9
10 authors are acknowledging
                       acknowledging there are limitations to            10 not because we don’t         don't have any medical histories on
11 this study?
11                                                                       11 these people?
                                                                         11
12 AA· · · · · · ·Yes.
                   Yes.                                                  12 A·
                                                                             A · · · · · ·Yes.  Yes.
13 QQ· · · · · · ·And
                   And one of the limitations of this study              13 Q·
                                                                             Q · · · · · ·Okay. Okay.
14 is selection bias.                                                    14 A·
                                                                             A  ·  ·  ·  ·  ·  ·But
                                                                                                But there is -- II mean,
                                                                                                                   mean, this -- this
15 · · · · · · · Would you agree with that?    that?                     15 study says that they -- that there      there were
                                                                                                                          were several people
16 AA· · · · · · ·It's
                   Its not selection bias.
                                      bias.· II think it's
                                                      it’s               16 who complained of symptoms related         related to respiratory,
                                                                                                                                   respiratory,
17 the bias of, perhaps,
                     perhaps, the ---- the people that were              17 dermal, and eye irritation following the Deepwater
18 chosen
    chosen to say that they had a problem.·problem. Yeah.                18 Horizon
                                                                             Horizon spill and cleanup. cleanup.· That’s
                                                                                                                    That's what this study
19 QQ· · · · · · ·Well,
                   Well, in       case, it's
                          in this case,         self-reported
                                          it’s self-reported             19 says.
                                                                             says.
20
20  so   --                                                              20 Q·
                                                                             Q · · · · · ·Right.·
                                                                                                Right. But we have no idea if they    they had
21
21 A               Yes. So it is a problem of who they
    A· · · · · · ·Yes.·                                                  21
                                                                         21 prior medical history of -- prior medical issues prior
22 picked.
22  picked.· Yeah.
                 Yeah.                                                   22 to the spill;spill; correct?
23 Q
23  Q· · · · · · ·Right.·
                   Right. Well, they picked        themselves
                                         picked themselves               23 A· · · · · · ·No.
                                                                         23A                    No.
24 kind --
24                                                                       24 Q·
                                                                             Q · · · · · ·And   And we don't
                                                                                                          don’t know if they werewere smokers?
25 A
25  A· · · · · · ·Yes.
                   Yes.                                                  25 A·
                                                                             A · · · · · ·True. True.

                                                                 114                                                                      116
                                                                                                                                          116
                  -- of; correct?
    Q· · · · · · ·--
·11 Q                                                                     1 Q·
                                                                         ·1               We don't
                                                                            Q · · · · · ·We     don’t know ifif they had other medical
·2
 2 AA· · · · · · ·And
                  And then came to them and said they had                 2 problems that might also cause eye irritation or
                                                                         ·2
·3  problems.· Yes.
 3 problems.                                                              3 anything else?
                                                                         ·3                else?· We just don't    know.
                                                                                                            don’t know.
·4
 4 QQ· · · · · · ·Okay.·
                  Okay. And would you agree with me this                 ·4
                                                                          4 · · · · · · · Would   you  agree  with  me?
                                                                                                                    me?
 5 study never tried to quantify dose or exposure?
·5                                                                       ·5
                                                                          5AA· · · · · · ·Yes.
                                                                                          Yes.
·6
 6A A· · · · · · ·No.
                  No.                                                     6 Q·
                                                                         ·6 Q · · · · · ·And     that's one of the limitations -- or
                                                                                          And that’s
·7
 7 QQ· · · · · · ·No,
                  No, they didn't
                               didn’t --                                  7 some of the limitations
                                                                         ·7                    limitations of this study?
 8 A
·8                No.
    A· · · · · · ·No.                                                     8A
                                                                         ·8               Yes.
                                                                            A· · · · · · ·Yes.
·9
 9 QQ· · · · · · ·--
                  -- or, no, you don’t
                                     don't agree with me?                 9 Q·
                                                                         ·9 Q · · · · · ·Were
                                                                                          Were you aware that the EPA has a
10 A A· · · · · · ·II don’t
                      don't think they did.                              10 systematic review guideline to grade different levels
11 Q·
11                   Okay.
     Q · · · · · ·Okay.                                                  11 of epidemiological
                                                                         11       epidemiological studies as to their -- their
12 A A· · · · · · ·It's
                    Its just the spill and symptoms.
                                           symptoms.                     12 ability to be used? used?
13 Q·Q · · · · · ·So So another limitation to this study is              13 AA· · · · · · ·Yes.·
                                                                                           Yes. They change a lot with the people
14 wewe -- we have no idea what                   if any,
                                     what levels, if any, these          14 in command.
                                                                                 command.
15 people were exposed to.                                               15 QQ· · · · · · ·Well,
                                                                                           Well, are you aware that this study was was
16 · · · · · · · Would
                  Would you you agree with that?                         16 rated by the EPA guidelines -- systematic guidelines?
                                                                                                                                guidelines?
17 A               Yes.
     A· · · · · · ·Yes.                                                  17 A              I’m assuming it may have
                                                                             A· · · · · · ·I'm                    have been because it
18 Q·Q · · · · · ·And
                    And would you agree with  with me that wewe have     18 was a clinical study.
19 no information related to any of the health conditions   conditions   19 QQ· · · · · · ·Yeah.·
                                                                                           Yeah. Do you -- were you aware that it
20 of these people prior to their work in         in the Gulf            20 was rated as poor?   poor?
21
21 cleanup?                                                              21 A
                                                                         21  A· · · · · · ·Possibly.
                                                                                           Possibly.
22 A A· · · · · · ·True.
                   True.                                                 22 QQ· · · · · · ·And
                                                                                           And the reason they gave that it was
23 Q·Q · · · · · ·And
                    And we talked earlier about the                      23 rated as poor was because  because of all the bias that existed
24 significance of, in       in a -- in
                                     in a causal
                                          causal relationship,           24 in here.
                                                                                  here.
25 having the cause precede the effect; correct?      correct?           25 · · · · · · · Does that make sense to    to you that that


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                                                                     117                                                                     119
                                                                                                                                             119
·11 would cause this study to be --                                          ·1
                                                                              1 following limitations"?
·2
 2 AA· · · · · · ·Yes.
                  Yes.                                                        2 A
                                                                             ·2                Yeah.
                                                                                A· · · · · · ·Yeah.
·3
 3 QQ·  · · · · · ·--
                   -- rated as poor?                                          3 Q
                                                                             ·3 Q· · · · · · ·And
                                                                                                And -- and this is
                                                                                                                 is the -- where the --
 4 · · · · · · · This study
·4                       study does not attempt to suggest                    4 the authors of this study
                                                                             ·4                            study are
                                                                                                                  are -- are talking about
·5
 5 that Corexit causes asthma in human beings, does it?                       5 here are some of the
                                                                             ·5                          the limitations of our study; isis that
·6
 6 AA· · · · · · ·Not
                   Not at all.                                               ·6
                                                                              6 correct?
 7 Q
·7                 And you wouldn't
    Q· · · · · · ·And           wouldn’t use this study to state              7 A
                                                                             ·7                 Uh-huh.
                                                                                A· · · · · · ·Uh-huh.
 8 a general causation opinion
·8                               opinion that Corexit can cause              ·8 Q·
                                                                              8 Q    · · · · · ·And
                                                                                                And they talk about selection bias.
·9
 9  asthma       in  human     beings;    correct?                            9 · · · · · · · Do you
                                                                             ·9                   you agree?
                                                                                                       agree?
10 A                That it cannot or does not?
    A· · · · · · ·That                                                       10 A               Uh-huh.
                                                                                 A· · · · · · ·Uh-huh.
11 Q·
11   Q · · · · · ·That
                    That it -- that it cannot or does not?                   11
                                                                             11 QQ· · · · · · ·And
                                                                                                And when we talk about selection bias in
12 AA· · · · · · ·Cannot
                    Cannot or does not?  not?· No.·
                                               No. II -- yes.
                                                         yes.                12 this context, you would agree with me that that is
13 Yes, you’re
            you're right.
                       right.· Yes.
                               Yes.· II see this as a study                  13 that persons that are likely to suffer from certain
14 showing
    showing that people who were exposed to this Corexit                     14 symptoms are      are more likely to respond to the
15 oil spill
         spill and
                and the oil spill and
                                    and the cleanup had  had                 15 questionnaire and the -- and the surveys that they
16 respiratory symptoms.
                      symptoms.· That’s
                                    That's all it tells me.                  16 use?
17 Q·               Okay.
     Q · · · · · ·Okay.                                                      17 · · · · · · · Is that -- is that your understanding of
18 · · · · · · · MR. MCLEOD:
                         MCLEOD:· Let's Let’s mark this asas the next        18 selection bias in this limitation -- in this study?
19 exhibit.
    exhibit.                                                                 19 A               Yes. It would be the selection
                                                                                 A· · · · · · ·Yes.·                             bias.
                                                                                                                       selection bias.
20 · · · · · · · · · ·(Exhibit
                       (Exhibit Number 6 was  was                            20 Yeah.
21 · · · · · · · · · ·marked
21                     marked for identification.)                           21 Q
                                                                             21                 And would you also agree with me that
                                                                                 Q· · · · · · ·And
22 Q·Q · · · · · ·Doctor,
                    Doctor, this is another one of the                       22 one of the limitations that the authors have in this
23 pieces of reliance literature that you         you used in youryour       23 study is they don’t don't really address any confounding
                                                                                                                                  confounding
24 report.·
     report. It's It’s the -- entitled "The Development of                   24 factors?
25 Long-Term Adverse Health Effects in                in Oil Spill Cleanup   25 · · · · · · · Do you know what I mean mean when
                                                                                                                              when I say

                                                                     118                                                                     120
                                                                                                                                             120
 1 Workers of the
·1                   the Deepwater Horizon Offshore Drilling          Rig
                                                            Drilling Rig      1 "confounding
                                                                             ·1 "confounding factors"?factors"?
·2
 2 Disaster" by D'Andrea
                       D’Andrea andand Reddy.                                ·2 A· · · · · · ·Yes.·
                                                                              2 A                     Yes.
                                                                                               Yes. Yes.
 3 · · · · · · · You would agree with me that this is a
·3                                                                            3 Q
                                                                             ·3                They don’t
                                                                                Q· · · · · · ·They     don't deal with an occupational
                                                                                                                              occupational
 4 cross-sectional
·4 cross-sectional study?                                                     4 history here;
                                                                             ·4              here; correct?·
                                                                                                     correct? And they don’t don't address
·5
 5AA· · · · · · ·Yes.
                  Yes.                                                       ·5
                                                                              5 smoking, and they don’t     don't talk about other human health
·6 Q· · · · · · ·And
 6 Q                    we've talked
                  And we’ve     talked about,
                                        about, you know, some                 6 issues
                                                                             ·6 issues that may have     have pre-existed
                                                                                                               pre-existed the oil   oil spill.
                                                                                                                                         spill.
 7 of the -- the
·7               the problems of using
                                     using a cross-sectional
                                               cross-sectional                7 · · · · · · · Do you agree with that?
                                                                             ·7
 8 study to
·8            to determine causation.                                        ·8 A· · · · · · ·That's
                                                                              8 A                      true.
                                                                                               That’s true.
·9
 9 · · · · · · · Would youyou agree with me that we’ve
                                                     we've                    9 Q
                                                                             ·9                And would you
                                                                                Q· · · · · · ·And             you agree with me that this     this
10 talked about that?                                                        10 study doesn’t
                                                                             10             doesn't address
                                                                                                       address the issue of asthma being caused
11 A
11                 Yes.
    A· · · · · · ·Yes.                                                       11
                                                                             11 by exposure to Corexit?
12 QQ· · · · · · ·Would
                   Would you you also agree with me that this                12 A
                                                                             12                 It says they did
                                                                                 A· · · · · · ·It             did develop
                                                                                                                  develop reactive
13 study has a very small sample size of people?                             13 airways dysfunction syndrome.
                                                                             13                                          I’ll point you to page
                                                                                                             syndrome.· I'll
14A
14                 88?
    A· · · · · · ·88?                                                        14 six paragraph two halfway down -- little
                                                                             14                                               little down
                                                                                                                                     down below
15 QQ· · · · · · ·Well,
                   Well, I believe it's  44.
                                     its 44.                                 15
                                                                             15 the -- halfway down  down below the -- right there.
16 AA· · · · · · ·Well,   unexposed
                   Well, unexposed     were  44, and the cleanup
                                             44,                             16
                                                                             16 Q·              And --
                                                                                 Q · · · · · ·And
17 workers were  were 44.
                        44.· Yeah.
                              Yeah.                                          17 A
                                                                             17  A·  · · · · ·  There (indicating).
                                                                                               ·There   (indicating).· They talk about
18 QQ· · · · · · ·Right.·
                   Right. So in terms of the  the exposed                    18
                                                                             18 reactive airway diseases, which    which is another word for
19 number, it's    its -- its
                          it's only 44 persons.                              19 asthma.
                                                                             19
20 · · · · · · · You -- you would agree?                                     20 Q·
                                                                                 Q · · · · · ·Okay.·
                                                                                                Okay. Well,
                                                                                                          Well, tell
                                                                                                                tell me what -- tell me
21 A
21  A· · · · · · ·True.·
                   True. Yes.                                                21 what reactive airways dysfunction syndrome means to a
                                                                             21
22 QQ· · · · · · ·On
                   On page
                       page six, the authors are -- areare --                22 pulmonologist.
23 and I guess
             guess I should point you to the right-hand                      23 A               Asthma.
                                                                                 A· · · · · · ·Asthma.
24 column
    column about three fourths of the way down.       down.· It -- it        24 Q·
                                                                                 Q · · · · · ·That's
                                                                                                That’s not RADS,
                                                                                                              RADS, different than reactive
25 starts the  the sentence -- or the paragraph starts "The                  25 airway disease?


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                                                                121
                                                                121                                                                          123
                                                                                                                                             123
·11 A             It is reactive airways disease.
    A· · · · · · ·It                      disease.· Yeah.                1 study that you cited
                                                                        ·1                         cited in your expert report that we’ve
                                                                                                                                        we've
 2 Q·
·2  Q · · · · · ·So    it's your opinion that reactive
                   So it’s                                              ·2 marked as Exhibit 11; and I want to
                                                                         2 marked                                         to let you take a
 3 airways dysfunction syndrome is the same as --
·3                                                                      ·3
                                                                         3 look at it.· it. It's
                                                                                             It’s entitled "The Impact of the
·4
 4 AA· · · · · · ·Yes.
                  Yes.                                                   4 Deepwater Horizon Oil Spill upon Lung Health" and
                                                                        ·4                                                                and then
 5 Q·
·5  Q · · · · · ·---- reactive airways disease?
                                          disease?                      ·5
                                                                         5 it's
                                                                           its a "Mouse Model-Based RNA-seq Analyses."
·6
 6A A· · · · · · ·Yes.
                  Yes.                                                  ·6
                                                                         6 · · · · · · · So from
                                                                                              from the
                                                                                                     the title of this, we know that
 7 Q·
·7  Q · · · · · ·Okay.·     There's no difference in
                   Okay. There’s                      in those           7 this is not a study on
                                                                        ·7                                          beings. This is not an
                                                                                                        on human beings.·                  an
 8 two terms to
·8                   to you?
                        you?                                             8 epidemiological study on humans;
                                                                        ·8                                       humans; correct?
                                                                                                                            correct?
·9
 9A A· · · · · · ·No.
                  No.                                                   ·9 A· · · · · · ·Yes.·
                                                                         9 A               Yes. Correct.
10 QQ· · · · · · ·You
                    You would agree with me that there’s there's no     10 Q·
                                                                        10  Q · · · · · ·In In fact, what
                                                                                                      what this is doing, this study,
11 attempt in this study to establish any level of dose?
11                                                                      11 if I'm
                                                                        11     I’m looking at this correctly;
                                                                                                          correctly; they’re
                                                                                                                      they're actually
12 AA· · · · · · ·Right.
                   Right.                                               12
                                                                        12 looking at the carcinogenic effects, if any,         any, on -- of
13 QQ· · · · · · ·And
                    And so we don’t
                                 don't know if the persons in           13 Corexit on mice.
                                                                        13
14 this study were    were exposed to micrograms of Corexit or          14 · · · · · · · Is that correct?
                                                                        14
15 high levels of Corexit.Corexit.                                      15
                                                                        15 AA· · · · · · ·Yes,    sir.· Yes, they are.
                                                                                           Yes, sir.               are.· They’re
                                                                                                                         They're also
16 · · · · · · · Would
                  Would you you agree with me there?
                                                  there?                16 looking at the signaling pathways of the cytokine
                                                                        16
17 AA· · · · · · ·Yes.
                   Yes.                                                 17 release.·
                                                                        17  release. Both the previous study and        and this one are
18 · · · · · · · MR. MCLEOD:
                         MCLEOD:· Let's
                                     Let’s mark this.
                                                 this.                  18
                                                                        18 both looking at what -- when you examine the RNA of --
19 · · · · · · · · · ·(Exhibit
                      (Exhibit Number 10 10 was                         19 of mice lungs or mice cells that have been exposed to
                                                                        19
20 · · · · · · · · · ·marked
20                     marked for identification.)                      20 oil or Corexit, they cause what -- what pathways get
21 Q
21                  Doctor, this is one of the studies you
    Q· · · · · · ·Doctor,                                   you         21 activated.
                                                                        21
22  relied upon:·
22 relied     upon: "The impact of oil     oil spill to lung health     22 Q·               Okay. And like the
                                                                            Q · · · · · ·Okay.·                 the study before it --
23 - Insights from
23                   from anan RNA-seq
                               RNA-seq study of human airway            23 A               Yes.
                                                                            A· · · · · · ·Yes.
24
24 epithelial cells."cells."                                            24 Q·
                                                                            Q · · · · · ·-- -- this is not
                                                                                                        not a -- a study ofof -- of
25 · · · · · · · Do you
25                     you -- you agree with me that I read             25 asthma in human beings; correct?

                                                                122                                                                          124
                                                                                                                                             124
 1 that correctly --
·1                                                                       1 A
                                                                        ·1                Yes.
                                                                           A· · · · · · ·Yes.
·2 A· · · · · · ·Yes.
 2 A             Yes.                                                   ·2
                                                                         2 Q· · · · · · ·And
                                                                                           And it's
                                                                                                 its not a study that you would use
 3 Q·
·3 Q · · · · · ·---- because I'm I’m not sure I did?                    ·3
                                                                         3 to form a general                     opinion that Corexit
                                                                                           general causation opinion
 4A
·4               Yes.
   A· · · · · · ·Yes.                                                    4 exposure
                                                                        ·4 exposure can     can cause asthma in human beings; correct?
 5 Q·
·5 Q · · · · · ·And
                  And you would
                              would agree with me this is notnot        ·5 A· · · · · · ·Correct.
                                                                         5 A               Correct.
 6 an epidemiological study regarding human beings and
·6                                                                      ·6
                                                                         6 · · · · · · · MR. MCLEOD:·      Let's go off the record.
                                                                                                MCLEOD: Let’s               record.
 7 potential adverse health
·7                           health effects?                             7 · · · · · · · THE VIDEOGRAPHER:
                                                                        ·7                      VIDEOGRAPHER:· We're           the record.
                                                                                                                     Were off the   record.
 8A
·8               Yes.
   A· · · · · · ·Yes.                                                    8 The
                                                                        ·8 The time is 3:46   3:46 p.m.
 9 Q·
·9 Q · · · · · ·And
                  And this does not examine an exposed                  ·9
                                                                         9 · · · · · · · · · ·(Short
                                                                                              (Short recess.)
10 versus unexposed human population;   population; correct?            10 · · · · · · · THE VIDEOGRAPHER:
                                                                                                 VIDEOGRAPHER:· We   We are back on the
11 A
11  A· · · · · ·   Yes.
                  ·Yes.                                                 11 record.
                                                                        11  record.· The The time is now 3:49 p.m.
                                                                                                                 p.m.
12 QQ· · · · · · ·And
                   And we're
                          we’re not addressing asthma in this           12 Q· · · · · · ·Thank                    time.· I appreciate
                                                                                            Thank you for your time.
13 study in an    an attempt to show that that Corexit causes asthma    13 that.
                                                                            that.· I think those are all the questions that I have
14 in human beings.                                                     14 for right now.· now. I know your attorney is going to have
15 · · · · · · · Would you agree with that?                             15 some questions, and I reserve the right to come back
16 AA· · · · · · ·It's
                   Its not a human
                              human study at all.·
                                               all. Yes.                16 and -- and ask questions after he asks questions.
17 Q               All right.
    Q· · · · · · ·All   right.· And so you wouldn’t
                                             wouldn't use this          17 · · · · · · · But I appreciate your time and -- and
18 study as the    the basis
                        basis of a general causation opinion
                                                         opinion that   18 thank you   you very much.
19 Corexit could could cause asthma in human beings because             19 AA· · · · · · ·You're
                                                                                           You’re welcome.
20 that’s
    that's not what this study is addressing;
                                          addressing; correct?          20 · · · · · · · · · · EXAMINATION
21 A
21  A· · · · · · ·Right.·
                   Right. This -- yes.                                  21 BY MR. BURGER:
                                                                        21               BURGER:
22 QQ· · · · · · ·And
                   And then let’s
                                let's mark that as an exhibit.          22 QQ· · · · · · ·Dr.
                                                                                            Dr. Anthony, I have some very broad and,   and,
23 · · · · · · · · · ·(Exhibit
                      (Exhibit Number 11 11 was                         23 I hope, very brief questions just to -- to clarify clarify
24 · · · · · · · · · ·marked
                      marked for identification.)                       24 some of what you have said earlier in your testimony.
25 QQ· · · · · · ·Doctor,
                   Doctor, this is, I believe, the last                 25 · · · · · · · I want to to begin by asking
                                                                                                               asking you if you


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                                                                 125                                                                     127
                                                                                                                                         127
 1 have any way of knowing the truth about where Corexit
·1                                                                        1 A
                                                                         ·1                No. Not at
                                                                            A· · · · · · ·No.·      at all.
 2 was dispersed, how much was dispersed on any
·2                                                                       ·2 Q· · · · · · ·Do
                                                                          2 Q                  you -- on that point;
                                                                                           Do you                 point; as with
                                                                                                                            with
 3 particular day at any particular location as a result
·3                                                                       ·3 Mr.   Maas's
                                                                          3 Mr. Maass         recollection   of  the facts, do you
                                                                                                                               you have any
 4 of the Deepwater Horizon spill?
·4                                     spill?                             4 knowledge of the details due to your -- in your
                                                                         ·4
 5 · · · · · · · Do you have
·5                          have any
                                  any way of knowing that?               ·5
                                                                          5 research, any details of the criminal  criminal charges
                                                                                                                            charges to which
·6 A· · · · · · ·No,
 6 A              No, I don’t
                        don't.                                           ·6
                                                                          6 BP pled in    in relation to the -- the -- broadening the
 7 Q
·7                You don’t
   Q· · · · · · ·You    don't know whether my client, John John          ·7
                                                                          7 Deepwater Horizon issue?
·8 Maas, is an honest or truthful
 8 Maas,                           truthful person one way or the         8 · · · · · · · MR.
                                                                         ·8                     MCLEOD: Object to the form.
                                                                                          MR. MCLEOD:·
 9 other, do you?
·9                                                                       ·9
                                                                          9 · · · · · · · MR.
                                                                                          MR. JARVIS:·
                                                                                                JARVIS: II would add:
                                                                                                                    add:· What has that
10 AA· · · · · · ·II don’t
                     don't.                                              10 got to do with the price of eggs in China?  China?· ·But
                                                                                                                                 But go
11 Q·
11  Q · · · · · ·You
                   You don't
                         don’t -- for that matter, you don’t
                                                        don't            11 ahead.
                                                                         11
12 know whether I'm            an honest or truthful person.·
                           I’m an                              We've
                                                      person. We’ve      12 · · · · · · · MR. BURGER:·
                                                                                                 BURGER: It will have to do with the
13 talked briefly only on the      the phone.                            13 credibility instruction -- --
14 · · · · · · · You don’t
                       don't know whether I have told told you           14 · · · · · · · MR. JARVIS:
                                                                                                 JARVIS:· ohoh --
    the truth about these facts or not, do you?
15 the                                              you?                 15 · · · · · · · MR. BURGER:·
                                                                                                 BURGER: --  -- that goes to the jury
                                                                                                                                  jury --
16 AA· · · · · · ·II don’t
                     don't.                                              16 · · · · · · · MR. JARVIS:
                                                                                                 JARVIS:· -- okay.
17 Q·
    Q · · · · · ·ButBut you
                        you have read Mr. Maass
                                              Maas's affidavit?          17 · · · · · · · MR. BURGER:·
                                                                                                 BURGER: --  -- from Judge
                                                                                                                      Judge Waverly in in
18 AA· · · · · · ·Yes.
                  Yes                                                    18 this
                                                                             this case.
19 Q·
    Q · · · · · ·And
                   And you have read the materials that                  19 · · · · · · · MR. MCLEOD:·
                                                                                                 MCLEOD: Ken, II can tell you that
20 were sent to you    you on the zip drive, same --                     20 pursuant to    to the medical
                                                                                                   medical settlement agreement,
                                                                                                                         agreement, it will
                                                                                                                                         will
21 A
21  A· · · · · · ·Yes.
                  Yes                                                    21 not;
                                                                         21  not; but object to the form.
22 Q·
    Q · · · · · ·---- materials provided
                                  provided to you?                       22 · · · · · · · MR. BURGER:·
                                                                                                 BURGER: WellWe'll cross that bridge as
23 · · · · · · · You have read those materials?                          23 we come to it.
24 AA· · · · · · ·Yes.
                  Yes                                                    24 · · · · · · · MR. MCLEOD:·
                                                                                                 MCLEOD: II understand.
                                                                                                               understand.
25 Q·
    Q · · · · · ·And
                   And you know what facts are asserted by               25 Q·
                                                                             Q · · · · · ·(By
                                                                                            (By Mr. Burger)·
                                                                                                     Burger) But do you know

                                                                 126                                                                     128
                                                                                                                                         128
 1 Mr. Maas --
·1                                                                        1 anything about the criminal charges as to what was
                                                                         ·1
·2 A· · · · · · ·Yes.
 2 A             Yes.                                                     2 true or not true?
                                                                         ·2
 3 Q
·3                -- to have happened?
   Q· · · · · · ·--                                                      ·3 A· · · · · · ·Yeah.·
                                                                          3 A             Yeah. II -- yes.
                                                                                                        yes.· What II know is what II
 4 · · · · · · · Maybe they’re
·4                        they're true; maybe they're
                                                   they’re not           ·4
                                                                          4 read   in
                                                                                   in  The  New    York times
                                                                                                    York
·5 until
 5 until    someone       shows    you  otherwise?·
                                        otherwise? Right?                 5 Q·
                                                                         ·5 Q · · · · · ·Well,
                                                                                          Well, I won’t
                                                                                                    won't ask you you to quote that
·6
 6AA· · · · · · ·Yes.
                 Yes.                                                     6 unless
                                                                         ·6 unless you you have any other direct information.
                                                                                                                            information.
 7 Q
·7                But you have predicated
   Q· · · · · · ·But                predicated your opinions in          ·7 A· · · · · · ·Yes.·
                                                                          7 A             Yes. II know that BP was    was charged      with a
                                                                                                                            charged with
 8 this affidavit on
·8                     on the
                            the assumption that Mr. Maas has              8 lot of things
                                                                         ·8         things and had to admit to a lot of things.
·9
 9 told youyou the truth about what he and his coworkers                  9 Q·
                                                                         ·9 Q · · · · · ·What     does the term "apoptosis" means --
                                                                                          What does
10 experienced?                                                          10 mean, a-p-o-p-t-o-s-i-s?
11 A
11                Yes.
    A· · · · · · ·Yes.                                                   11 · · · · · · · What’s
                                                                         11               What's the medical definition of
12 QQ· · · · · · ·Admonishing
                   Admonishing us all,  all, as you do that, that        12 apoptosis?
13 that may be true; it may not be true?                                 13 AA· · · · · · ·Cell death.
                                                                                           Cell death
14 A              Yeah. Right.
    A· · · · · · ·Yeah.·    Right.                                                         How does apoptosis relate broadly and
                                                                         14 Q· · · · · · ·How
15 QQ· · · · · · ·Same
                   Same point, I would ask you:   you:· Do you --        15 generally to the layman’slayman's description of -- of asthma?
16 do youyou have any way of       of knowing    -- in the context of    16 AA· · · · · · ·So
                                                                                           So if the   -- if the respiratory
17 Corexit distribution in the 12-week period following                  17 epithelial surfaces that cover the breathing tubes,
    the Deepwater Horizon spill, do you have any way of
18 the                                                                   18 the airways; if that -- those cells die,    die, then
                                                                                                                              then there is
19 knowing whether BP’s        BP's factual statements about what it     19 an enormous -- it's            defense mechanism.
                                                                                                   its a defense     mechanism.· The
20 did
    did with regard to Corexit and, more importantly, importantly, how   20 epithelium is a barrier to the -- and a protection
21 it documented it,
21                         it, what it documented; do you have any       21 barrier -- protective
                                                                         21               protective barrier to the transgression
                                                                                                                         transgression of
22 way of knowing
                knowing whether BP was truthful or accurate or           22 any materials in    in  -- deeper    into the  lung tissue.
                                                                                                                                  tissue.· And
23 complete in      in its activities involving Corexit?                 23 if that
                                                                               that respiratory
                                                                                      respiratory epithelium is destroyed, then
24 · · · · · · · MR. MCLEOD:
                        MCLEOD:· Object to the form.                     24 materials can  can go deeper into the lung tissue.  tissue.
25 QQ· · · · · · ·Any
                   Any way of knowing that?                              25 Q· · · · · · ·And
                                                                                           And let me clarify that or ask you to


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                                                                                                                                                131
 1 break that down a bit.
·1                                                                             1 serious harm
                                                                              ·1               harm in a human?
                                                                                                            human?
·2
 2 · · · · · · · To what extent does the function of                          ·2
                                                                               2AA· · · · · · ·No.
                                                                                                No.
 3 apoptosis involve the onset and
·3                                           and development
                                                  development of asthma?       3 Q·
                                                                              ·3 Q · · · · · ·SoSo whether a person
                                                                                                                  person breathes tiny
 4 A
·4                Oh, cellar apoptosis plays a very
   A· · · · · · ·Oh,                                                           4 amounts
                                                                              ·4 amounts of Corexit 9500 for         for five minutes or less or
·5
 5 critical and
              and important role in     in asthma.
                                           asthma.· It -- people               5 continuously over a two-month period,
                                                                              ·5                                             period, does that make
 6 who have
·6         have asthma have a higher propensity for cell                       6 any difference in
                                                                              ·6                        in the enhancement of the    the likelihood
 7 death of
·7           of the -- of the respiratory epithelium.                          7 that the person is going
                                                                              ·7                            going toto have long-term chemical
·8
 8 Q·
   Q · · · · · ·InIn any of these questions that have been                    ·8
                                                                               8 asthma?
 9 put to you regarding the use
·9                                       use of the word -- the                9 · · · · · · · MR. MCLEOD:·
                                                                              ·9                     MCLEOD: Object to     to the
                                                                                                                              the form.
                                                                                                                                   form.
10 layman’s
    layman's term "asthma"; in those         those articles that refer        10 AA· · · · · · ·II think they would have long -- some
11 to the process of apoptosis,
11                               apoptosis, how does that relate to           11 long-term
                                                                              11                  effects. Yes.
                                                                                  long-term effects.·       Yes.
12 asthma?                                                                    12 QQ· · · · · · ·Regardless
                                                                                                  Regardless of how short a period of
13 AA· · · · · · ·ItIt -- it relates as significantly as --                   13 time?
14 as a pathological event that occurs     occurs during the process          14 A              Yes.
                                                                                  A· · · · · · ·Yes.
15 of asthma.                                                                 15 QQ· · · · · · ·OrOr how small a dosage?
16 QQ· · · · · · ·IsIs epithelial cell damage equivalent --                   16 AA· · · · · · ·Yes.
                                                                                                Yes.
17 medically equivalent to the generic medical term                                                   MCLEOD: Object to the form.
                                                                              17 · · · · · · · MR. MCLEOD:·
18 "asthma"?                                                                  18 QQ· · · · · · ·And
                                                                                                  And -- and inin -- can you give us a
19 A               Epithelial -- respiratory epithelial
    A· · · · · · ·Epithelial                    epithelial                    19 layman's
                                                                                  layman’s description of what it is in your studies
20
20 cell damage
          damage can     can lead toto asthma.                                20 that supports that conclusion
                                                                                                             conclusion you just  just now expressed.
21 Q
21  Q· · · · · · ·Can
                   Can you have asthma, asthma, asas we generally useuse      21 A
                                                                              21  A· · · · · · ·Well,
                                                                                                 Well, what we found was that when we
22
22 that generic term, without having some epithelial        epithelial cell
                                                                       cell   22 used partsparts per million, very, very tiny parts per
23
23 damage?                                                                    23 million, like 50 parts per million, which would be --
24 A· · · · · · ·No.
24A                No.                                                        24 which would be almost like      like nonexistent;
                                                                                                                      nonexistent; we found
                                                                                                                                         found that
25 Q
25                 So if there’s
    Q· · · · · · ·So         there's asthma,
                                      asthma, there’s
                                                there's epithelial            25 there was damage to the respiratory epithelium of

                                                                     130                                                                        132
                                                                                                                                                132
 1 cell damage?
·1                                                                             1 humans and fish gills, the respiratory organs of
                                                                              ·1
·2
 2AA· · · · · · ·Yes.
                   Yes.                                                       ·2
                                                                               2 multiple organisms,
                                                                                              organisms, both mammals and   and water creatures.
 3 Q·
·3 Q · · · · · ·So So when we see in an   an article reference
                                                     reference                ·3
                                                                               3 Q·
                                                                                 Q · · · · · ·Are
                                                                                                Are you aware of  of -- as broadly as we
                                                                                                                                       we can
 4 to epithelial
·4     epithelial cell damage, is that a -- an     an equivalent               4 make it, are you aware of any studies out there
                                                                              ·4                                                      there that
·5
 5 reference to the broad general layman's   layman’s term "asthma"?          ·5
                                                                               5 deal specifically with the issue of the dosage   dosage of
·6
 6 · · · · · · · MR. MCLEOD:
                       MCLEOD:· Object
                                    Object to the form.                       ·6
                                                                               6 Corexit as it relates to harm to the human respiratory
 7A
·7                 Yes.
   A· · · · · · ·Yes.                                                         ·7
                                                                               7 system?
·8
 8 Q·
   Q · · · · · ·And      same thing
                   And same     thing in the concept of                        8 · · · · · · · Any specific studies?
                                                                              ·8
·9
 9 apoptosis?                                                                 ·9
                                                                               9AA· · · · · · ·No.
                                                                                                No.
10 A                Yes.
    A· · · · · · ·Yes.                                                        10 QQ· · · · · · ·DoDo you do experiments on human human beings
11
11 QQ·   · · · · · ·Do
                    Do all -- in your research, your                          11 here at the University of Alabama?
                                                                              11                                   Alabama?
12 experience, are     are there any forms of crude oil                       12 AA· · · · · · ·II mean,
                                                                                                   mean, we do research with
                                                                                                                           with them;
                                                                                                                                them;
13 dispersants, Corexit or not, that when inhaled     inhaled will            13 clinical trials, et cetera.
14 not produce apoptosis?                                                     14 QQ· · · · · · ·DoDo you -- do you
                                                                                                                you do experiments --
15 AA· · · · · · ·II have not tested them
                                      them -- many -- any                     15 AA· · · · · · ·Exposure    studies?· We do not do
                                                                                                Exposure studies?
16 others beside Corexit 9500 myself.· myself. But, yes, II                   16 exposures studies on humans.
17 believe that dispersants,
                      dispersants, by their very nature, will                 17 QQ· · · · · · ·IsIs that considered ethical inin the
18 cause
    cause epithelial damage and     and cell death.
                                              death.                          18 medical
                                                                                  medical world world to do experiments on people that -- that
19 QQ· · · · · · ·DoDo you know any -- well, let me strike                    19 would -- from  from a baseline that would determine in     in a
20 that question.                                                             20 healthy person whether --
21 · · · · · · · In -- in a -- in the medical evaluation,
21                                                                            21 A
                                                                              21  A· · · · · · ·No.
                                                                                                No.
22 research
    research and clinical medical evaluation of a                             22 QQ· · · · · · ·--
                                                                                                 -- what dosage would it take of Corexit
23 potential harm from Corexit;  Corexit; in
                                           in your opinion, is the            23 to --
24 concept of dosage, does it have any -- any factor at                       24 A              No
                                                                                  A· · · · · · ·No.
    all in -- in the likelihood of the development of
25 all                                                                        25 QQ· · · · · · ·--
                                                                                                 -- cause asthma?


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                                                                    133                                                           135
·11 A
    A· · · · · · ·ItIt should not be done.
                                        done.                                1
                                                                            ·1
                                                                            ·2   · · · · · · · C E R T I F I C A T E
·2
 2 QQ· · · · · · ·All
                  All right.·
                         right. Is it -- is it legal and                     2                 CERTIFICATE

                                                                            ·3
                                                                             3
 3 ethical in --
·3
                                                                            ·4
                                                                             4   STATE OF
                                                                                 STATE OF ALABAMA
                                                                                          ALABAMA )
                                                                                                  )
 4 A
·4                No
    A· · · · · · ·No.
                                                                            ·5
                                                                             5             COUNTY )
                                                                                 JEFFERSON COUNTY )
 5 Q
·5                -- in
    Q· · · · · · ·--   in the context of your medical
                                                    medical
                                                                            ·6
                                                                             6
·6
 6 training?
                                                                            ·7
                                                                             7   · · · · · · · ·I
                                                                                                I hereby certify that
                                                                                                  hereby certify that the above
 7 A
·7                Its not.
    A· · · · · · ·It's  not.· No, it would not be.·
                                                  be. It
                                                                            ·8
                                                                             8       foregoing deposition
                                                                                 and foregoing deposition was taken down
 8 would not pass our institutional review board.
·8                                                     board.
                                                                            ·9
                                                                             9      me in stenotype,
                                                                                 by me                       questions and
                                                                                          stenotype, and the questions
·9
 9 QQ· · · · · · ·Okay.·
                  Okay.      So  what    is the  alternative?
                                                                            10
                                                                            10   answers thereto were reduced to computer
10 · · · · · · · If you can’t
                            can't bring in in a willing human
                                                         human
                                                                            11
                                                                            11   print under
                                                                                 print under my
                                                                                             my supervision,
                                                                                                supervision, and
                                                                                                             and that
                                                                                                                 that the
                                                                                                                      the
11 being to breathe Corexit to see what happens; what’s
11                                                                 what's   12
                                                                            12   foregoing represents a true
                                                                                 foregoing              true and
                                                                                                             and correct
                                                                                                                 correct
12 your alternative, Dr. Anthony?                                           13
                                                                            13   transcript of
                                                                                 transcript of the deposition
                                                                                                   deposition given by
                                                                                                                    by
13 · · · · · · · MR.
                  MR. MCLEOD:·
                          MCLEOD: Object to the form.  form.                14
                                                                            14   said witness upon said hearing.
                                                                                                        hearing.
14 A                 Well, the studies that -- we do studies
    A· · · · · · ·Well,                                                     15
                                                                            15
15 in vitro;
       vitro; or we do studies in animals, animals, in mice.                16
                                                                            16   · · · · · · · ·I
                                                                                                I further certify that
                                                                                                                  that I am
                                                                                                                         am
16 Q·
    Q · · · · · ·In  In your opinion, are the studies in                    17
                                                                            17   neither of
                                                                                 neither of counsel
                                                                                            counsel nor
                                                                                                    nor of
                                                                                                        of kin
                                                                                                           kln to the

17 vitro reliably
            reliably transferable in their general and                      18
                                                                            18           to the
                                                                                 parties to the action,
                                                                                                action, nor
                                                                                                        nor am
                                                                                                            am I ln
                                                                                                                 in
18 specific causation conclusions to an              an unethical           19
                                                                            19           interested ln
                                                                                 anywise Interested in the result of sald
                                                                                                                     said
19 experiment on a human      human being?                                  20
                                                                            20   cause.
                                                                                 cause.

20 · · · · · · · MR.      MCLEOD: Object to the form.
                  MR. MCLEOD:·                         form.                21
21
21 A                Yes. I agree that in vitro studies can
    A· · · · · · ·Yes.·                                                     22
                                                                                              1)167/.’t-   1h   Afia a
22 be used
         used to predict what will happen to a person    person who
                                                                 who is     23
                                                                            23

23 breathing in a toxic element, whatever II was studying.    studying.     24
                                                                            24                                J
                                                                                 · · · · · ______________________________

24 Q·
    Q · · · · · ·And,And, again,
                            again, from a layman's
                                              layman’s perspective          · · · · · · · Merit
                                                                                          Merit Gilley,
                                                                                                Gilley, Commissioner

    as best you
25 as            you can make it;         was there anything about the
                                      it; was                               25
                                                                            25   · · · · · ACCR
                                                                                           ACCR NO.
                                                                                                NO. 67
                                                                                                    67



                                                                    134
·11 studies that you and your colleagues performed in           in
 2 vitro that would suggest that those conclusions were
·2
 3 not reasonably transferable from a medical
·3                                               medical causation
 4 perspective to --
·4
·5
 5 AA· · · · · · ·Not
                  Not at --
·6
 6 QQ· · · · · · ·--
                  -- harm to the
                               the human body?
 7 · · · · · · · MR. MCLEOD:·
·7                    MCLEOD: Object to the form.
 8 A
·8                Not at all.·
    A· · · · · · ·Not    all. Because -- because the
·9
 9 studies that we did were  were specific to the pathological
10 effects
     effects that occurred during the process
                                          process of an
                                                      an acute
11 asthma attack, which is changes in
11                                          in permeability of an
12 airway which is what happens in human with asthma.   asthma.
           we've showed that the same thing
13 And we’ve                                 thing happens
                                                   happens in a test
14 tube.
15 Q·Q · · · · · ·Those
                   Those are all of my questions I have.
                                                       have.
16 Thank you.
17 · · · · · · · MR. MCLEOD:
                       MCLEOD:· Thank you you very much.
18 · · · · · · · THE VIDEOGRAPHER:
                       VIDEOGRAPHER:· This ends the
     deposition of Dr. Veena Anthony.
19 deposition                      Anthony.· The time is now
20 4:01
     4:01 p.m.
21 · · ·(THE
21                DEPOSITION WAS
         (THE DEPOSITION          WAS CONCLUDED AT 4:01    4:01 P.M.)
22
23
24
25


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